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UNITED STATES DISTRICT Court.

 

John Rapillo

 

 

Fill in above the full name of each plaintiff or petitioner.

Case No, 09 CV 10429(VSB)

 

-against-

Barry Fingerhut, et al

 

 

 

 

 

Fill in above the full name of each defendant or
respondent.

   

In support of Motion to Vacate Order dated September 14, 2016 pursuant to
Fed.R.Civ.P. Rule: 60(b)

 

Briefly explain above the purpose of the declaration, for example, “in Opposition to Defendant’s
Motion for Summary Judgment.”

L John Rapillo , declare under penalty of perjury that the

 

following facts are true and correct:

in the space below, describe any facts that are relevant to the motion or that respond to a court
order. You may also refer to and attach any relevant documents.

During the Spring of 2007, I was at David Holzer's home in New City, NY.

David Holzer received a phone call from Barry Fingerhut. David Holzer

reiterated the content of that conversation to me stating "All he wants is

 

money - he wants me to refinance my house and get more money wherever I can."

This shows the pressure Fingerhut was putting on David Holzer.

Rev. 6/30/16
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Attach additional pages and documents if necessary.

6 24%

Executed on (date)

John Rapillo

gpl agl

 

 

 

Name Prison Identification # (if incarcerated)
14 Winding Lane Scarsdale NY 10583
Address City State Zip Code

914-472-8191
Telephone Number (if available)

hrapillo@optonline.net

 

E-mail Address (if available)

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David Holzer’s Deposition dated 3/28/12 Exhibit 6
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SUPREME COURT OF THE STATE OF NEW YORK

 

 

 

COUNTY OF NEW YORK
x
ROBERT M. MORGENTHAU,
District Attorney of New York County,
Index No. 400891/08
Plaintiff-Claiming Authority,
~against- AFFIRMATION
IN SUPPORT OF
David Holzer, AMENDING SUMMONS,
COMPLAINT, AND ORDER
TO SHOW CAUSE
Defendant.
Xx

STATE OF NEW YORK )
: 88.1
COUNTY OF NEW YORK )

Investigator SHANNON ROWE, being duly sworn, deposes and says:

l. I am an Investigator, Shield #158, in the New York County District Attorney's
Office, and as such I am a public servant of the kind specified in CPL 690.05(1). I have been a
member of DANY Investigations for over five years. Previous to that I was an investigator with
DOI for two years, and I have training and experience in investigating white collar crime, including
money laundering, grand larceny and identity theft cases. I am currently assigned to an
investigation involving David Holzer and Lesley Holzer, and am familiar with its facts.

2. Except as otherwise stated below, I make this affirmation upon information and
belief based upon: (i) my review of information contained in plaintiff's files, (ii) my conversations

with Barry Fingerhut, Heidi and John Rapillo, and Michael and Barbara Zackman; (iii)
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conversations with private investigators hired by one of the victims in this case, (iv) my review, and
the review by a financial analyst, of the defendant’s and the victims’ bank records,

3. I submit this affidavit in support of Plaintiff's request to add Lesley Holzer to the
instant action as a non-criminal defendant, pursuant to the provisions of-Article 13-A of the CPLR.
I also submit this affidavit in support of Plaintiff's request to add Lesley Holzer to the TRO
previously issued in the instant action. In this case, specifically, plaintiff seeks ‘the forfeiture from
David and Lesley Holzer of certain property, to wit, $16,645,483.33 (Sixteen Million, Six Hundred
and Forty-F ive Thousand, Four Hundred and Eighty-Three Dollars and Thirty-Three Cents), which
constitutes the “proceeds,” and/or the “substituted proceeds,” of the felony crime of Grand Larceny
in the First Degree (Penal Law § 15 5.42). Alternatively, plaintiff seeks forfeiture from the criminal
defendant David Holzer for the value of the aforementioned property, to wit, the sum of
$16,645,483.33 (Sixteen Million, Six Hundred and F orty-Five Thousand, Four Hundred and Eighty-
Three Dollars and Thirty-Three Cents), as the instrumentality of his crimes. Also alternatively,
plaintiff seeks a money judgment against the criminal defendant David Holzer for the value of the
aforementioned property in the sum of $16,645,483.33 (Sixteen Million, Six Hundred and Forty.

Five Thousand, F our Hundred and Ei ghty-Three Dollars and Thirty-Three Cents).

STATEMENT OF FACTS
The Defendant's Activities With Regard to Barry Fingerhut
4. The summons and verified complaint in this action for forfeiture pursuant to Article 13-A
of the CPLR, which is appended hereto as Exhibit A, is grounded upon the defendant's illegal

activities during the period from on or about March, 2002 to March, 2008. I am informed by Barry

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Fingerhut that Fingerhut met David Holzer while Holzer worked as a trader for Brean Murray.
They formed a working relationship in which Holzer would trade Over-the-Counter (OTC) stocks
for Fingerhut.

5. As of early 2002, Holzer and Fingerhut had worked with one another for several
years, and had known each other for approximately 12 years. In March 2002, Holzer contacted
Fingerhut at his place of business, GeoCapital, located at 825 Third Avenue, New York City, New
York County, New York, and proposed an investment Opportunity to Fingerhut. Holzer told
Fingerhut that he had formed a partnership with two other individuals, Daniel Katz and Jeffrey
Schwartz, called Dellwood Partners, and that the partnership was investing in real estate in upstate
New York. Holzer asked Fingerhut to take a one-half interest in Holzer’s one-third of the
partnership. Fingerhut agreed.

6. Fingerhut began wiring money in stages to Holzer to make up his half of their one-
third partnership for a piece of property that Holzer claimed Dellwood was buying in Haverstraw,
NY. As time went by, Holzer told Fingerhut that Dellwood was making additional investments in
real estate, in Haverstraw, Monticello, Beacon, Newburgh and Nyack, New York. F ingerhut wired
money to Holzer’s account to pay for those additional investments, |

7, Fingerhut wired the following amounts on the following dates to Holzer’s account at

JP Morgan Chase Bank totaling $12,062,200.00:

 

 

 

 

 

 

DATE DEPOSIT AMOUNT |
March 27, 2002 $62,500
April 29, 2002 $862,500
July 25, 2002 $1,500,000 |

 

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July 25, 2002 $1,593,000
October 17, 2002 $140,000
November 8, 2002 $187,000
January 13, 2003 $266,000
April 2, 2003 $489,000
July 24, 2003 $283,000
October 14, 2003 $231,150
November 24, 2003 $383,000
December 22, 2003 $216,000
February 2, 2004 $270,000
April 21, 2004 $516,000
July 23, 2004 $900,000
October 12, 2004 $600,000
November 23, 2004 $244,000
April 20,2005 _ $693,750
May 17, 2005 $289,000
July 11, 2005 $98,300
August 3, 2005 $519,000
October 18, 2005 $190,000
November 9, 2005 $300,000
December 7, 2005 $255,000
‘December 7, 2005 $125,000
December 16, 2005 $10,000
May 23, 2006 $360,000
August 8, 2006 $215,000
September 15, 2006 $294,000
| POTAL $12,062,200
8, Holzer’s bank records show that the above figures were received by him. Those

records also show that in 2002, Holzer gave over three million dollars to an individual who was

 

apparently not connected with any company named Dellwood Partners, or with Daniel Katz or
Jeffrey Schwartz. In fact, there is no indication that any company named Dellwood Partners ever
existed, and Holzer’s bank records do not show any transactions with either Katz or Schwartz. Also

from 2002 to 2006, Holzer’s bank records demonstrate that he and his wife lived a lavish lifestyle,

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spending extravagantly on clothing, travel, an interior designer, jewelry, Holzer’s children’s rent, his
father’s senior residence in upstate New York, and that these and other personal expenses were
primarily how Holzer spent the money he obtained from Fingerhut.

9 In 2004, Holzer told Fingerhut that the Haverstraw property was going to be sold for
approximately $99 million, and that their share of the profit would be approximately $33 million.
At that time, Fingerhut suggested to Holzer that they use the proceeds of the real estate sale to start
their own partnership, through which they could manage their money by making investments. The
two formed a partnership, FH Partners, and opened an office while Fingerhut waited for the
proceeds from the sale of the Haverstraw property that Holzer said was imminent. During this time,
as can be seen above, Fingerhut continued to pay money to Holzer for investments that Dellwood
partners was supposedly making.

10. I am further informed by Fingerhut, that in or about February 2005, Holzer asked
Fingerhut to loan him some money because Holzer claimed that he had a capital call at Brean
Murray, and he needed cash to pay to Brean Murray for an investment he had there. I am
informed by Fingerhut that on February 4, 2005, and March 8, 2005, Fingerhut wired $202,000
and $860,000, for a total of $1,062,000, to Holzer based on Holzer’s representations that Holzer
had to pay the capital call and that the money would be paid back to Fingerhut. I am informed
by Nick Cangro, financial analyst for the New York County District Attomey’s Office
DANY”) that a review of records from Brean Murray reveal that no capital call or money was
put in to Brean Murray investments in February or March of 2005. I am further informed by
Nick Cangro that he has reviewed Holzer’s JP Morgan Chase Bank records for the same time

period, and the records reveal that the two above-described deposits were made into Holzer’s

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accounts, but that no money went to Brean Murray at that time, but rather a good portion of the
money, $560,053 went to the U.S. Treasury.

11, In the spring of 2007, Holzer told Fingerhut that the sale of the Haverstraw property
had closed, and showed Fingerhut a deposit receipt from JP Morgan Chase bank showing a deposit

of a check for $33.6 million into Holzer’s accounts. I am informed by Nick Cangro that a review of

 

the bank accounts show that after the $33 million check was deposited, it in fact bounced, and the
account was closed thereafter. |

12. qn October 2007, Lincoln Omston, of a private investigative firm named Thacher
Associates, met with Holzer in FH Partners’ office. Holzer admitted to Ornston that Dellwood

Partners never existed, and that Holzer never had a partnership with Schwartz or Katz, He also

 

 

admitted that he did not purchase property in Haverstraw, that he did not use Fingerhut’s money to
purchase property in Haverstraw or any other location, and that he instead used F ingerhut’s money
for personal and business-related expenses, Holzer also told them that all of the money was gone,
and that he only had about $40,000 left in his bank accounts. |
13, Holzer promised to pay Fingerhut back, and in late November 2007 issued two
checks drawn on a Citibank account made payable to Fingerhut totaling approximately $7 million.
4 review of Holzer’s Citibank account records reveals that those checks were written on an account

with insufficient funds.

 

It was later determined that Holzer in fact wrote the $33.6 million check to himself, from an
account that did not have sufficient funds to cover it. ,

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The Defendant's Activities With Regard to Heidi and John Ranillo
14. In October 2005, defendant Holzer told Heidi and J ohn Rapillo that he was involved
In some good investments, and encouraged them to invest through him. The Rapillos gave.

David Holzer a total of $1.6 million between December 2005 and March 2006, believing, based

 

on Holzer’s representations, that Holzer would invest that money for them.

15. First, on December 15, 2005, the Rapillos sent a wire for $600,000 to Holzer
because Holzer told them he was investing their money in a movie theater. DANY financial
analyst Nick Cangro reviewed Holzer’s bank records, and has informed me that, rather than
invest the money, once the 5600,000 was received in Holzer’s account on December 15, 2005,
Holzer transferred $200,000 to Barry Fingerhut’s personal account; then on January 9, 2006, he
transferred $50,000 to FH Partners’ account, on January 9, 2006 Holzer also paid $35,025.63 to

American Express for his personal charge card bill: on January 10, 2006, and January 13, 2006,

 

he transferred $20,000 and $15,000 respectively to FH Partners’ account; on January 17, 2006,
he paid $24,360 to Mid Hudson Fence company. Holzer also generally spent the rest of the |
money on smaller personal and business transactions, none of which appear to be “investments,”
but instead largely supported the extravagant lifestyle he and his wife were living.

16, John and Heidi Rapillo wired $200,000 to Holzer’s account on January 31, 2006,
because Holzer told them he would invest their money in a penthouse project. Rather than invest
the money, however, a review of Holzer’s bank records by Nick Cangro shows that after Holzer

received the $200,000 from the Rapillos, on January 31, 2006, and February 10, 14, and 27,

 

2006, Holzer transferred $20,000, $15,000, $16,500, and $10,000, respectively, to FH Partners’

account; on February 14, 2006 he paid $48,280.77 towards his American Express charge card

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bill; on March 2, 2006, he paid $8,509.61 to his Washington Mutual home mortgage account,
and spent the rest of the money on smaller personal and business transactions, none of which
appeared to be investments made on the Rapillos’ behalf.

17. I am informed by the Rapillos that on March 33, 2006, they wired $800,000 to
Holzer because Holzer said that he would invest all of that money in a company called
VCampus. Rather than invest all of that money, however, a review of Holzer’s bank records by
Nick Cangro shows that after Holzer received $800,000 from the Rapillos on March 23, 2006,
that same day Holzer wired VCampus only $500,000. That $500,000 was initially put only in
Holzer’s name, and later he assigned all of his rights in that stock to Barry Fingerhut.

18. I am further informed by Nick Cangro that on March 24, 2006, and April 21,
2006, Holzer paid $32,309.16 and 561,595.43 respectively to American Express; on March 30,
2006, and April 10 and 13, 2008, Holzer wired $25,000, $27,000, and $30,000 respectively to
the FH Partners’ account; on March 31, 2006, Holzer wired $17,500 to a company called CE
Technologies, Inc.; on April 18, 2006, Holzer gave his daughter, Jennifer Holzer $5,000; and on

April 20, 2006, Holzer paid someone named Neal Richard $20,000.

The Defendant’s Activities With Regard to Michael and Barbara Zackman
19, Tam informed by Michael Zackman, that between November 2006 and November
2007, he paid Holzer a total of $1,773,283.33. Michael Zackman informs me that this money
was paid to Holzer because Holzer told him he would make him a partner in his investments if

Zackman paid for half of the investment.

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20. I am informed by Zackman that on November 10, 2006, Zackman wired Holzer
$600,000 which Zackman says he believed was for an investment Holzer had already made in
Knox Lawrence International, LLC for a company called Vertex. I am further informed that on
December 11, 2006, David Holzer and his wife, Lesley Holzer, and Michael and Barbara
Zackman signed a partnership agreement that created a partnership with regard to the funds that
were supposed to be invested. The agreement stated that the Holzers contributed $600,000 to the
partnership and that the Zackmans contributed $600,000 to the partnership. I am further
informed by Zackman that on December 19, 2006, Zackman wired another $175,000 to Holzer,
and that on January 23, 2007, Zackman wired another $133,000 to Holzer, for further investment
into Knox Lawrence. Zackman signed an addendum to his partnership with Holzer on June 11,
2007, that referenced these additional funds as investments to Knox Lawrence. A review of the
amendment to the partnership agreement indicates that an additional $308,000 was contributed
by the Zackmans for the Vertex deal through Knox Lawrence that would make them 50 percent
owners of Holzer’s holdings in that deal.

21. I am further informed by Michael Zackman that in 2007, David Holzer told him
about an investment that Knox Lawrence was doing in a company called Consonus, and asked
that Zackman participate in three different investments with him in Consonus. The. first
investment, on May 18, 2007, was to be a $250,000 investment split three ways between David

Holzer, Michael Zackman, and Barry Fingerhut. The next two payments, in October and

November of 2007 were to make additional investments in Consonus through Knox Lawrence. |

am informed that Michael Zackman wired to David Holzer $83,333.33 on May 18, 2007,

$78,000 on October 10, 2007, and $42,000 on November 30, 2007 for these investments.

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22. I believe that Holzer lied to the Zackmans when he claimed that the money they
sent was to buy a half share into investments that Holzer had made or was going to make through
Knox Lawrence. The only way Holzer’s claim could have been accurate is if he had invested in
Knox Lawrence twice the total amount of money that Zackman sent for the investments, or
$2,222,666.66. I am informed by Barry Fingerhut that he did not make a $250,000 investment in
Knox Lawrence in May 2007 with David Holzer and Michael Zackman. A review of Holzer’s
bank account records show that on November 10, 2006, the same day that Zackman sent the
initial $600,000 for the Vertex investment through Knox Lawrence, Holzer wired $300,000 to
Knox Lawrence, I am further informed by DANY financial analyst Nick Cangro that an analysis
of Holzer’s JP Morgan Chase bank account records from January 2001 through June 2007 show
that the total amount of money that Holzer sent to Knox Lawrence, LLC is $363,667,
Furthermore, between November 10, 2006, the date of Zackman’s initial payment for a purported
Knox Lawrence-related investment, and December 19, 2006, the date of the next payment for
what was supposed to be the Vertex deal through Knox Lawrence, there are no payments from
Holzer’s account to Knox Lawrence; Furthermore, from December 19, 2006, until Holzer’s
account was closed in June of 2007, the records show no _payments were made to Knox
Lawrence from Holzer’s account, I am further informed by Nick Cangro that a review of
Holzer’s Citibank account, which was opened after Holzer’s Chase account was closed in June
2007, shows that there were no payments to Knox Lawrence between June 2007 and December
2007,

23. I am informed by Michael Zackman that on or about February 14, 2007, David

Holzer asked Zackman to invest in a real estate deal in Florida called St. Augustine, through a

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company called Trident. Zackman had invested with Trident in the past at Holzer’s suggestion,
and had sent the money for those investments directly to the lawyers who held the trust account
for the company, Foley and Lardner, in Florida. For this investment, however, Holzer told
Zackman to send the money directly to Holzer, as Zackman would be taking a half interest in
what Holzer owned already. In order to make the $600,000 investment (which Zackman
understood from Holzer to be half of Holzer’s $1.2 million investment), Zackman sold some

stock in his portfolio, and wired the following funds on the following dates to Holzer:

 

 

 

 

 

 

 

 

 

DATE AMOUNT WIRED
February 14, 2007 $100,000
March 14, 2007 $200,000
April 3, 2007 $100,000
April 16, 2007 $25,000
April 24, 2007 $175,000
TOTAL 600,000
L

 

 

24, In fact, Holzer had only about $100,000 of his own funds invested in the St.
Augustine investment at that time. In October, 2007, Holzer assigned all his rights in the St.
Augustine investment to Fingerhut, not to Zackman. |

25, Iam further informed by Michael Zackman that he sent Holzer a wire on July 12,
2007, for $41,650, After that wire was sent, Zackman was uncertain how Holzer was going to

invest the money, and so contacted: Holzer to find out, I am informed by Zackman that initially

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Holzer could not remember, but then got back to Zackman several days to a few weeks later, and
told Zackman that the investment was in parking spots for a real estate investment that Zackman
had made previously through Trident, called “Waverly,”

26, ] believe that Holzer lied to Zackman when he said that the money Zackman was
investing in the Trident investments was for half the interest that Holzer had in Trident. A
review of Holzer’s bank records by Nick Cangro revealed that the total amount of money Holzer
sent to Foley & Lardner between January 2001 and December 2007, was $665,471.91. Iam
certain that no investments were made prior to January 2001 because ] am further informed by
Barry Fingerhut that Fingerhut had found this investment and told Holzer about the investment
sometime after they started FH Partners in 2004,

27, I was further informed by Barbara Zackman that on October 9, 2007, she
transferred $20,300.00 from her and Michael Zackman’s account at Citibank to Holzer’s
Citibank account. They did this because David Holzer told them there were legal bills connected
with one of their investments equaling $36,600, of which they had to pay half, and that he also
wanted to borrow another $2,000, which he would return at a later time. I am further informed
that later, possibly in January 2008, Holzer did pay them back 52,000. I am informed by Nick
Cangro, however, that a review of Holzer’s bank records show that Holzer did not use the
$18,300 he kept to pay legal fees, nor did he invest it for them. Instead, on October 9, 2007, the

same day he received the money from them, he paid American Express $16,280 for his charge

card bill.

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The Defendant's Activities with Regard to Barry Pessar

28. I am informed by Michael Zackman that Barry Pessar told Zackman that he gave

Holzer $150,000 to invest during the week of March 24, 2008.
| 29. I am further informed by Nick Cangro that a review of records recently received
from Citibank shows that on March 13, 2008, Holzer had a negative balance of $13,333.29 in his
bank account. On March 27, 2008, Holzer received a deposit in the amount of $150,000, and
that money was withdrawn from the account between March 27, 2008, and April 3, 2008,
through checks in amounts no larger than $22,000. On April 3, 2008, the balance in Holzer’s
account was $15,517.60. This activity is consistent with the defendant’s prior pattern of taking
money from would-be “investors” and then using the money for his own personal benefit rather

than investing it on their behalf,

The Proceeds of the Defendant’s Crimes

30. Based on the foregoing, and based on my training and experience, it is my opinion
that the defendant has been engaging in a pattern of activity that constitutes numerous crimes,
including but not limited to the felony crime of Grand Larceny in the First Degree (Penal Law §
155.42),

31. The total proceeds of defendant Holzer’s criminal activities, with regard solely to
Barry Fingerhut, in this case is $13,124.200.00. This figure represents the total sum of the funds
that Barry Fingerhut gave to the defendant from March 27, 2002 to September, 15, 2006, during

which time the defendant fraudulently represented that he was investing the money. In addition, the

proceeds of Holzer’s crimes against Heidi and John Rapillo is $1,600,000.00, This figure represents

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the total sum of the funds that the Rapillos sent to Holzer during the period between December 2005
and March 2006. In addition, the total proceeds of the defendant's crimes against Michael and
Barbara Zackman are $1,771,283 .33, which figure represents the total amount of money sent by the
Zackmans to Holzer from November 2006 until November 2007, minus the $2,000.00 that was
retumed to them. Lastly, the proceeds of the defendant’s crime against Barry Pessar is $150,000.00,
the amount of money that .Pessar gave to Holzer during the week of March 24, 2008. Thus, by
adding up these amounts, the total proceeds of defendant's crimes in the instant case is
516,645,483.33 (Sixteen Million, Six Hundred and F orty-Five Thousand, Four Hundred and Eighty-

Three Dollars and Thirty-Three Cents)?

Lesley Holzer’s Receipt Of The Ilegal Proceeds

32. The investigation has determined that defendant David Holzer is married to Lesley
Holzer, and that they reside at 10 Sky Drive, New City, New York. A review of property records
shows that 10 Sky Drive in New City, New York, is jointly owned by the defendant and his wife,
Lesley Holzer. From 2002 through the present this appears to be their primary address, and the
investigation has revealed that they live there together. At the time of the defendant's arrest, he and
his wife also shared a rented apartment in Manhattan, at 50 East 78th Street, Apartment 10A. They
have three children in common, aged 23, 29 and 31,

33, Tam informed by Nick Cangro, that he reviewed the defendant's bank records, and

that from March, 2002, to J une, 15, 2007, the defendant and Lesley Holzer shared a joint checking

 

* Criminal defendant David Holzer’s activities constitute a well-known type of scheme called a
“Ponzi” scheme, in which a defendant will steal fom new victims to pay back previous victims.
The investigation in this case revealed that David Holzer’s Ponzi scheme actually began prior to
his first theft in 2002 from Barry F ingerhut, and that he had at least one prior victim.

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account, number ending in 5365, at Chase Bank. I am further informed that from June 14, 2007,
they shared a joint checking account, number ending in 0313, at Citibank. During both those
periods of time, neither the defendant nor Lesley Holzer appeared to have any other personal
checking accounts,

34. Tam informed by Nick Cangro that both the defendant and Lesley Holzer regularly
wrote checks from their joint checking accounts at both Chase and Citibank, and that they both
appeared to pay their living expenses and personal bills from those accounts. These expenses
included mortgage payments for the house in New City, rent for the apartment in Manhattan which
they shared, utilities for both addresses, and credit card bills. I am informed that a review of the
defendant and Lesley Holzer’s credit card bills show purchases such as jewelry, expensive family
vacations, cars, furs, designer clothing, high-end electronics, and furniture.

35. I have been informed by Nick Cangro of the information from here through
paragaraph 41, based on his review of the defendant and Lesley Holzer’s joint bank records and tax
returns.” in 2002, the total deposits made to the defendant and Lesley Holzer’s joint checking
account at Chase bank was approximately $4,579,011.17. Of that sum, $4,345.000.00 came from
deposits made by Barry Fingerhut, one of the defendant's victims. In their joint federal tax return
for that year, however, the defendant and Lesley Holzer declared a total income of $144,403.00.
They then claimed $76,929.00 in deductions, and demanded a $21,395.00 refund. |

36, In 2003, the total deposits made to the defendant and Lesley Holzer’s joint checking
account at Chase bank was approximately $1,971,592.62. Of that sum, $1,868,150.00 came from

deposits made by Barry Fingerhut. In their joint federal tax return for that year, however, the .

 

; Copies of the tax returns were obtained with subpoenas to the Holzers’ accountants, and are not copies
of the final, signed returns that were actually filed with the Internal Revenue Service.

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defendant and Lesley Holzer declared a total income of $1 07,239.00. They then claimed
$116,022.00 in deductions, and demanded a $6,641.00 refund.

37, In 2004, the total deposits made to the defendant and Lesley Holzer’s joint checking
account at Chase bank was approximately $2,606,237.58. Of that sum, $2,530,000.00 came from
deposits made by Barry Fingerhut. In their joint federal tax return for that year, however, the

| defendant and Lesley Holzer declared a total income of $115,542.00. They then claimed
$110,156.00 in deductions, and declared that they owed $304.00 in taxes.

38, In 2005, the total deposits made to the defendant and Lesley Holzer’ s joint checking
account at Chase bank was approximately $4,329,298 68. Of that sum, $4,112,050.00 came from
deposits made by Barry Fingerhut and Heidi Rapillo. In their joint federal tax return for that year,
however, the defendant and Lesley Holzer declared a total income of -$496,515 (negative income),

based on an income of $52,795.00 and then by writing off $3,000.00 in capital losses and
$546,310.00 in business losses from Fingerhut Holzer Associates, On the Profit & Loss statement
attached to the defendant and Lesley Holzer’s taxes, they claimed that FH Associates eared $0.00
income in that year, They then demanded a refund of $ 1,619.00,

39. In 2006, the total deposits made to the defendant and Lesley Holzer’s joint checking
account at Chase bank was approximately $3,147,861.04. Of that sum, $2,844,000.00 came from
deposits made by Heidi Rapillo, Barry Fingerhut and Michael Zackman. In their joint federal tax

return for that year, however, the defendant and Lesley Holzer declared a total negative income of

$891,623.00, This was based on an income of $42,189.00, and then by writing off $3,000.00 in.

- capital losses, $408,161.00 in business losses from F ingerhut Holzer Associates, and a net operating

loss carryover of $522,651.00. They claimed a refund of $1,654.00.

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40, From January, 2007, through May, 2007, the total deposits made to the defendant
and Lesley Holzer’s joint checking account at Chase bank was approximately $883,038.55. Of that
sum, $641,333.33 came from deposits made by Michael Zackman. As of May 29, 2007, the
balance in that checking account was $8,788.32. On May 30, 2007, the defendant wrote himself a
check for $33,600,000.00 and deposited it into the joint checking account he held with his wife, and
showed the deposit slip to Barry Fingerhut, However, on June 5, 2007, the bank stopped payment
on the check for insufficient funds, prompting the bank to subsequently close the account on June
15, 2007. The defendant and Lesley Holzer opened a joint Citibank checking account on June 14,
2007.

4], From May, 2007 through December 2007, of the approximately $812,047.89 that
was deposited into the Holzers’ joint checking account, $181,950.00 was deposited by Michael or
Barbara Zackman.‘ During that time, on November 29, 2007, the defendant wrote two checks to
Barry Fingerhut, one for $5,600,000.00 and one for $1,400,000.00. At that time, the defendant and
Lesley Holzer’s joint checking account contained a little more than $9,000.00. Both checks
bounced.°

42, All of the money deposited into the defendant and Lesley Holzer's joint checking
accounts by Fingerhut, the Zackmans, the Rapillos, and Barry Pessar were sent via wire transfer,
and therefore the source of those funds appeared directly on the joint bank statements. The bank

statements show an address of 10 Sky Drive in New City,

 

“ Much of the remaining deposits appear to have come from sales of personal items such as
jewelry and a car.

° The defendant's accountant did not send copies of the Holzers’ 2007 tax returns, so those are
not examined here.

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43, It is clear from the defendant and Lesley Holzer’s joint bank statements that Lesley

Holzer obtained and spent a substantial portion of the proceeds of the defendant’s crimes.

WHEREFORE, I respectfully urge that plaintiffs application for a temporary
restraining order pending determination of the motion for a preliminary injunction be granted
together with such other and further relief as to this court may seem just and proper, and the costs of
this motion.

Dated: New York, New York
February {¥_, 2009

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“ Investigator Shanon Rowe

Sworn to before me

This [yt day of

February, 2009, /

Notary Public

 

MADELEINE GUILMAIN
Notary Public, State of New York
No. 02GU6181568
Qualified in Queens County
My Commission Expires 02/04/20 LS

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BARRY FINGERHUT/DAVID HOLZER

Barry Fingerhut

Education: BA, University of Maryland 1967; MBA, NYU 1969

Professional: Co-Founder of Wheatley Partners (Currently a Partner)
Former President of GeoCapital LLC
Former Genera! Partner of Weiss, Peck & Greer
Formerly with First Manhattan Co.
President/Board Member of FEGS Health and Human Services; Board
Member of Achievement First; Board Member of Apollo International,
Board Member of Edufund International; Board Member of WeatherWise
USA
Overseer to the Stern School of Business at NYU

David Holzer

Date of Birth: 11/14/49
SSN: XXX-XX-XXXX
Address 1: 10 Sky Drive, New City, NY (owned)
Address 2: 50 E. 78" Street, NY, NY (rented)
Education: BA, City College 1971
Professional]: 1971-1975: Abraham & Co.

1975 — 2002: Brean Murray & Co.

Prior Legal Issues:

Brean Murray: Our research indicates that in 1982 Holzer was named head of the firm’s
Capital Markets group, and that he remained in that position until he Jeft the firm in 2002.
Brean Murray was investigated by the SEC and by NY AG Spitzer in 2003 regarding
market timing/late trading issues during the period from 2001 to 2003 (regarding trades
made by the firii for its hedge find chiénts): Ii 2005, Bréan Miirray settled with the SEC
regarding charges that the firm had placed thousands of abusive mutual fund trades for at

' least five hedge funds between 2001 and 2003; the firm paid a fine of $150K. A New
York Post article published on November 3, 2003, reported that in 200] the firm had
formed a “special situations” group “to help facilitate market timing for some of its hedge
fund clients.”

US Tax Court: Holzer and his wife Lesley filed a petition (docket number 7490-04)
against the Commissioner of Internal Revenue on May 4, 2004. A stipulated decision was
entered into the record on March 30, 2005. Further details about this decision were not
available online.

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Chronology

1980s/1990s Brean Murray/Holzer handle trades/clearing operations for firm(s) where
Fingerhut is employed, and Fingerhut and Holzer develop a business
relationship

2002 (1) Holzer informs Fingerhut that he has formed a partnership with two
other individuals (Jeffrey Schwartz, Chairman/CEO of Traffix Inc.; and
Daniel Katz, President/CEO Katz & Associates Corp.); Holzer tells
Fingerhut that the partnership 1s called Dellwood Partners, and that it has
been formed to make real estate investments in upstate New York
(Rockland County)

(2) Holzer asks Fingerhut if he would like to take a 1/2 interest in Holzer’s
1/3 interest in Dellwood; Fingerhut agrees; Fingerhut does not perform
any due diligence on Dellwood (i.e., he does not review the partnership
documents; he does not contact Schwariz or Katz)

(3) Holzer informs Fingerhut that Dellwood has identified a piece of
property in Haverstraw, NY to purchase; Fingerhut wires funds to
Holzer’s personal account to cover his 1/2 interest in Holzer’s 1/3 interest

(4) During 2002, Fingerhut sends 4 wires to Holzer’s persona] account,
totaling $2,689,500; al] wires have been sent at Holzer’s request based on
his representations regarding the properties allegedly purchased by
Dellwood

2003 Fingerhut sends 6 wires to Holzer’s personal account, totaling $1,868,150;
all wires have been sent at Holzer’s request based on his representations
regarding the properties allegedly purchased by Dellwood

2004 (1) Fingerhut sends 5 wires to Holzer’s personal account, totaling
$2,530,000; all wires have been sent at Holzer’s request based on his
representations regarding the properties allegedly purchased by Dell wood

(2) Holzer informs Fingerhut that the Haverstraw property is going to be
sold for approximately $99 million, and that their share of the proceeds
will be approximately $33 million

(3) Fingerhut and Holzer form Fingerhut/Holzer Partners (FH Partners) for
the purpose of investing the proceeds of their share of the sale of the
Haverstraw property (Fingerhut wil] identify the investments to be made
by FH Pariners, and Fingerhut and Holzer will fund the investments 50-
50); FH Partners rents office space

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(4) Holzer informs Fingerhut that the sale of the Haverstraw property has
been delayed

(5) Based on Holzer’s repeated representations that the sale of the
Haverstraw property is definite and imminent, Fingerhut begins to make
investments on behalf of FH Partners, funding his share and the bulk of
Holzer’s share out of his own pocket; during the next 3 years, Holzer will
fund some of the investments made by FH Partners out of his own pocket,
but the bulk of his share of the amounts invested will be “fronted” for him
by Fingerhut (Fingerhut “fronts” this money for Holzer based on Holzer’s
representations that he will use his share of the proceeds of the sale of the
Haverstraw property to repay Fingerhut for the amounts Fingerhut has
fronted for him)

2005 (1) Holzer continues to inform Fingerhut that the sale of the Haverstraw
property has been delayed, but that the sale is definite and imminent:
Holzer provides various excuses for the delays, ranging from soil
remediation issues to the buyer not showing up at the closing with enough
cash

(2) Fingerhut sends 8 wires to Holzer’s personal account, and provides one
bank check to Holzer, totaling $3,318,750; the wires and bank check have
been provided at Holzer’s request based on his representations regarding
the properties allegedly purchased by Dell wood

(3) Based on Holzer’s representations that the sale of the Haverstraw
property is definite and imminent, Fingerhut continues to front money for
Holzer with respect to investments made by FH Partners

2006 (1) Based on Holzer’s representations that the sale of the Haverstraw
property is definite and imminent, Fingerhut continues to front money for
Holzer with respect to investments made by FH Partners

(2) Based on Holzer’s representations that the sale of the Haverstraw
property is definite and imminent, Fingerhut personally borrows $4.5
million from JPMorgan Chase to make two investments on behalf of FH
Partners

(3) Fingerhut sends 2 wires to Holzer’s personal account, totaling
$575,000; both wires have been sent at Holzer’s request based on his
representations regarding the properties allegedly purchased by Dell wood

2007 (1) (Winter) Fingerhut develops idea for a venture capital partnership
called Syncomium Partners; Adam Gumey, an Insh investor introduced to
Fingerhut by Holzer, reviews a draft PPM and is interested in investing in

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Syncomium; Gumey allegedly shows the PPM to Sheikh Mohammed bin
Rashid al Maktoum of Dubai, and the Sheikh is allegedly interested in
investing in Syncomium; various meetings/conference calls with Gurney
and the Sheikh and/or his business advisor(s) are cancelled at the Jast
minute. (As of the date hereof: (a) Gumey and a business partner, JP
McManus, have informed Fingerhut that they are prepared to invest $15
million in Syncomium, (b) the Sheik and/or his business advisor(s) have
informed Fingerhut that the Sheikh and his brother are prepared to invest
$300 million; (c) Gumey, McManus, and the Sheikh have been provided
with all necessary documentation for the investment in Syncomium, but
have not yet signed the documents or wired the promised funds.)

(2) (Spring/Summer) Holzer informs Fingerhut that the sale of the
Haverstraw property has finally closed; Holzer shows Fingerhut a deposit
receipt from JPMorgan Chase showing a deposit of a check for $33
million into one of FH Partners’ accounts at the bank; Holzer tells
Fingerhut, however, that the funds have not yet cleared; Fingerhut calls
JPMorgan chase to find out when the funds will clear, and is told that (a)
the check was written on an account with insufficient funds to cover the
ful} amount of the check (the account on which the check was written had
approximately $40,000 to $50,000 in it); (b) the FH Partners account into
which the check was deposited has been frozen; and (c) the bank’s fraud
unit is Jaunching an investigation into Holzer having deposited a phony
$33 million check

(3) (Spring/Summer) Fingerhut meets with attorney Howard Wilson of the
firm Proskauer Rose LLP to discuss whether Holzer’s kiting of the $33
million check, and JPMorgan Chase’s subsequent investigation, could
result in any criminal liability for Fingerhut

(4) (Spring/Summer) Holzer informs Fingerhut that the sale of the
Haverstraw property fel] apart months ago; Holzer later informs Fingerhut
that new buyers have been found to purchase their 1/3 interest in the
Haverstraw property, and that the sale price for their 1/3 interest is $25
million (Holzer tells Fingerhut that the buyers are Alan Elkin, CEO of
Active International, and Arthur Wagner, President of Active International
{Wagner lives on the same street as Holzer, at 14 Sky Drive]); however,
the sale of their 1/3 share is continually delayed, with Holzer offering
multiple excuses for the delays

(5) (Spring/Summer) Fingerhut asks Holzer if the investments in

Syncomium to be made by Gumey, McManus and the Sheiks are real —
Holzer tells Fingerhut that they are real

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(6) (Summer/Fall) Fingerhut hires Thacher Associates to Jook into Holzer
and Dellwood; Thacher determines that Dellwood does not exist and that
Holzer has been defrauding Fingerhut

(7) (October) Toby Thacher and Lincoln Ornston of Thacher Associates
meet with Holzer in his office at FH Partners; Holzer admits to them, and
subsequently to Fingerhut, that (a) Dellwood does not exist; (b) everything
he has told Fingerhut about Dellwood, including the alleged purchase of
the land in Haverstraw, was a lie; (c) he has used the funds provided by
Fingerhut for personal and business-related expenses, and that all of the
money has been spent; and (d) neither Schwartz nor Katz were invol ved in
the scheme; Holzer further states that (i) he has only approximately $40K
in his savings/checking account, and no brokerage accounts; (ii) his wife
and his children do not know that Dellwood is a fiction; (ii) he will
immediately obtain a second mortgage on his house and provide al]
proceeds to Fingerhut; (iv) he will attempt to find a way to pay back to
Fingerhut all of the money he has stolen; (v) he will provide Fingerhut and
Thacher Associates wil] all bank account statements for the previous 5
years so that Thacher can determine what happened to the funds provided
by Fingerhut to Holzer (which at that time amounted to over $18 million)

7) (8) (October 3) Holzer and Fingerhut sign a Contingent Assignment of
7 Equity Interests Agreement, pursuant to which Holzer agrees that, if he
has not paid the sum of $6,970,300 to Fingerhut by October 15, he will (a)
assign to Fingerhut all of his share of the investments made by FH
Partners (totaling $7,274,500); and (b) at Fingerhut’s request, resign from

FH Partners

(9) (October 9) Holzer signs a Secured Promissory Note, pursuant to
which he agrees to pay Fingerhut the sum of $7,603,800

(10) (October 15) Holzer signs a Notice of Resignation from Barry/David
Partners, LLC (Barry/David Partners was a vehicle formed by Fingerhut
and Holzer that received carried interests in certain investments made by
FH Partners)

(11) (October/November) Holzer tells Fingerhut that he has (a) obtained
all bank account statements for the past five years, and that he will provide
them to Fingerhut for review; (b) obtained a second Morigage from
Citibank in the amount of approximately $1.45 million; (c) obtained cash
from the sale of jewelry in the amount of approximately $560K; and (d)
obtained a job as a trader with Buzzy Geduld (formerly of Herzog, Heine
& Geduld), that Geduld has paid him an upfront bonus of $6 million, and
that he (Holzer) will immediately wire all of the funds listed above to
Fingerhut (totaling approximately $8 million)

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(12) (October/November) Holzer continues to tell Fingerhut that he will
wire approximately $8 million into Fingerhut’s account, and that he will
meet with Fingerhut to provide the bank statements; to date, no wires have
been received by Fingerhui, and Holzer has not provided Fingerhut with
the bank statements

Amounts Stolen by Holzer
(1) Cash: $11,850,400

* Based on Holzer’s representations regarding properties allegedly purchased by
Dellwood Partners, between 2002 and 20606 Fingerhut wired 310,981,400 to
Holzer

* Based on Holzer’s representations regarding the sale of the Haverstraw property
allegedly purchased by Dellwood Partners, Fingerhut loaned Holzer an amount
equal to $869,000 (Holzer informed Fingerhut that this amount was needed by
Brean Murray for a capital call; Holzer Jater admitted 1o Thacher, Omston, and
Fingerhut that no such capital call was made, and that Holzer lied to Fingerhut to
obtain these funds)

(2) Other Amounts: $10,284,968

* Based on Holzer’s representations regarding the sale of the Haverstraw property
allegedly purchased by Dellwood Partners, between 2004 and 2007 Fingerhut
“fronted” $7,274,500 for Holzer to cover investments made by FH Partners

* Based on Holzer’s representations regarding the sale of the Haverstraw property
allegedly purchased by Dellwood Partners, between 2004 and 2007 Fingerhut
covered Holzer’s share of the overhead expenses incurred by FH Partners; such
share was equal to $330,468

# Based on Holzer’s representations regarding the sale of the Haverstraw property -
allegedly purchased by Dellwood Partners, Fingerhut fronted an additional
$430,000 on behalf of Holzer in connection with a seal estate investment made by
FH Partners

* Based on Holzer’s representations regarding the sale of the Haverstraw property
allegedly purchased by Dellwood Partners, and with Holzer’s full knowledge,
Fingerhut personally took out a $4,500,000 million loan from JPMorgan Chase in
order to make additional investments on behalf of FH Partners; Holzer’s share of
this loan amount was $2,250,000

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TOTAL: $22,135,368
(3) Interest on Cash Payments and Other Amounts: $2,570,548
TOTAL: $24,705,916

(4) After the fraud became known, Holzer assigned to Fingerhut his interest in the
investments made by FH Partners; the amount of this assignment totaled: $8,997,501

NET AMOUNT OWED TO FINGERHUT: $15,708,415

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ASSOCIATES

330 WEST 42ND STREET, 23°" FLOOR
New York, NY 10036

PHONE: (212) 845-7500
Fax: (212) 845-7549

 

MEMORANDUM

To: XXXKKAKXN
FROM: LINCOLN ORNSTON
SUBJECT: DAVID M. HOLZER
DATE: XXXXXKX

This memorandum summarizes the results of public record research conducted by Thacher
Associates, LLC (“Thacher Associates”), pursuant to your request, regarding David M.
Holzer. Our research included online searches for records of Mr. Holzer’s personal
identifiers and reported addresses, general background information, corporate affiliations,
professional licenses, litigation and bankruptcy filings, US Tax Court filings, US Securities
and Exchange Commission (“SEC”) filings, criminal records, asset ownership, Uniform
Commercial Code (“UCC”) filings, lien and judgment filings and Internet and media
accounts.

Please note that electronic database research includes only those jurisdictions that are
available online, rather than every jurisdiction in which public records may be filed. Please
note also that the date coverage of available online records varies considerably from one
Jurisdiction to another, and may not always include relevant time periods.

Our research was focused on the jurisdictions in which Mr. Holzer has reportedly lived
and/or worked, namely the State of New York and New Jersey. We also conducted online
civil litigation, lien, judgment, Internet and media research for Mr. Holzer’s previous
employer, Brean Murray & Company as well as two (2) affiliates, Vcampus Corporation
and Vion Pharmaceuticals.

It should also be noted that Brean Murray & Company is also affiliated with Brean-
Murray, Foster Securities Inc., (Mr. Holzer is listed in the corporate records for this entity
name) and Brean-Murray Inc. Due to a merger after Mr. Holzer left the company in 2002
they are also know as Brean-Murray, Carret & Co, LLC. Our online research encompassed
all entity names which we reference as “Brean Murray.”

 

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Thacher Associates, LLC assumes no responsibility for the accuracy or completeness of the information from its sources, for errors
occurring in data transmission or conversion, or in any respect for losses or damages resulting from use of this information.

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EXECUTIVE SUMMARY

Professional Background

According to the information provided to Thacher Associates, Mr. Holzer worked at
Abraham & Co. from 1971-1975 as a proprietary trader after earning a Bachelor of Arts
from City College. In 1975, Mr. Holzer joined Brean-Murray as head of proprietary
trading and was promoted to the head of capital markets in 1982. He worked as the head of
capital markets until 2002 and joined your partnership in 2004.

Media — Brean Murray

An online review of media identified that Mr. Holzer’s previous employer, Brean Murray,
was investigated by the Securities and Exchange Commission (“SEC”) for improper
mutual fund trading practices as well Eliot Spitzer when he was Attorney General for New
York State. Specifically, the New York Post reported on November 3, 2003, that the SEC
subpoenaed Brean Murray for documents providing information about hedge funds, mutual
funds, and brokerage firms — including Bank of America, Lehman Brothers and Bear
Stearns Securities Corp. The article further notes that while Mr. Holzer was stil] there,
“Brean Murray formed a ‘special situations’ group in 2001 to help facilitate market timing
for some of its hedge fund clients, say people familiar with the company.”

According to an article published by TheStreet.com on February 17, 2005, Brean-Murray
settled charges issued by the SEC that they “placed thousands of abusive mutual fund
trades for at least five (5) hedge funds between 200] and 2003.” The article further reports
that the SEC contended brokers at Brean Murray engaged in both market-timing and late
trading on behalf of their hedge fund customers. Hence, Brean Murray was fined $150,000
to settle the SEC’s enforcement action.

Although Mr. Holzer was not personally ‘implicated in the activities referenced above, he
was still with Brean Murray in 2001 and therefore potentially aware of activities that took
place.

Please refer to the section of this report herein entitled Media and Internet for a more
detailed summary.

Litigation — David Holzer

An online review of available civil filings in the State of New York and New Jersey
identified six (6) cases filed between June 1991 and March 1994 naming Mr. Holzer as a
defendant. Please refer to the section of this report herein entitled State and Local Court —
David Holzer for a more detailed summary.

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US Tax Court

A search of US Federal Tax Court records identified the following petition pertaining to
Mr. Holzer:

» David and: Lesley Holzer filed a petition (docket number 7490-04) against the
Commissioner of Internal Revenue on May~4, 2004. A stipulated decision was
entered into the record on March 30, 2005. Further details about this decision were
not available online.

UCC Filings Judgments & Liens

An online review of UCC, judgments and lien filings in New York State and New Jersey
identified seven (7) judgments and liens naming Mr. Holzer as a debtor between May 199]
and March 1994. Please refer to the section of this report herein entitled uce Filings,
Judgments and Liens —- David Holzer_for a more detailed summary.

FINDINGS
Personal Identifiers
Name: David M. Holzer
Date of Birth: November ]4, 1949

Social Security No.: XXX-XX-XXXX (issued in the State of New York between and 1966)

Mr. Holzer currently resides at 10 Sky Drive, New City, New York 10965 (Rockland
County).

The addresses set forth below have also been reported for Mr. Holzer. These addresses
may include properties which Mr. Holzer may have rented or owned, in which he may
have temporarily resided, or with which he may have had some other association (e.g., Mr.
Holzer may have used such addresses on credit applications or other documents, and the
information included on such applications or other documents may have eventually been
listed in an electronic database).

The following addresses in New York have been reported for Mr. Holzer:
= 22 Georgetown Oval, New City, New York 10956 (Rockland County)

» 231 Tenafly Road, Englewood, New Jersey 07631 (Bergen County)
" 3555 Oxford Avenue, Bronx, New York (Bronx County)

 

' The primary purpose of identifying these addresses is to determine the various jurisdictions in which
criminal ard litigation research must be conducted.

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Criminal Records

Federal Court

A review of electronically available criminal records conducted with the District of New
Jersey and the Southem District of New York did not identify any records pertaining to
Mr. Holzer. -

State Court - New York

A review of electronically available criminal records conducted with the New York State
Office of Court Administration did not identify any records pertaining to Mr. Holzer.

State Court —- New Jersey

A review of electronically available criminal records conducted with the New Jersey State
Police is currently pending and we will forward the results upon receipt. We also
conducted an online of New Jersey Superior Court conviction records covering the period
of January 2, 1997 through February 8, 2007 and no records pertaining to Mr. Holzer were
identified.

National Criminal Index’

A search of the National Criminal Index did not identify any records with respect to Mr.
Holzer.

State and Federal Inmate Databases

Searches of online inmate databases maintained by New York State, the City of New York,
New Jersey and the Federal Bureau of Prisons did not identify any records with respect to
Mr. Holzer.’

Business Affiliations

Searches of business databases, corporate filings and Internet sources identified the
following entities related to Mr. Holzer:

 

*The National Criminal Index is a database of over 50 million criminal records, including felony,
misdemeanor, and inmate records, from databases maintained by states and counties throughout the
United States.

> The Federal Bureau of Prison’s inmate locater database contains information on all federal inmates
presently or previously incarcerated since 1982.

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* Brean Murray, Foster Securities, Inc. This is an inactive entity that was
incorporated in Delaware on August 28, 1978 and withdrew their active status on
December 11, 1987. Mr. Holzer is listed in the corporate records as an officer.

 

* Veampus Corporation This is an active entity that was incorporated in Delaware
on March 20, 1985. This is a public company and according to a Form 10-K/A filed
with the Securities and Exchange Commission on December 31, 2006, Mr. Holzer
is “one of our largest beneficial shareholders” owning at least ten percent (10%) of
their stock. Mr. Holzer, pursuant to Section 16(a) of the Exchange Act, filed Form
3 on December 5, 2006, as required by individuals owning ten percent (10%) or
more of common stock.

* Vion Pharmaceuticals, Inc. This is an active entity that was incorporated in
Delaware on April 20, 1995. According to his credit header data, Mr. Holzer has an
unidentified relationship with this firm.

Litigation
Federal Court — David Holzer

A review of electronically available civil filings in the District of New Jersey and Souther
District of New York did not identify any records pertaining to Mr. Holzer.

Federal Court - Brean Murray

A review of electronically available civil filings nationwide for Brean, Murray identified
approximately forty (40) Securities Commodities actions naming the Brean Murray
companies as a defendant. Over thirty (30) of these matters were filed between December
2003 and July 2004, These cases could possibly pertain to the Securities Exchange
Commission investigating Brean Murray for improper mutual trading practices in 2003.
Brean Murray ultimately settled with the SEC in February 2005. Eliot Sptizer, at the time
New York State’s Attorney General, also investigated the Brean Murray. Further details
about these investigations are provided in the Media and Internet section of this report.

Federal Court - Veampus Corporation

A review of electronically available civil filings nationwide identified the following case
naming Vcampus Corporation as a party:

° Techsearch LLC vs. Eschool.com Inc. and Vcampus Corp, case number 4:01-cv-
00126, a patent infringement suit filed with the United States District Court for the
Southern District of Texas on January 12, 2001. The defendants filed counter-
claims and a stipulation of dismissal without prejudice was entered into the record
on May 7, 2002, closing the case.

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Federal Court — Vion Pharmaceuticals

 

A review of electronically available civil filings nationwide did not identify any matters
naming Vion Pharmaceuticals as either a plaintiff or defendant.

State and Local Court — David Holzer

A review of electronically available civil filings in the State of New York and New Jersey
identified the cases summarized below as pertaining to Mr. Holzer::

" Bank of New York (Harrison) vs. David and Lesley Holzer, case number
0067651993. A civil suit filed with the Supreme Court for Civil Suits for Rockland
County, New York on March 8, 1994. This matter was also disposed with a pre-
note and settled on March 8, 1994.

* Norma Grossman vs. Across America Leasing, Aleet Leasing Corp. All Island
Leasing, All Metro Car Leasing Inc., Citbank, Foster Securities, Inc., David M.
Holzer, Maguire Brokerage, Murray Brean, North American Insurance Co.,
Philadelphia Insurance Co. and Royal Insurance Co., case number 12102593. A
civil suit filed with the Supreme Court for Civil Suits for New York County, New
York on January 20, 1994. Further details regarding the status of this matter were
not available online.

* Federated Dept. Store Inc. vs. David M. Holzer, case number 00002574392. A
$829 civil summons filed with the Civil Summons Civil Court of the City of New
York on July 16, 1992. Further details regarding the status of the matter wee not
available online.

* Norman Grossman vs. David M. Holzer, et al., case number 03033592. A civil suit
filed on November 6, 1992 with the Supreme Court for Civil Suits in New York
County, New York. Further details regarding the status of this matter were not
available online.

" Citibank, N.A. vs. David Holzer, et al., case number 0084041991. A civil suit filed
on March 18, 1992 with the Supreme Court for Civil Suits for Rockland County,
New York. This matter was disposed with a pre-note and settled on March 18,
1992,

» Fred Marcus Inc. vs. David Holzer, case number 00002915391. A $2,894 civil
summons filed with the Civil Summons Civil Court of the City of New York on
June 19, 1991. Further details regarding the status of this matter were not available
online.

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State Court - Brean Murray

A review of electronic civil] filings in the State of New York identified twenty (20) cases
naming the Brean Murray companies as party. Fifteen (15) of these matters listed the
Brean Murray companies as a defendant.

State Court - Veampus Corporation

A review of available electronic civil filings in state courts nationwide identified the
following matters pertaining to Veampus Corporation:

Gerri Knilans vs. Vcampus Corporation, case number SC-032820, a civil case filed with
Ventura County California Superior Court on May 15, 2002. Further details about the
status of this matter were not available online.

Sage Interactive vs. Veampus Corporation, case number SCV-308527, a civil suit filed
with San Francisco County California Superior Court on December 14, 1999. Further
details about the status of this matter were not available online.

State Court ~Vion Pharmaceuticals

A review of available electronic civil filings in state courts nationwide did not identify any
matters naming Vion Pharmaceuticals as a party.

Bankruptcy Filings

* A review of electronically available bankruptcy filings nationwide did not identify
any records naming David M. Holzer, Social Security Number XXX-XX-XXXX, as the
subject of a bankruptcy matter.

US Tax Court

‘A search of US Federal Tax Court records for petitions/trials involving tax disputes with
the Intemal Revenue Service identified the following proceeding involving Mr. Holzer:

» David and Lesley Holzer filed a petition (docket number 7490-04) against the
Commissioner of Internal Revenue on May 4, 2004. A stipulated decision was
entered into the record on March 30, 2005. Further details about this decision were
not available online.

UCC Filings, Judgments and Liens — David Holzer

A review of electronically available UCC filings, judgments and liens in the State of New
York and New Jersey identified following records pertaining to Mr. Holzer.

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* David Holzer is named the debtor to the Bank of New York in a $7,221 judgment
filed on March 22, 1994 in Rockland County, New York. This matter was satisfied
on February 20, 1998.

 

* David Holzer is named the debtor to Bloomingdales in a $989 judgment filed on
April 7, 1993 in New York County, New York. This matter was satisfied on
October 7, 1988.

» David Holzer is named the debtor to Malliouhana EC LTD. in a $8,117 judgment
filed in Rockland County, New York on August 19, 1993. This matter was satisfied
on October 19, 1994.

= David Holzer is named the debtor to Fred Marcus Inc. in a $2,410 judgment filed in
New York County, New York on May J, 1992. Further details about the status of
this matter were not available online. .

» David Holzer is named the debtor to G E Capital Corp. in a $2,169 judgment filed
in Rockland County, New York on February 19, 1992. This matter was satisfied on
May 6, 1994.

« David Holzer is named the debtor to the New York State Tax Commission in a
$32,989 judgment filed in Rockland County, New York on May 7, 1991. This
matter was satisfied on June 16, 1994.

* David Holzer is named the debtor to the New York State Tax Commission in a
$4,629 judgment filed in Rockland County, New York on May 7, 1991. This matter
was satisfied on March 12, 1997.

UCC Filings, Judgments and Liens — Brean Murray

A review of electronically available UCC filings, judgments and liens in the State of New
York identified over 100 UCC filings naming Brean Murray as the debtor. Also identified
were two (2) matters naming Brean Murray as creditors including a $945,000 judgment
against their former broker Lorne Caplan who is referenced in the media section.

UCC Filings, Judgments and Liens - Vcampus Corporation

A review of electronically available UCC filings, judgments and liens nationwide

identified approximately twenty-eight (28) UCC filings and eight (8) judgments naming
Vcampus Corporation as a debtor.

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UCC Filings, Judgments and Liens — Vion Pharmaceuticals

 

A review of electronically available UCC filings, judgments and liens nationwide
identified eleven (11) UCC filings and one (1) judgment naming Vion Pharmaceuticals as
a debtor.

Regulatory and Administrative Actions
Office of Foreign Assets Control

The Office of Foreign Assets Control (“OFAC”) administers a series of laws that impose
economic sanctions against hostile targets to further US foreign policy and national
security objectives. Management of these sanctions is entrusted to the Secretary of the
Treasury. OFAC is responsible for promulgating, developing, and administering the
sanctions for the Secretary under eight basic statutes,’ and all of the bank regulatory
agencies cooperate in ensuring financial institution compliance with the Regulations.

The Jaws and regulations administered by OFAC apply to all American citizens and
permanent resident aliens wherever they are located; individuals and entities located in the
United States (including all foreign branches, agencies, rep offices, etc.); corporations
organized under US law, including foreign branches; and entities owned or controlled by
any of the above, the most important being foreign-organized subsidiaries of US
corporations.

OFAC promulgates and regularly updates a list of those individuals and entities that the
US government has determined are threats to US national security and interests. This list is
entitled “Specially Designated Nationals and Blocked Persons.” The list comprises
individuals and entities, which are owned or controlled by, or acting for or on behalf of, the
Governments of target countries or are associated with international narcotics trafficking or
terrorism. These individuals and entities are listed on the Treasury Department’s Specially
Designated Nationals and Blocked Persons list so that persons subject to the jurisdiction of
the United States will know that they are prohibited from dealing with them and that they

 

‘Trading With the Enemy Act, 50 U.S.C. App. §§ 1-44 (“TWEA”) [North Korea, Cuba, Transaction
Control Regulations]; International Emergency Economic Powers Act, 50 U.S.C. §§1701-06 (“IEEPA”)
[Libya, Iraq, Serbia & Montenegro and Bosnia, UNI TA, Sierra Leone, Liberia, Sudan, Iran, the Balkans,
Terrorism, Narcotics, Nonproliferation, the Taliban and Burma]; Iraqi Sanctions Act, Pub.L. 101-5 13,
104 Stat. 2047-55 (“ISA”) [Iraq]; United Nations Participation Act, 22 U.S.C. § 287¢ (“UNPA ”) flraq,
Libya (part), UNITA, Serbia & Montenegro, Sierra Leone, and Liberia]: International Security and
Development Cooperation Act (“ISDCA”) codified at 22 U.SC 2349 aa-9 (Iran); The Cuban Democracy
Act (“CDA”), 22 U.S.C. § 6001-10 frelating to Cuba]; The Cuban Liberty and Democratic Solidarity
(LIBERTAD) Act, 22 U.S.C. 6021-91, [relating to Cuba]; The Antiterrorism and Effective Death Penalty
Act, (enacting 8 U.S.C. 219, 18 U.S.C. 2332d and 18 U.S.C. 23396) [Cuba, North Korea, Iran, traq, Libya,
Syria and Sudan]; The Foreign Narcotics Kingpin Designation Act, Pub L. No. 106-120, tit, VILL, 113 Stat -
1606, 1626-1636 (1999) (to be codified at 21 U.S.C. §§1 901-1908) and; The Criminal Code at 18 U.S.C. § —
1001. .

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must block all property within their possession or control in which these individuals and
entities have an interest.

 

Mr. Holzer is not listed on OFAC’s Specially Designated Nationals and Blocked Persons
list.

SEC Records

An online search was performed for any SEC records referencing Mr. Holzer, including,
but not limited to, Forms 3, 4 and 5, Schedule 13D and Schedule 13G.5 Online research
identified numerous references to Mr. Holzer pertaining to his status as a beneficial stock
holder for Veampus Corp. We reference the most recent filing in the corporate affiliations
section above.

National Association of Securities Dealers

Online searches were conducted with the National Association of Securities Dealers
(“NASD”) for any information pertaining to Mr. Holzer. No records relating to Mr. Holzer,
including registrations and/or disclosure events, are currently on file with the NASD.

National Futures Association

Inquiries conducted with the National Futures Association (“NEA”) for information
pertaining to Mr. Holzer identified that he became a member of NFA on August 20, 1984.
Mr. Holzer’s status as an active member was withdrawn on August 31, 1985. It should also
be noted, there are no NFA or Commodity Futures Trade Commission (“CFTC”)
regulatory actions or reparations cases, or NFA arbitration awards, reported for Mr. Holzer.

Asset Ownership

A review of Mortgage, Deed Transfer and Tax Assessor records in the State of New York
and New Jersey identified the following property records pertaining to Mr. Holzer:

» 10 Sky Drive, New City, New York 10956. This property, a single-family
residence, was purchased by David and Lesley Holzer on March 1, 1999 for
$350,000 from URARN Associates. According to the Tax Assessor’s Office of
New City, New York, the 2007 total assessed value for this property is $467,800.

 

5 Forms 3, 4 and 5 disclose directors, officers or owners of more than ten percent (10%) of a class of
equity securities {initial filing, changes and annual reports, respectively); Schedule 13D discloses
beneficial ownership (i.e., voting or investment power) of individuals who have acquired more than five
percent (5%) of certain registered equity securities; and Schedule 13G discloses passive investors (ie,
those who own less than twenty percent (20%) of the class of securities and do not seek to influence
control of the issuer).

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Driver Records

Searches conducted with the New York State Department of Motor Vehicles indicate that
Mr. Holzer has a valid Class D driver’s license which is set to expire on November 14,
2010.

Professional Licenses

Inquiries conducted with the New York State Division of Licensing Services as well as the
New Jersey Department of Consumer Affairs did not identify any professional license
records with respect to Mr. Holzer,

US Patents and Trademarks

Searches of the US Patent and Trademark Office’s online database were performed for any
patents, patent applications and trademarks held by Mr. Holzer. No records were identified.

Media and Internet

A comprehensive media review, consisting of over 30,000 print, radio, television and
Internet sources, identified the following article pertaining to Mr. Holzer:

° The New York Times. November 9, 2001 (See Exhibit One). An article entitled,
“Shares Are Mixed Despite An Early Boost From Europe,” quoted Mr. Hozler in
his professional capacity at Brean Murray as saying, “You're gong to see a
cumulative effect of rate cuts, and I think you're going to see a huge rally into the
end of the year. There’s no return in bonds, C_D.’s are yielding under two percent
(2%), and investors have to switch to the equity market. Money managers are going
to get fired if they sit on cash.”

A similar review of the Brean Murray companies identified the following articles of
interest:

e The Associated Press. May 16, 2006 (See Exhibit Two). An article entitled,
“Stamford Man Gets Three (3) Years In Federal Prison For Defrauding Investors,”
reports that a former investment named Lorne Caplan banker who worked for
Brean Murray Carteret & Co., LLC was sentenced to three (3) years in prison for
cheating investors. According to the article, Mr. Caplan pleaded guilty to wire
fraud and admitted he improperly took $990,000 in investor funds for his own use.

e Newsday. May 14, 2005 (See Exhibit Three). An article entitled, “Former Hedge
Fund Manager Testifies At Bank Broker’s Trial,” reports that former hedge fund
manager for Canary Capital Partners LLC testified he was told by two (2) people at
Brean Murray that a reputable law firm named LeBouef, Lamb, Greene and
MacRae advised late trading was Jegal. Its possible Mr. Stern was told this prior to

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Mr. Hozler’s leaving Brean Murray in 2002. According to the article, Mr. Stern’s
late trading was a catalyst for a sweeping investigation of the mutual fund industry.

 

e TheStreet.com. February 17, 2005 (See Exhibit Four). An article entitled,
“Brokerage Brean Murray Settles Market-Timing Case,” reports that Brean Murray
settled charges issued from the SEC that they “placed thousands of abusive mutual

fund trades fro at least five (5) hedge funds between 200] and 2003.” According to
the article, the SEC contended that brokers at Brean Murray engaged in both
market-timing and late trading on behalf of their hedge fund customers which
included Canary Capital Partners. Brean Murray was fined $150,000 to settle the
SEC’s enforcement action.

The article further reports that in September 2004, two (2) former Brean Murray
brokers alleged that a lawyer had given them faulty advice it was OK to engage in
late trading through Brean Murray’s trading platform.

Harold McGuire, Brean Murray’s attorney and a partner with Entwistle &
Cappucci said that, “The fact of the matter is there isn't anyone left at Brean
Murray who has significant knowledge of these activities.” One (1) of those people
may be Mr. Hozler who was a high ranking person at this small brokerage firm.

e The New York Post. November 3, 2003 (Exhibit Five). An article entitled, A
Broader View In Brean Murray Request, SEC Eyes Lehman, BOFA,” reports that
the SEC subpoenaed Brean Murray in their ongoing investigation of improper
mutual fund trading practices. According to the article,

“New York Attorney General Eliot Spitzer is also looking at the firm say people
familiar with his investigation into whether funds allowed select clients to buy and
sell shares at prices not available to most investors.

The SEC subpoena requests that Brean Murray, a small brokerage house based in
Midtown, provide all information related to a number of hedge funds, mutual funds
and brokerage firms — including Bank of America, Lehman Brothers and Bear —
Stearns Securities Corp.”

The article further reports that, “Brean Murray formed a ‘special situations’ group
in 2001 to help facilitate market timing for some of its hedge fund clients, say
people familiar with the company.”

It should be noted that Mr. Holzer was still with Brean Murray in 2001 and
therefore potentially aware of the activities referenced above. However, Mr. Holzer

is not implicated personally in this article or any of the others referenced in the
previous bullet points.

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A similar media review identified numerous references to Vcampus Corporation but no
articles appeared to be integrity related. There were no articles identified for Vion
Pharmaceuticals.

 

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Exhibit One
Source; Lexis-Nexis
The New York Times

November 9, 2001 Friday
Late Edition - Final

THE MARKETS: STOCKS & BONDS;
Shares Are Mixed Despite an Early Boost From Europe

BYLINE: By Reuters
SECTION: Section C; Column 3; Business/Financial Desk; Pg. 6

LENGTH: 544 words

Blue-chip stocks ended with modest gains yesterday while technology stocks slipped as
the market ran into a wall of profit taking after a big rally built on interest rate cuts by
European central banks.

Stocks also slid after the Oct. 2 minutes of the Federal Reserve's panel that sets
interest rate said the Sept. 11 attacks could worsen the buildup of inventory -- a persistent
problem for technology companies -- and that its current rate-cutting could be reversed if
the economy expanded too quickly.

Investors remained uncertain, with signs of an expected recovery still absent and
corporate profits in dismal shape. The Nasdaq composite index has also risen 28 percent
since it hit a three-year low on Sept. 21, a move that has prompted some investors to lock
in profits, analysts ‘said.

"Now we're just getting some normal profit taking and pullback after a big move," said
James Volk, co-director of institutional trading at D. A. Davidson & Company. "There are
still a number of people who are skeptical, including myself, as to when and to what extent
this economy is going to turn around."

The technology-heavy Nasdaq composite index, which at one point had climbed 2.8
percent, ended with a loss of 9.76 points, or 0.5 percent, at 1,827.77. The Dow Jones
industrial average rose 33.15 points, or 0.4 percent, at 9,587.52. The broader Standard &
Poor's 500-stock index rose 2.74 points, or 0.3 percent, to 1,118.54.

American stocks initially bolted higher after the European Central Bank and the Bank
of England cut rates by a surprisingly hefty half a percentage point. The reductions came
on the heels of a similar cut by the Federal Reserve on Tuesday.

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"To really combat recession and recessionary pressures here at home, we need to see
the rest of the world firm up a little bit,” said Charles Payne, an analyst at Wall Street
Strategies. "The interest rate cut by the E.C.B. caught a lot of people off guard in a good
way."

 

At the Dow's high of the day -- up almost 170 points -- the blue-chip index had erased
all of the steep loss it made after the Sept. 1] attacks on the Pentagon and the World Trade
Center sent the market tumbling. The Nasdaq and S.& P. 500 have already clawed back
from their post-attack losses as investors looked past the bleak economic environment and
bet on a comeback.

"You're going to see a cumulative effect of rate cuts, and I think you're going to see a
huge rally into the end of the year,” said David Holzer, managing director of trading at
Brean Murray & Company. "There's no retum in bonds, C.D.'s are yielding under 2
percent, and investors have to switch to the equity market. Money managers are going to
get fired if they sit on cash." --------------------

Treasuries Are Lower
By Bloomberg News

Treasury bond prices fell yesterday as a decline in jobless claims and interest rate cuts
by European central banks signaled the United States economy could rebound sooner than
originally thought.

The 10-year Treasury note fell 22/32, to a price of 105 21/32. The note's yield, which
moves in the opposite direction from the price, rose to 4.28 percent from 4.22 percent on
Wednesday. The price of the 30-year Treasury bond fell 1 7/32, to 107 30/32. The bond's
yield rose to 4.86 percent from 4.79 percent on Wednesday.

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Exhibit Two

 

source: Lexis-Nexis

May 16, 2006 Tuesday 2:01 AM GMT

Stamford man gets 3 years in federal prison for defrauding investors
SECTION: STATE AND REGIONAL
LENGTH: 266 words

DATELINE: NEW YORK

A former investment banker who was sentenced Monday to three years and a month in
prison deserved no leniency because he "had everything going for him” when he cheated
investors, a judge said.

Lorne Caplan, of Stamford, Conn., apologized to U.S. District Judge Shira Scheindlin
for hurting his family and investors. He had pleaded guilty to wire fraud, admitting he
improperly took $990,000 in investor funds for his own use.

The judge said she wanted to send a message that those who commit white-collar
crimes will be punished severely.

“This was completely a person of privilege who made his own bed," she said. "This
man had everything going for him.”

The judge said Caplan, who worked at Brean Murray, Carret & Co. LLC, stole from
at least seven investors in response to a financial crisis he caused himself by spending far
more than he earned. She said such crimes sometimes leave investors shattered.

"It's not a violent crime, but it destroys lives just the same," she said.

She ordered Caplan, 41, to pay back $945,000. She said the government can pursue
any assets Caplan might have or he can pay it off through 10 percent of his salary for 20
years after he gets out of prison. ,

Caplan from June 2001 to January 2002 arranged the transfer of client funds to his
accounts in New York, Florida and Holland, prosecutors said. Clients who had planned to
invest in a medical equipment company had their funds diverted.

He provided New York-based Brean Murray with three phony letters purportedly
signed by the chief executive of the medical equipment company authorizing the transfers,
prosecutors said.

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Exhibit Three

 

Source: Lexis-Nexis

 

Newsday

May 14, 2005, Saturday

Former hedge fund manager testifies at bank broker's trial
BYLINE: By Susan Harrigan

LENGTH: 512 words

A former hedge fund manager whose late trading of mutual funds set off a sweeping
investigation of the mutual fund industry said yesterday that he "felt uncomfortable" with
the practice, and that "in retrospect it was unfair.”

Edward Stern, who managed the hedge fund Canary Capita] Partners Llc, testified as a
government witness at the trial of a former Bank of America broker, Theodore Sihpol I].

It was the first time Stern has spoken publicly about his 2003 settlement of charges of
abusive trading brought by New York State Attorney General Eliot Spitzer, who went on
to extract more than $ 3 billion in settlements from mutual funds he accused of abetting
such practices.

Siphol is charged with larceny, securities fraud and falsifying business records. He
faces up to 30 years in prison if he's convicted and a fine of $ 200,000.

Dressed in a dark gray suit and blue shirt and speaking slowly, Stern, a son of
billionaire publisher, real estate and pet-food magnate Leonard Stern, said he placed trades
through Sihpol after the 4 p.m. market close because "my job was to get the least amount
of risk for the most amount of gain."

Sihpol’s attorneys are contending that Sihpol's actions were known and approved by
higher-ups at Bank of America, but are also trying to show that late trading isn't illegal. In
an answer that the presiding judge cautioned the jury would constitute "hearsay," Stern
answered "yes" when asked by defense lawyer Paul Shechtman if he had been told that a
"reputable" law firm had issued a legal opinion that late trading was lawful.

Stern said that information had come from two people at Brean Murray, another
brokerage that traded mutual funds for him, and he believed the name of the law firm was
LeBoeuf.

In an interview, Steven Davis, chairman of LeBoeuf, Lamb, Greene and MacRae, said,
"We emphatically deny that LeBoeuf ever issued an opinion on this point, and we have a

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feeling that it may be a case of mistaken identity." Don Fletcher, senior vice president of
Brean Murray, declined to comment. Both firms are based in Manhattan.

 

Stern said he once "had a cup of coffee" with Kenneth D. Lewis, the bank's chairman
and chief executive. The two "just talked about the economy," rather than about Stern's
business with the bank, he said. Robert Stickler, a spokesman for Bank of America, said
“we don't discuss customer relationships,” but that a meeting between Lewis and a
customer would have been "quite common."

In 2004, Bank of America settled charges with Spitzer and federal regulators for $ 675
million. Neither the bank nor Stern, who paid $ 40 million to settle in 2003, admitted or
denied wrongdoing.

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Exhibit Four

 

Source: Lexis-Nexis

TheStreet.com
TheStreet.com

February 17, 2005 Thursday

Brokerage Brean Murray Settles Market-Timing Case
BYLINE: By Matthew Goldstein, Senior Writer
SECTION: MARKETS; Matthew Goldstein

LENGTH: 674 words

Brean Murray settled Securities and Exchange Commission charges Thursday that the
small New York brokerage placed thousands of abusive mutual fund trades for at Jeast five
hedge funds between 2001 and 2003.

The SEC contends that brokers at Brean engaged in both market-timing and late
trading on behalf of their hedge fund customers, which included Canary Capital Partners.
Brean will pay $150,000 to settle the enforcement action, according to an SEC
administrative order.

The administrative order also places blame on the clearing firm that permitted the late
trading to occur, saying it also violated federal securities laws because of Brean's wrongful
trading. The order doesn't identify the clearing firm by name, but people familiar with the
investigation say it is Bear Stearns (BSC:NYSE).

In a civil Jawsuit filed in September, two former Brean brokers alleged that a lawyer
had given them faulty advice in telling them it was OK to engage in late trading through
Bear's clearing platform. The two brokers, Ryan Goldberg and Michael Grady, who are
stil] being investigated by the SEC and New York Attorney General Eliot Spitzer, claimed
the lawyer had committed malpractice.

The brokers were not charged in the SEC action against Brean. In the civil lawsuit,
Goldberg and Grady identified Canary, Veras Investment Partners and Tewksbury Capital,
formerly called Trout Trading, as their customers.

Market-timing, or frequent trading of mutual fund shares, is legal, but it is prohibited
under most mutual fund prospectuses because it can dilute the value of a portfolio's
holdings. Late trading is the buying or selling of mutual fund shares after their 4 p.m.
closing price, in order to take advantage of late-breaking or market-moving news.

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Regulators and prosecutors say late trading is an illegal practice, and a number of offenders
are facing criminal charges.

 

The SEC notified Bear last June that it is considering filing civil charges against the
firm's big clearing operation. Regulators believe Bear processed and financed abusive
mutual fund trades for dozens of hedge funds and small brokerages.

Earlier this week, TheStreet.com reported that the SEC recently notified three former
Bear brokers and Peter R. Murphy, a senior managing director, that they too could face
civil charges for assisting hedge funds engaged in abusive trading of mutual fund shares.
Murphy is one of the highest-ranking executives in Bear's big clearing and operations
division. .

Earlier Thursday, Bloomberg reported that Vincent Dicks, a top manager in Bear's
private client group, also received a so-called Wells notice from the SEC. Bloomberg also
reported the SEC was on the verge of settling with Brean.

People familiar with the investigation say at least one other current Bear employee has
been informed he could be facing a possible enforcement action and additional Wells
notices may be forthcoming.

A Bear spokeswoman said the brokerage has been cooperating with the SEC.

"Bear Stearns has taken significant action since the onset of the industrywide mutual
fund investigation," said the spokeswoman, Elizabeth Ventura. "Under the auspices of the
audit committee of the board of directors, we conducted an in-depth internal review of
mutual fund trading practices. As a result of this internal review, we took swift and
decisive disciplinary action -- including the termination of certain employees -- and, we
proactively shared the information from this thorough review with the SEC."

SEC officials declined to comment.

Late last year, Bear increased its litigation reserve by about $100 million to cover the
cost of a potential settlement with securities regulators over the firm's alleged involvement
in the mutual fund trading scandal.

Harold McGuire, Brean's attorney and a partner with Entwistle & Cappucci, said his
client is "very happy” to put the matter behind it.

"The fact of the matter is there isn't anyone left at Brean Murray who has significant
knowledge of these activities,” he said.

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) ASSOCIATES

Exhibit Five

 

Source: Lexis-Nexis
The New York Post

November 3, 2003, Monday

A BROADER VIEW ; IN BREAN MURRAY REQUEST, SEC
EYES LEHMAN, BOFA

BYLINE: JENNY ANDERSON
SECTION: All Editions; Pg. 033

LENGTH: 643 words

The SEC has subpoenaed New York-based brokerage house Brean Murray in the
agency's ongoing investigation of improper mutual fund trading practices, in an apparent
attempt to dig deeper into some of Wall Street's biggest firms, The Post has learned.

New York Attorney General Eliot Spitzer is also looking at the firm, say people
familiar with his investigation into whether funds allowed select clients to buy and sell
shares at prices not available to the most investors.

The SEC subpoena requests that Brean Murray, a small brokerage house based in
Midtown, provide all information related to a number of hedge funds, mutual funds and
brokerage firms - including Bank of America, Lehman Brothers and Bear Stearns
Securities Corp.

Spokesmen for all three firms declined comment.

The SEC subpoena also sought information on a list of hedge funds that named Canary
Capital Partners, Tidewater Capital, Trout Trading Fund, Trout Trading Management
Company, Peconic Capital Fund, Diamant Asset Management, Diamant Master Fund,
Lighthouse Multi-Strategy Fund and Veras Investment Partners. (Trout Trading became
Tewksbury Capital in April 2002).

Execs at those funds could not be reached by press time.

The subpoena also requested information on some mutual funds, including: Alger,
Alliance, Deutsche Bank, Federated Investors, Invesco, Vanguard, Strong and
Massachusetts Financial Services.

Brean Murray formed a "special situations" group in 2001 to help facilitate market
timing for some of its hedge fund clients, say people familiar with the company.

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Michael Grady and Ryan Goldberg were in charge of the group - which had Tewksbury
Capital as one of its top clients.

 

Goldberg and Grady left in April to form their own hedge fund, called Epic Partners.
They have been back working at Brean Murray in recent weeks to help the firm comply
with the subpoena, say people familiar with the company.

Neither Grady nor Goldberg could be reached for comment.

"We do not believe we have done anything wrong," said A. Brean Murray, the .
company’s chairman and CEO. "We have been subpoenaed for information and that's
something we have fully complied with."

A SEC spokesman declined to comment.

One of the hedge funds listed in the subpoena - Canary Capital Partners - and its
principal, Edward Stern, agreed with New York State Attorney General Eliot Spitzer in
early September to pay $40 million to settle charges of late-day trading, which is illegal,
and market timing, which is generally discouraged by mutual fund prospectuses and is
considered a breach of fiduciary duty, because it drives down investor returns.

The ever-widening investigation of mutual funds has uncovered improper practices by
a number of money managers and stock brokers and the firms they work for.

Firms have scrambled to fire or suspend almost three dozen execs because of improper
trading.

The SEC prohibits late-day trading because it allows investors to take advantage of
information that isn't available when a fund's closing price is set each day at 4 p.m.

Market timing, which is rapid in-and-out trading, is discouraged because it can benefit
the investors who use it to the detriment of other mutual fund holders.

Widening investigation

The SEC has subpoenaed documents from brokerage Brean Murray fora probe into
trading practices. The regulators want documents related to numerous other firms,
including the following broker dealers and hedge funds, among others:

Broker Dealers

* Bank of America

* Lehman Brothers

* Bear Stearns

Hedge Funds

* Canary Canadian Imperial Holdings
* Epic Advisors

* Douglas Allen Ram Fund

* Tidewater Capital

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* Trout Trading
* Peconic Capita]

* Diamant

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Suits, Liens, Judgments in NY
No records found

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® The Associated Press. May 16, 2006 (See Exhibit Two). An article entitled,
“Stamford Man Gets Three (3) Years In Se sa et tad
Investors,” reports that a former investment ‘¥amed Lome Caplan banker who
worked for Brean Murray Carteret & Co., LLC was sentenced to three (3) years in
prison for cheating investors. According to the article, Mr. Caplan pleaded guilty

to wire fraud and admitted he improperly took $990,000 in investor funds for his
own use.

© Newsday. May 14, 2005 (See Exhibit Three). An article entitled, “Former Hedge
Fund Manager Testifies At Bank Broker’s Trial,” reports that former hedge fund
manager for Canary Capital Partners LLC testified he was told by two (2) people
at Brean Murray that a reputable law firm named LeBouef, Lamb, Greene and
MacRae advised Jate trading was legal. It’s possible Mr. Stern was told this while
prior to Mr. Hozler’s leaving Brean Murray in 2004. According to the article, Mr.
Stern’s Jate trading was a catalyst for a sweeping investigation of investigations in
the mutual fund industry.

e TheStreet.com. February 17, 2005 (See Exhibit Four). An article entitled,
“Brokerage Brean Murray Settles Market-Timing Case,” reports that Brean
Murray settled charges issued from the SEC that they “placed thousands of
abusive mutual fund trades fro at least five (5) hedge funds between 200] and
2003.” According to the article, the SEC contended that brokers at Brean Murray
engaged in both market-timing and late trading on behalf of their hedge fund
customers which included Canary Capital Partners. Brean Murray was fined
$150,000 to settle the SEC’s enforcement action.

The article further reports that in September 2004, two (2) former Brean Murray
brokers alleged that a lawyer had given them faulty advice it was OK to engage in
late trading through Brean Murray’s trading platform.

Harold McGuire, Brean Murray’s attorney and a partner with Entwistle &
Cappucci said that, “The fact of the matter is there isn’t anyone Jeft at Brean
Murray who has significant knowledge of these activities.” One (1) of those
people may be Mr. Hozler who was a high ranking person at this small brokerage
firm,

e The New York Post. November 3, 2003 (Exhibit Five). An article entitled, A
Broader View In Brean Murray Request, SEC Eyes Lehman, BOFA,” reposts that
the SEC subpoenaed Brean Murray in their ongoing investigation of improper
mutual fund trading practices. According to the article,

“New York Attorney General Eliot Spitzer is also looking at the firm say people

familiar with his investigation into whether funds allowed select clients to buy and
sell shares at prices not available to most investors.

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The SEC subpoena requests that Brean Murray, a small brokerage house based in
Midiown, provide all information related 1o a number of hedge funds, mutual
funds and brokerage firms — including Bank of America, Lehman Brothers and
Bear Stearns Securities Corp.”

The article further reports that, “Brean Murray formed a ‘special situations’
group in 200! to help facilitate market timing for some of its hedge fund clienis,
' Sapy people familiar with the company.”

It should be noted that Mr. Hozler was still with Brean Murray when this article
was published and therefore potentially aware of the activities referenced above.
However, Mr. Hozler is not implicated personally in this article or any of the
others referenced in the previous bullet points.

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r. Barry K. Fingerhut
inper hut/Holzer Partners, L.L.C.
399 Park Avenue, 32" Floor
New York, New York 10021

Re: Ownership/Sale of Properties in New York State

Dear Barry:

This will confirm your retention of Thacher Associates, LLC (“Thacher Associates”) in
connection with your request that we conduct an analysis and investigation of circumstances
surrounding the purported sale to you of an ownership interest in certain properties (the
Properties’) located in New York State.

BACKGROUND

You have advised us that David Holzer. your partner in Fingerhut/Holzer Partners, L.L.C.. has
infonned you that (1) he owns a one-third interest in a partnership called Dellwood Partners, L.P.
(*Dellwoad”): (2) his partners in Dellwood are Jeffrey L. Schwartz and Danic] Katz, each of
whom holds a one-third interest in the partnership; and (3) Mr. Holzer’s one-third interest in one
of the Properties, located in Haverstraw, New York (the “Haverstraw Property”) is about to be
sold for approximately $25 million. You have also advised us that you own one-half of Mr.

Holzer’s ownership interest in Del] wood.
SERVICES

You have asked Thacher Associates to undertake an investigation and analysis to determine th
bonafides of the above representations by David Holzer. You have further asked that. based on
information obtained in the course of that investigation and analysis, we assist you in taking -
appropriate steps to remediate any issues identified. It is anticipated that such assistance will
involve, at a minimum, database research, field interviews and ongoing consuliation with you

and counsel.

CONFIDENTIALITY
We agree that any and all information and documents received from you, your agents or any
other consultant you have retained or will retain relating to this matter are presumptively

privileged and confidential. All information and documents that Thacher Associates or any of
our investigative associates or consultants develop during the course of providing these services

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Barry Fingerhut
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- THACHER
ASSOCIATES

  

disclose any information and documents received or developed in connection with this maner
unless we have received written authorization from you, or are required by law to do so.

In the event that any third-party. including a governmental enlity. atiempts to obtain documents
or information related to this matter from Thacher Associates, our investigative associates or our
consultants, by subpoena. other compulsory process or otherwise, to the extent we are permilted
by law under the circumstances to do so, Thacher Associates will immediately noti Fy you of that
fact. afford you an opportunity to contest such third-party efforts and otherwise follow your
direction with respect to our response. You agree to indemnify us for all costs and expenses
reasonably ineurred. including both reasonable legal expenses and the costs of Phacher
Associates” and our investigative associates’ and consultants’ time. in responding to any such
effort to obtain information or documents trom Thacher Associates in connection with this
matter.

You agree. however. that nothing herein shall prevent or prohibit, Thacher Associates. our
investivative associates or consultants from complying with any order of a court of competent
jurisdiction, or a government or other official acting within his actual or apparent authority. for
the production of documents or the provision of information.

INDEMNIFICATION

You agree to hold harmless and indemnify Thacher Associates, our investigative associates and
consultants, against and pay for all claims. damages and costs (including reasonable attorney's
fees and disbursements) arising out of this engagement. except for such claims, damages and
costs allegedly arising from any actions by Thacher Associates where it is finally adjudicated
that such actions by Thacher Associates, our investigative associates or consultants were illegal,
grossly negligent, or were beyond the scope of this engagement.

FEES AND Costs

In order to efficiently manage the fees and costs associated with the engagement. we will
perform our services in incremental phases, and not proceed to a new phase without first
advising you of the anticipated scope and costs of such new phase. We anticipate that the first
phase of the engagement (“Phase I") will be comprised of (1) electronic database research
regarding Mr. Holzer, Mr. Schwartz. Mr. Katz, Dellwood, and the Haverstraw Property: (2} on-
sité manual research regarding Dellwood and the Haverstraw Property; and (3) multiple meeting
and telephone conferences with you.

Upon completion of Phase 1, we will provide you with oral and/or written reports (at your
discretion) detailing our findings, and setting forth our recommendations with respect to
additional steps (~Phase I”) that can be taken in furtherance of your interests. We agree that we
will not to take any actions which would cause the tutal fees of Phase 1, excluding expenses and
applicable taxes, to exceed $25,000. without first discussing such actions with you.

Should you request that we extend the engavement to include a Phase Il, we agree to consult

with you regarding the scope and antici pated costs of our services to be provided during Phase 1].
and to set a maximum fee, excluding expenses and applicable taxes, for Phase HH.

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September 10, 2007
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THACHER
ASSOCIATES

 

Thacher Associates bills on an hourly basis, plus costs and expenses, In accordance with the
attached schedule. Thacher Associates will send its invoices directly to you.

RETAINER

We ask that you provide us with a $10,000 retainer. The retainer will be held by Thacher
Associates and will be applied avainst our final invoice for services. To the extent any amount
remains in the retainer after it is applied against our final invoice. the balance will immediately
be returned to you.

EXECUTION

Your signature below indicates that you agree to engage Thacher Associates under the terns and
We look forward to working with you on this matter,

conditions set forth herein.
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Ie LJ CAA

Thomas 1). Thacher 1]

 

Acknowledged & Agreed:

BARRY K. FINGERHUT

By: Dated: Wfu7

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Barry Fingerhut

September 10, 2007 THACHE R

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Project Manager (Ornston) ------------------------neeceeeenee eee eee 350
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Senior Research Analyst - - 200
Analyst none 175
Research Associate ----------------------2--- one ne 150

 

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American Express Account #s Identified

 

 

American Express [Name on
Account Number. {Account Period Active |Notes
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David Holzer

2004-2005

 

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Lesley Holzer

2004-2005

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j20], JUROIY m0 1dq am py JUNO. Y po.19407 aed
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[Page 1]
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORE

JOHN RAPILLG AND HEIDE RAPILLO,
Plaintiffs,
Civil Action Ne.
~against= gg-CV-10425
{GBD}
BARRY FINGERHUT, DAVID HOLZER,

FINGERHUT-HOLZER PARTNERS, LEC,

 

FINGERHUT-HOLZER EQULTIES, IWe.,
FINGERHUT-HOLZER, INC.,; FPINGERHOGT-
HOLZER FUND L.P., GEO CAPITAL
PARTNERS, INC., FINGERHOT-HOLZER
PHE WAVERLY I, LLC, FINGERHUT-

HOLZER THE WAVERLY IT, LLC,

 

LESLIE HOLZER, DOUGLAS HOLZER,
JENNIFER HOLZER, JOSHUA HOLZER
and JOSEPH HOLSER,

Defandants.

Webruary T, 2013

1L:00 a.m.

 

Deposition of BARRY PINGERHUT, taken by
Plaintiffs, pursuant to notiaa, at the offices
of Wolkenflik & MoGerity, 1500 Broadway, Naw
Yark, New York, befare SUA4ZANNE PASTOR, a
Shorthand Reportar and Notary Public within and

for the State of New York.

 

 

 

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1 APPEARANCES: 1 A. fully 2nd, 1945.
2 . ; _ . . 2 Q. And your sacial grouriiy number?
48 Broadway 4 MIL. FOLKENFIIK: We ahjcet. Unless |
4 New York, New York TOGU06 5 there's a reason For H. :
5 BY: ROBERT J, CONWAY, ESQ. 6 MR. CONWAY: J always ask pedigree.
(212) GI9-4d4d 4 MI. FOLKENFLIK: ‘That doesn't
6 TCOM WES TENNLE WPS, COM . wae
4 a a matter. Well objecL, We'll talk about giving
FOLKENFLIK & McGERITY, LLP 9 you the sacial security number in a-canfidential
& Attorneys For Defendants and the Witness 10 submission in the event that it becomes
9 30 OT Ny York 10036 id important, As you know, if Unis douurmesit were
10 BY: MAX FOLKENPLIK, ESQ. 12 ever submitted ie the court, you'd have t
(212) 757-0406 43 redact iL anyhow.
id mfatkenflikgiinlaw.com 14 MR, CONWAY: What we car: do is ask
13 ALSO PRESENT: 15 the reporter to include on it the last ferur
14 IOHN RAPILLO 16 digits --
45 HEAD RAPILEDO 1? ME. FOLKENELIK: ‘Those are the four
16 18 digits that contain all the uscful information.
ta 48 Sy. the anwer is respectfully aa. | devline,
19 20 You can ask the judge,
20 2i Q. What is your country of origin.
3 22 sit?
24 23 A My sountry al origin?
24 24 Of origin.
26 25 A, The US. But its Washington, B.C.
{Page 2] {Page 4]
1 RARKY FINGERHUT, 1 fn nol sure what that is.
2 residing at 7884 Kast Clintan Drive, Seolisdale, 2 Q. That may not be ours,
4 Arizona 89266, having been first duly swarn by 3 A. That's right. That's where [was
4 the Natlary Public (Sucame Pastor), was examined 4 born.
§ and testified as follows: 5 &. Where were you educaled, sir?
6 EXAMINATION BY & A. Where was f educated?
7 MR, CONWAY: 7 Q You.
a GO. Mr. Fiigertaat, I'm going to ask you 8 A. Undergraduate school at the
8 armimber of questions. If any of those 3 University of Maryland, and then graduate at
10, questions une unelvar, please fool free to say 10 NYU. That's an MBA.
1 ae. 11 G, ‘What did you study at Maryland?
12 Sir, the address is 1230 West 12 A. Al Maryland?
13 Washington Sircet, Tempe, Arizona, that is a i3 Q. Yes.
14 fusiness fat yau? 14 A. lheda BS deyree.
15 A. Yes. i5 ©. In what? Math, science?
16 Q. Could [have your residence address Lé A. Actually, pre law, ‘Then [ made the
17 there’? 17 right decision, Got an MBA instead.
La A. 7884 Bast CHitors Drive, lhats in 18 Q. this weren't a transeript, I'd
419 —- Svotisdale 85260. 19 agree with you.
26 Q. Allright, sir, how old are you 20 ‘And where did you find employment
21 today’? 21 after you left NYU?
zu A. How ok am | today’? 22 A. My initial job was al Aetna Life
23 Q. Yes. 23 and Casualty. ,
24 AL 87, 24 O. In what capacity’?
as O. And your date of birth? 25 A. | was an investrnent analyst.
[Page 31 tPage 5}
[2] (Pages 2 to 5)
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A. $965.

with Actna?

career.

Peck & Greer?

Weiss Peck’?

investment house?

time?

 

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an advisary Mtr.

broker?

with First Manhattan?

SLY ee

asks a question.

the ticker svinhel,

OQ. What your was that? 2 Q@. Did Gee Capital vease lo exist i
z thaé point or did It vermain a lepalty viable
G. And fer how fong did you romain 3 entity?
4 A. When i sin sold yoni thean?
A. Twoyears. 1971 Loame back to New & OQ. Yes.
York, worked for a firm entied Weiss, Peck & 5 A. No: Iwas sald and controlled
7 by — or awned | should say by AMU, And partof |
Q. Is Weiss Peck one word? 8 the deal waa that | needed-to stay fir a certain
A. No. two words. 3 period of lime, which I did, anti 2003 T dhitk.
QO. And what was the business of W iss, io Q. Now, did Geo Capital have an
an investment specialty? Oil, technolngics, :
A. They were fnvestinent advisors, 12 foreign, whalever it may be. j
specialists and yerlure capitalists. 13 A. We did.
Q. For how many years were you with 14 Q. What was that specialty? ‘
45 A. We were small cap investors, And J :
A. Let me sce, Tloft Weiss Pook in 16 was an asset ~ the asset investor, if you will ;
98 [joined them in ‘71, so [ guess that was 19 Q. Did Geo Capital invest with its own
seven yeurs. Thon | wertto a firm called First 138 money or cients money?
Manhattan Company. And 1 left then -- 19 A. Ne. no, it was an advisory firm.
Q. Was thata hank or a private 20 EH wago'L our capital, [was all clients.
24 G.  Thd you have any altiiation with
A, Ti was an investinent advisory firm. 22 any other investment firm that did directly own ;
And broker, Maiely investment advisory. Za stocks or cquities ar bonds or wiv thing of deal
GO. Had sou become a broker at any aa ied’?
25 A. Pm not sure what you mean by
[Page 6} {page 6]
A. No. Well, l shouldn't say that. | i “relationship.”
passed the exams that you need - well, that's Z QO. While you were working lor Cleo
not really brokerage. H's really a it's a 3 Capital, did you have any sideline accupations
Wall Street partnership, i's a GS65 [ think. 4 or inveslments?
Whatever His. It's a capital -- 5 A. The only thing that we did
Q. ‘Were you working off someane else's § separately was, this ig anvther enlity. but my
license or lhe firm Ticonse? 7 partner and | with another partner formed an
A. Nao. no. Epis needed to pass this 8 operation called Weekly Pariners, which wag a
io become 4 general partner. Hut it was really 8 venture fund, or a venture partnership T should
16 suy. We now have seven partnerships it Weekly ‘
©, Did you ever yourself practice as a tL Partners. ‘Fhat was started in ‘92.
i2 c. Allright, and that's still an.
A. Ne. Fen nota broker. 13 aperational business?
@. And for how many yosrs werk you 14 A.  euh, but the business is -- 1
1s meat the Leads are ending.
A. [lel there inthe spring of 1981 i6 MR. FOLKENPLIK: He'll ask a
tay join a partner at 4 firm called Geo Capital a7 question, You juul answer his question,
Corp. That is a registered Investment advisary i8 ©. And who were the people with whem
firm. We sold the firm in 1997, 1 needed to 19 you founded Weekly?
20 A. (ne was my partner at Geo, hig name
Mi. POLKENELIK: Justwalruntiihe | 22 was Irwin Lieber, And the other was Barry
22 Rubinstein.
Q.  Toowhom was that firns sald in 19977 23 0. Now, when Geo was purchased, did
A. Alfilisicd Managers Group. AMG is 24 you move on to a different professional vehich:?
25 ME, POLKENILIK: [le already

[Page 7]

 

 

 

[3] (Pages 6 to $)

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[4] (Pages 10 to 13)
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4 answered that he stayed with Geo Cupitel for 1 A, Yes.
2 Over Yours. 2 a. And whet is thal document?
3 Q. Yes, you sluyed with Gea, When Geo 3 A. What is #1.
4 was aed -- 4 Q. Yos. What was it intended to be?
& Mi, POLKENPLIK: Afler il was sold 5 A. lowas anarinership agreement to
6 he slayed. 6 do a inated partnership, an Investenent vehicle.
t a3, Afier ji was sold did you coniinuc ? O. And ty that the memorislization of
8 1o slay with Gea? & an arrangement helween yourself and Dawid llelzer
9 A. ‘Yes. leouldn'tleave. That was a for the operation of a business known as
10 patt of the deal. 10 Fingeriul-Holver Partners?
ii So you stayed until 20057 11 MIR. FOLKENTILIK: Excuse ine its!
12 4, Nee Late 2003 ar 2004. 12 Fingerhut-Holzer Fund LF. Correct?
i3 Q. And did you leave by arveriiaaal 13 MR, CONWAY: Yus.
i4 agreement? 14 Mit, FOLKENFLIE: Fingerhut lolzer
25 MR. FOLKENPLIK: Te sald the 15 Fund LP.
16 hs ese. 16 QO, bs there a Fingerbut-Ho leer
17 ©. You then sold the retainder of the 17 Partners LLE document’?
ik basiness thal was yours. 18 A. Here? | don't sec it here.
19 MR. FOLK ENELIK: [le sold the entire 19 ©, Boas ane exist’?
2a Husimesy and he had to stay on as part of the 20 A. Lbelleve so.
21 contract. 21 Q. And where would that be?
22 A. That was the deal. 22 A. Prabhably by your lel hand.
23 Q. So ifthe contract extended for 23 Q. What! have is the operating
24 seven years and you Icave in 2005, you would ga agreement af Cetober 25¢h, 2007,
25 have left in five years. | presatiie -- you left 25 A. Titewt ki. T don'l knew the
{Page 10] [Page i2]
1 hy apneeinent. — 1 answer te that.
2 &  Tiwas 97 when we aold it. Then | 2 MR, POLKENFLIK: TI will repreacnt
3 think | left in maybe it was early 2004. Bul it 3 that we contacied the, for want ofa better
4 wees acourel Chal fine. 4 word, corporate lawyers who were representing
5 G. All right, your contract with 5 ir. Fingerhut in conneglion with the formation
& iheta -- yuur obligations to thom expired. 6 of a.number of these husincsses and whatever
9 A. Corvect, 3 documents they were able to find about the
a Q.  Whal did you then do? & organizational structure of the Fingerhut-Holzer
g A, Lterned what Thought was a a enfities we produced,
10 family partnership. 18 MR. CONWAY: All right, now, by
12 Q. With whont? 12 © counsel, was thal lawyers who were responsible
12 A. With David lalzer. 12 for the drafting of the document in 20604? :
13 O. And whal year was that? ‘13 MR. PFOLKENFLIK: Either responsible !
14 A. 2004! hetieve. i4 for the drafting of the document in 2004 ar
15 G. We have been sent a document L4 suucessors lo the person who draficd the
16 identified as the Mingerhut-Holver Faia LP 16 document.
L? Ldatdied Purlnership agreement dated October f at L7 @. Let me ask you this. Sir, what law
Le 2004. Does that sound like the organizalion Lg firm drafted the initial arrangement hefveen
i$ ila you founded at that tine? is yourself and Mr. Holzer?
ao A. ‘That was Jd chink an enti, afi A. don't remember the name. | mean,
21 GQ. Why don't yeu take a look at that. al it's on the document.
22 (Fingerhut Kxbihic § fer 22 THE WITNESS: Do you remember the
23 identification. Butes No. BF 90 through 112) aa qin?
24 Sie, carvyou identify that document a4 Mi. FCH-KISNELIK: Ne.
25 thal's been passed to you? a5 Q. Was there «=
[Page i1] [Page 131 |

 

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gee
1 A. They're on Third Avemezand 34th 1 Sounding of Fingerhut-Holece Pariners. :
2 Street, | knaw that, Butt don'l remember the 2 AL No. :
3 WaT. 3 Q. Did the ovo of you develop a saul |
A MR. CONWAY: Counselor, if you 4 relationship during those 20 years in arldition
5 could, is there anything -- & to being --
6 MR FOLKENFLIK: Ifyou want the 6 A.  Yos. Fut it was primarily
7 name of the firm Fonnlacted, leave a space in 7 husiness, | mean. 1 knew his tamily.
& the transcript and Fi supply it to you. g Oo, You saw gach other an aceasion, bat
g INFORMATION REQUESTED 10 BE SUPPLIED: 3 ituwas pelocipatly. business.
Lo Law Firm | lired ta Draft Carperate Dacuments 10 A.  Tewas pretty rare.
di G.  Slow, in ZIM, did you determine te ii QO, When you suv euch otter socially,
12 open a business with David Holzer? 12 what type of relationship did you have? Dinner,
13 A. Lpust told you. : 13 traveling?
14 O. And you indicated that you thought 2 14 «A, Tithing it was dinner a eouple af
15 that was a laonily business. 15 times. But we -- well, i wasr'l at that point.
16 A. A farnily business to the extent " 46 Luter there waa a safari we went on. Bul thai
47s ghat &t was only us making investments. , i waan't until alter 2004,
18 OD. By "us® du you mean you and _ 48 QO. Now, what prompted you pricy bu
49 Mr, Holzer? | 49 2n04 w select Dawid Llelzer te ge into business
20 4. Mm-him. | thenght so. 20 with?
ai GO, Creuse me? ai A, Weill, [talked to him every day,
24 A, Atieast | thought go al the dime, 22 probably every business day a few times. Gat to.
23 O. Andwhen and where did you meet 23 know him pretty well, thought he was -- 1
a4 Me. Hlalzee fin the Hest lime? 24 thought he was a prethy geod trader, You peer.
25 A. Ob, ford, Probably + well, he was 25 understand what (rading meant back then.
[Page 14] {Page 16}
i a trader for Breen Mucray anc ] was doing 1 Q. Allright, tell me what trading
2 business with Breen Murray probably abcrut the 2 meant hack then.
3 time | joined twin in Geo Capital. Thac’s like 3 A. Well, firet of all, you have i
4 early BOs. So ii was 22-3 years. 4 understand thal the bypes af positions thal we
5 (. Sure. You finish and then | go. 5 owned ware small companies, Relatively
6 You had kbewn hun for bye or three years? & iWigaid, We used initially a base of -- atop
4 A. Za years, 3 af a hndred evillion in markel wale, seas we
g O. And had Mr Holecr heen invetved in 8 pat larger we owned more and more different
§ business transactions with you aver those 23 9 companies, Gat to a point where we had — we
0 yours? 19 ed 1308, which anc § percent or greater as 4n
il A. Me. Holzer was a broker 1] used in LL advisor, not ag at independent person, of aberut
412 buying socurities and selling securities in Geo 12 40 companies.
43 Capital a3 us being a registered advisor. 13 So buying and selling securilies
a4 Q. During the 23 years you knew hint 14 was imporlen! tthe sense of wha you nsed, what
i6 pelor to the creation of Fingerhut-Holzer 15 firm vou used, haw deep they made the market, of
16 Partners, had you ever been aware of any 16 welera, I¢was not like buying IBM, that kind
1? criminal investigations involving Mr. Holace by | 17 of stati.
18 ary authority? 44 G. Mu-hmm.
18 A, No. 48 A,  Peotty much continucs te be Hke
20 Q. Had you ever heard of any lawsuits 20 ihiel sitive.
21 Hed against him lor his work or the manner in aL GQ, Now, the 40 campanies would have
22 which he operated ara broker. 22 been owned by Geo Capital?
23 MR, FOLKENFLIK: And this is in | 23 A, Ne, iley would be owned by the
a4 what period? 24 clicnts of Geo Capital. We managed moncy, when
28 Q. In the 23 yours priar to the / 25 — [starled swe were about -- when T joined my
{Page 15] fPaqe 17] |

[5] (Pages 14 to 17)
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amie Fae | a A it Ge i he OW

Bd Re RD bel geo bet et et et RE
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1 yariner we had uboul 60 million under
2 management.
3 Q. So-
4 &. When we sold we were about -« wall,
5 by the thne [ keft in 2004, we were ahatil 3
& billion.
7 QO. So Ges was csgentially 4 reainigement
a company that -«
g &, Investment advisory firm.
16 QO, invesiinent advigory. And ghents
44 would places moncy with you to be invested hased
i2 upon your best judgment, bat the moncy continued
£3 to be the clients’. 11 vas nol. your money.
14 A, Correct. Clients made a fee far us
is in Maiage (heir money.
16 Q. And atits heigitt Gea managed how
av large a total --
18 &. About 3 bilHon.
is ©. And that would he 3 billion if
20 S37
21 A, Yeah, 2003/2004. When we sold it
22 was about in YT it was Hike twe and a
23 quarter billion. This, by the way, in a large
24 aracnet lar stiller cap, You should know.
25 OQ. New, wher you severed your
[Page 18]
i relationship with Geo Capital, you were then
2 opening a new venture for yourself?
3 AL Yea.
4 O. And were you intending to im the
5 venture invest your own maney or also
6 clients! --
7 A. My cw money.
a . Principally your own or investors’
3 money?
10 A, I'm sorry.
ik Mz. FOLKENFLIK: He jusi answered
12 ihe question.
13 Q. You were pluinning lo imvest your
14 own money in Fingerhut-llolzer Partners?
15 MR. FOLKENFLIK: Aoswer out loud.
16 Don't just shake your head.
17 Q. You have to answer orally se that
18 rie «
19 A. Yes,
20 ©. Now, was it alsa your intent onder
a. Fingerhat-Holzer Parinets lo inveat for other
22 people and guide their --
23 A. Not necessurily.. That was neat my
a4 initial idea, | could have stayed at Geo lor
25 That.
iPage 19] |

©.  Atihe tine thd you were looking

for a partner «=
MR. FOLKENELIK: Objection.

ti.  Atthe time you were setting up lor
your next venture aller Geo --

A. already had a next venture. 1
had Weekly af us Unie, 100.

0, Weekly also. For what particular
purpose were you seltiig apa venture with
Mr. Holzer? What was different from.
Fingerhut-Holver chan fom Weekly?

A. Weekly we didn't ~- this was net
our money in Weekly. Weekly was 4 limited
parlrerzhip. The difference being -- vou know
the difference between an advisory firm and a
purinership.

QQ. ‘Yes.

4A. Sain Weekly we could be both
general partners and ta a certain extont limited
partners. But we were essentially mAbagiog
other people's money alsa in Weekly. In that
cas A was primarily institutional money. :
Actually so was Creo. Tat Pingerhut-Holzer was
fust family monics. :

Q.  Fingerhut-llolver was te be the

[Page 20]
vehicle for the ivestment of your owe Thoney,

A. Correct.

G. Now, did there come a fine wher you
and Mr. Holzer came é an oral agrecment to act
up a firm together? This is belore you sié dawn
with lawyers, did you agree to do huainess
together?

A. Yes.

© Did Mr. Holzer have a simular sum
af money te invest in Mingerhut-Holzer Partiers
as did you?

A. L don't kriow vehat he hacl, but he
certainly gave me the impression that he had
capital, | dido'l ask him the specific number.

Q. And when you agreed to go inte
business together. did the bee of you
subsequently sit dawn with lawyers for the
purpose of drafling a document Lo memerialies
your arrangement?

A. ¥es.

Q, Albright, and do you at this dime
rementber Ube name of the luveyers (ral you sat
down with?

A. T's the same zroup | push
mentioned that! don't remember the name.

{Page 21] ©

 

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(Pages 18 to 21)

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Moo he oe mo Pe oe Rp bs
Wee oO wo Oh wm WM HO

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{7] (Pages 22 to 25)
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MR, FOLKERNDLIK: Well, we had i GG.  Dayat know if that firm on Third
received materials from Manning Multan -- a Avenue in New York in the 30s is StU an
THE WITNESS: That's Kevin. “That's 3 operating er ity’?
his new firm. 4 A. Ethink so. [think so.
AiR. KOLKENELIK: And Fultoi & 5 Q, Now, do you recall if you and
Skinner PA. Pardon me? § tr. Holzer sal down iegether to discuss the
THE WITNESS: That's not the guys 7 arranging of Fingerhot-llolzer Partners?
who set itup. This is the guy from North B A. Ebelieve so.
Carolina whe I've used now for about 12, 13 g G. And was there eventually prepared a
yoars. 10 dooument which anneunved the existence ofa

GQ. Arc vou still doing business with 1 relationship between yourself and Mr. Holzer as
his? oe i2 busivess pitiners?

A. Not the puys who set uy the dure, 13 MR. FOLKENFLIK: Announced?

The firm, These were a different group. ‘This 14 Q. Notannouneed. Created,

isa guy ve used now for just sboul everything 15 Established. )
{'ve dane since 1 don't knew hew long. It'sa ig Mi. POLKLNE LIS: Do you mean was
lays time. i? there an operating agreement?

Q. Manning Fulton & Skinner ig the law 1a @. Well, first, way there a document
firm in North Carolina? 19 that was prepared that indicated an ongoing

ME. POLKENFLIE: Yes. 20 arrangement between yoursel! and Mr, Halzer to
MR, CONWAY: Do we have an address, 21 do business together?
by counsel? 22 A. My agsumption ig yes. “The LIC was
THE WITNESS: He just moved there 23 set up for that reasem.
last week, Te was with Williams & Mullin, Da a4 @. And there was 2 Fingerhut-llolver
you know that firm? 28 Partners LLC. Was chat set up in Delaware or in |
[Page 22] [Page 24]
Q@. No. a New York?
A. He's in Rateigh. 2 A. Howes sel upon Third Avenus, |
MR. FOLKEMPLIK: Ho's in Kalcigh, 3 dort know where the lll it was. Bither onc.
orth Carolina. 4 f think i was-Dekoware actaully.

Q. ‘The gentleman who vou follawed ta 8 Q. Your operating agreement af 2007
Manning, Pullen & Skinner, what was his marc? 6 telers io a Delaware limited linbility company.

A. Kevin Prokke, P-R-A-R-K-F. 7 A. Okay. Good guess, You don't have

Q. fund he was wids che Jaw fin that 8 (bre bow firm here?
set up Fingerluit-Holzer Partners? 9 G,  thelieve Mr. Jlolzer used the name

A. No. Me was the one who 7 have ased 16 of a law fem in his depnsition. [do nol have
for along time. “The guys who sel up that, 7 Li his depositian traiseript wilh toe. Bot he may
don'i remember their names, as I've said 12 have identified it
already. 13 MR. FOLKENFLIK: 1 dan’t believe he

Q. They were also in North Carolina? i4 did. i just rercad it yesterday.

A We. They were on Third Avenue in LS MR, COKWAY: He may not have used
ihe 408. Bat T don’t remember their nance. 16 the name. | remember him saying there was a law
Obviously that was — 17 firta in New York Guat did their work. He may

4). Forgive me just for checking my 18 wot have included the mane.
recends, ig MRE. FOLKENPLIE: That's the law

He we leave a blank in dhe records, 20 firm Mr. Fingerhut is referring to on Third
do you think you'll be able to Jind. the »- 23 Avenue f believe.

A. [should 22 © When a corporation was set up in
INFORMATION REQUESTED TO RE SUPPLIED: | 23 Delaware -~

Law Sir Representing Mingerhut-l lolver 24 A. Tehivk this ts LLC.
Partners 25 G. Wher a limiled lability

[Page 23]

 

 

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a corporation vas sct ap known as Fingerhut-Helzer 1 A. 1 was the one who was the investor.
2 Partners, was there an arrangement [or vach of 2 Q. By using the term “Gnvestor" you
3 you to share in that cnrparation? 3 were the one who picked the investments and
4 MR. FOLRENFLIK: That arrangement 4 devided what sums were to be invested?
5 ig reflected in the operating agreement, Which 3 MR. FOLKUNELEK: Answer out loud. 5
é we've produced to you. 6 A Yes. Yes, yes, yeu.
7 MR, CONWAY: Bated Cotober 23th, 7 G. And what funceion did Mr. Holzer
a SOT. 8 serve?
2 ©. For the period prios to 2007, was % A,  Vinsieally was doing the trading.
10 there aft agreement between the Go of you to 16 @. Now, in the furtherance ofthis
LE share.in the investments and in the protits of iL business, did you open a place of business?
12 Fingerhui-Holzer Partners? 12 A, We had an ollice.
13 A. Lean'ltefl you, 1 dent 13 @. And where was that?
i4 remember. 14 4, The tnitial office was in Citicorp
iS . When you went into business with 18 Coniter.
is Mr. Holzer, what was the arrangement thal you 16 Q. Ib the Citicorp building?
iv understoad to be memmorlalized in the if A. Min-hmin.
1B eorporuliont 18 ©. For how long were you in the
1g MR. FOLKENPLIK: Go abead, 49 Citicorp building?
50 A. Ethink itwas fairly ao A, That's a good question. Long after
21 straightlorward. It was bath of us investing, 21 Fingerhut-Hotzer, but let's see, it was 2004 1
22 and in one way or aniolher, Lilot!, remember a2 guess we wore there, And then [ left. We
23 exactly, sharing the profits. Hut again, this 23 subleased from Park Avenue Equitics.
aa was eusentially a family office, 24 Q. Was thu the premises at 34 Park
a5 G. Naw, by both investing, was the 26 Avenue?
{Page 26} [Page 26]
1 intention thai each of you would produes. the i A. Yes. And they moved in «1 think
2 vame amount of money to invest? 2 they moved in 2006 maybe. 2006, To 149 East
3 A. Nat necessarily. 3 ch Street, just south ef Saks where | leased
4 GQ. Was il understood that cach af you 4 EBACE,
5 would benefit equatly from the goad work of 5 . 1497
6 Pingerhul-Holzer Partners? 6 A. David wasn't there at ihe lime.
2 MR. FOLEKENELIK: What due that. 7 QO. 149 Kast 49th Street?
4 mean? a A. Yes, Lehink Ht was 149, Minbe Hg
% A,  tidon't ancerstand ite. g Hast ik, Beautiful building,
16 MR, FOLKENFLIK: Objection. 10 QQ. Aud that would he aficr
id Q. Would you exch take profits on a ul Mar. Molger's delTiculties.
12 S0/50 basis? 12 A. Hewas gone. Hut ontil that time £
La A. Libink it was basically ondy -- 13 wag al Citicorp,
Ed there were no profits per se that wild he 14 (, Da you recall when you opened the
LS outside ef the monies managed. HW yau sce what 15 promdses al 399 Park Avenue?
16 I'm saying, 16 A. was sometime around that time,
a7 G. Yes, ido. Lf 2004,
ia A. The profits would he a finetion of 18 GO. Now, what was the division of
Lo how muek you had inl. And you should 18 operations between the Citicorp building and 349
2g understand that | was the one whe was the 2o Park Avenue? What did you do in cach place?
ai investor. 21 A, 399 Park was the Citicorp Centes.
22 O, We're jnst ahout to get there, 22 ,  Frn sorry,
a3 Wus there a division of 23 A, ‘ou mean the other ons’?
24 responsibility benween the tac of you in the 24 Yor.
a3 operating of Fingerhut-Holzer Partners? 25 A. Same thing.

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G. What did you de in the teo places?
MR. FOLKENFLIK: They didn't j

MR. FOLKENFLIK: They just moved.

A. Uawaan'l Swe," it was me going io

Avente Equities moved his office tu 140 East

Q. Now, when you'te referring io (he

‘Citivorp bullding and 399 Park Avenue, you'ne

©. And the signage at 399 Fark Averue,

a. LLC. And how large a space was

__ [Page 30]

 

 

MR. FOLKENFLIE: Do you mean to ask

very odd situation. They subleased rom another

From. my perspective, Lonly subleased from Park

1
2
3 don’t belleve, but you ask the wilness. that
4 they had both offiecs sinmullancously.
5 A, No, no, we didn't
5
7 ‘Phey moved their office.
8
3 40th Street when the guy --
if Q. When David lel.
il A. No. When isilk Mayer ran Park
12
13 49th Street. So T went with him. That's all.
i4 Citicorp wanted $125 4 square fool rent,
LS Ridiculous.
ié
i?
18 referring to the same office?
13 A. Yea.
20
2i that was Fingerlut-Holzer Partners?
22 A. Yes.
23 Mit. POLKENELEK: L102
24 A. LL,
25
1 that?
2 A. Goud question. I'd say 2300 square
3 feet, something like that. The aftios im tute.
4 was maybe twice that size, bat we ony accuphed
5 part of that office.
6 O. Mid you have a superior danlfirel?
7 A. [didn't think be was that paad. A
a superior landlord. We subleased.,
& Q.  Subleased {run whworr?
Lo A. Fron Park Avenue Liquities.
a
12 who was Ibe master lessor?
13 0, Yes, that's fine.
14 MR. FOLK ENELIK: Ef you know.
1s A. I don't think it was — this was 4
164
LY group, { don't remember the name of the niher.
ig
19 Avenue Maquities.
20 ®. Do you know if there still exists a
aR leasd fbr Fingerbut-Holzer Partners LLC for that
az space?
24 A. There wasn't a lease when we
24 left ~ when 7 led Citicorp Center,
2% O. AU right, was ghis « hdshake

. [Page 31]

 

 

 

wom a a oh & Ge AP OF

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12

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15
1é
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2d
18
20
21
22
a3
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on ds RO Re

Ow m@ =i m

agreement halween you?

AL Yes.

G. Who wore you shaking Tuaads with?

A. Bill Mayer. In fuet, 1 use his
office pow when LE come te the city. He's moved
agains.

DQ. Now, woutd yen describe the space
thal you denanted af 399 Park Avena? Mow many
aitiees, fle roams, conference reo?

Mi. FOLKENELIK: Lot ine say,

Mr, Canway, Preeagmize that uner the federal
rules the way to respond te questioning that is
ierclevand is to terminate the deposition and
geek a court order, Tut yard lave <

tl. CONAVAY: Not with a guy in
ATiZana.

MR, FOLKENFLIK: You lave requested
the witness to come from aut of town and these
questions have loss than zero ta do with the
clair ist dhs case.

MR. CONAWAY: ‘They dort.

ME, FOLKENFLIK: Ag to what lbe
file racin leaked ltke.

MR. CONWAY: No, ne, the
question --

ipage 42]

 

MR, POLKENFLIK: All of these
questions «

MR. CONWAY: The question is what
did the office lnak like.

MR, POLKENTLIE: And that has zens
te de with the facta at issue in the case. I'm

just mentioning il because (here may come a time |)

when | will terminate the deposition and we'll
Move On,

A. ‘There were three «= basically thres
offices and then like a sooretarial area fora
éouple desks.

And whe were the employees of
Fingerhut-Holzer Pariners LLC?

A. Well, the most important was Jackic
Cohen, who was my seerclary,

Q.  Did-you maintain an office there
for yourself?

A. Thadan office there.

Q. Did Mr. Holger bave an office
there?

A, Ves,

Q. And the third office went lo
Jackie’

A. No. No.

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1 QO. Who : 2 Q. Could you go down that column and
2 A. Jackie was the sverclary. 2. tell us what they are,
3 Q, What was Jackie’s last namie’? a A. Okay. I wish 1 had my glasses:
4 A, Cohen, 4 Q. Do you need a pair of glasses?
5 Q. And who else worked in {hat space? 5 MR, FOLKENEI IK! Do you have a
6 A, David's daughter. 6 better copy?
7 Q. What was her name? 7 MR. CONWAY: No. This is whal-yau
B A. Idon't remember, § dew'l 3 scent us.
9 remember, $ MR. FOLKENFLIK: Yeuh, bul I
‘10 Q. ‘Was the space ~ 10 printed out the same copy J sent to you and its
-11 A. She was 1 guess she was the at legible.
12 secretary, Pm not sure what she did. 12 MR, CONWAY: Do you witil to blow
13 Q. Were there uny other family mymbers 13 this up?
44 that worked there? 14 MR. FOLKENELIK: I can get another
15 A. Yes, one of his. sons worked there. 13 copy.
16 And lim sorry, {had another employee, toa: 16 A. it doean't matter.
49 There was a guy nae Brandon Blum, who was like | 27 Q. Do you need glasses?
18 = atreagurer, . 18 MR, FOLKENFLIK: H's okay,
19 Q. bid Mr. Holzer do bis triding out 19 A. A teal estate investinent in
20 of that office? 20 Jacksonville, CE Technology o-
24 A. Thelieve so. 2a Q.  Who'are Burry/David Partners?
22 Q. And did you spend time at lat 22 MR. FOLKENFLIK: Why dan't we goin]
23 office? 23 order, 4
24 A, Every day. Just sbout. 24 Q. Yes, dosvii the line, what is
25 Q. We've been given a deeurent, Tl 25 Warry/David Partners?
[Page 34] {Page 36]
i ask that It be marked. 1 A, That's probably the general partner
2 (Fingerhut Exhibit2 for 2 nf this investment,
3 identification, Bates.No. BF 07) 3 Q: By Barry/David, is that the two of
4 Q. What exactly is that, siv? 4 you? Barry, you, and David, Mr. Holzer?
5 A. eats ne, IL can't even sve il. 5 A. J would suspect so.
& Obviously the schedule «- the investinent G Q,  elow that?
7 schedule. oo, 7 A.  Docs-that say CE Tech?
B Q. Now, there's a document ~~ are you 8 Q. CL Tech, yes.
9 familiar with that document? 9 A. CE Tech was a technalagy company
10 AL Yes. | | 10 javolved In thiining, And 1 can’t see what
44 Q. What is that document? ai it's «=
12 A. The schedule of investments that we 412 Q. DH Breen Murray Investment.
13s mnade at FH. 13 A.. | don't know what that is.
14 G Aad Fi is Fingerhut-Holzer? 14 MR. FOLKENFLIK: Why don't] get
is A. Yes | 16 another copy, Barty. :
16 Q. Does the leit column indicate the 16 THE WITNESS: Okay.
a7 name of particular investment vehicles that 17 MR. CONWAY: And of course we'll
18 would be under a Fingerlurtolzer untbrella? 18 say nothing in your absence.
19 A. Yes. 19 , (Recéss taken.)
20 GO. Could you indicete any familiarity 20 MR. FOLKENFLIK: Exhibit 3 isa
21 with those investments? 21 cleaner copy of the document that'a been marked |}
22 A. Say that again. 22 that bears production number BF 600007,
a3 Q.  Cauld you indicate any familiarity 23 (Vingerhut Exhibit 3 for i
24 with those investments? 24 identification, Legible Copy of Bates No. BF7) ||
25 A. [have familiarity with all. 25

Q. Wehave replaced exhibit 2 with

\
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as
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23
24
25

 

 

 

 

 

 

 

fixhibit $ which is a larger copy of Exbibit 2. 3 Q. And trom nsading this document, car
Sir, is this adacumerse which would 2 you indicate what type of investments
bove boon kepé in the ordinary opurse of the 3 Fingerhut-Holzer Partners participated in?
business af Fingerhut) lolver Partners? 4 ME. FOLKENFL IK: Ad Knox Lawrones.
&. |wauld suspcet yes. “Phis is just 5 Q. AtKnox Lawranee, yes.
a oprnpilatian of investments. & A. That Fingerhul-Holeer Partners |
© And would ii be part af the 7 helieve ia justa GP piece of the averall
business of Fingerbut partners to keep such a. a fivestment in Knox Lawrenes.
document? 5 Q. Is indivated below that there ig
A. Yes. 20 a letter of credit.
QO. And would such a document be made Li A. Okay.
contem poranenusly wilh dhe infarmation included 2 0, OF STO0,000, How iid)
horein? is Fingerhutel lilver come te be in posacssivn of
MR. FOLRENFLIE: By i4 thet?
“rontemporanecusly with the information," to yor 16 &, Ws agond question. | have no
moan that the document + hat each Cine there i6 ides. We didn’t use a letter of credit. This
ves ure investment, simullancuusly the nember was iL way sommechicg supposedly -- well, you see what
reecrded on the sheet? “) 4e it is,
MR. CONWAY: Not necessarily on 19 Q.  Canyou tell me what if ts, based
this sheet, bul il would have been recorded xo 20 upon the document?
that ft could in time he placed an this sheet. a1 A. Ne
MI. FOLKENFLUK: Why dart you just 22 @,  Yelow that, Lipstate New York Real
pek the witness how thig document was preparcd 23 Estate, Whal is that?
at for vehat purpose. 24 4. What is itor what did [ think it
MR. CONWAY: Gkay, | want to he 28 wast
[Page 38] [Page 40] |
sure iis admissible. i .  ‘Whad cle sae think lied means’?
G. Sir, bow exactly was this -- 2 A. ‘That means investments that we in
Mit, POLKIENEL JK: | vill stipulate 3 theory made in Haverstraw and a number of ailer
to ihe admisyibility of tia decument, 4 apis upsidte i New York,
Q, Sir, how would this document he 5 Q. And below that, Tange Publishing
prepared’? & Corporation.
Sa. POLKENVFEEK: [bow was it 7 A. Thal was a company involved in
préparcd? B website called Yaur Tango about wonsen’s love and
G. How would it be prepared? g relationships.
A, if was compiledus a finetion of 10 &. And was Fingerhut-Holeer making
the Investinent. It probably would have been 44 invesinents in Taig Publishing?
prepared by Brandon Blum. aur treasurer. 12 A. “es.
QO. Continuing down, what is DE Breen ia @. Below thal -
Murray Investment? 14 A. Min the chairresit.
A. I'm not certaia what that is. 15 Q. You're the chairman of Tange?
G, What is Rdu Pund? 16 A.  Men-hinen.
A, lidu Fund was a cormpany invelvedin | 49 Gs Tangs sill ae wctive
educating «= well, education, but basically 1a corporation’?
finaneing student toans lor foreign studtnts in is A. ¥es.
the states. 20 Q. Below that, dhe Waverly, what is
O. Whatis RL? 21 that!
A. KID is Knox Lasvrenee. And its a 22 A. That is coal estate development in
company thal egsentially -- at las Lime at 23 Jacksonville, Or-was.
least was essentially a merchant banker. ‘They 24, Q. Now, in the columns next to it,
owned different types of investments. 25 — intended FP contributions, intended TH

 

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i contrifucions and total eantributians, whal docs 4 compart with? i
2 that mean? a A. ‘Waters Edge was another real estate
3 A. That means that there was a suunther, 3 development; and these are different portions of |
4 a total af $27 million, of which [ had supplied 4 invesinvents al different times in the :
& half and was —- asvuming ihad the other half 5 developinent, |
6 would be supelied hy Holzer. & G, Nev, as we proceed to the second :
7 G. Relow tha, C Campus Carporaliant, 7 column, hese would be the intended i
8 what ix tbat? g contributions by Barry Vingerhut, The third i
g A, ifs novnare, but thal was & 3 column is "Intended David Holzer investment :

10 company involved in education, hasically in 16 contributions." snd in most instances lat is :

ai huilding websites, maintaining websites for a 1a equal, crrract? ;

12 lot of member organizations. ISC Squared, a 12 A, ¥ee. :

13 number af nonprofits. 13 G.  Andihe fourth cullann reflects how :

14 Q. Now, in the culumn that reads £4 niuch was actually paid on the investment by you. i

LS “total investrnents,” it’s indicated 2.3 million, 15 A. You.

16 And apparently cach of you and Mr. Holzer tes 46 OQ. The filih column indicates how much

L? contribute 1,190,000, Ones this documest! iT onthe investment was actually paid by Trav

ig refleet thal cach of you had actually iB Holzer,

19 contributed 1,150,000) -- i9 A, Yes. Nol much.

20 A. No. 20 OQ. And in the investment totals. if

ai @. ta the - 21 I'm eurreet, reading from the document Bary

a2 A. lt shows one advancing a certain 22 Fingerhut had-advanved $19,302.31.

23 partion te Holzer, 43 A”. 19 million’

24 Q. All right, se as we move to the 24 q.  Thal's what it says. Ant] reading

25 next column, “gross total funds by Barry 25 19 tiie

(Page 42] {Page 44]

1 Fingerhut ta David toler." You would have i A. Pr not sure where you're looking
2 advanced 2,812,500, and 2 ai, On the botiom? Sorry.
3 A. Wail aminuic, are you talking 3 Q, $49,302,504, is chat corncet?
A about = that’s Waverly. 4 4. That's whal il says. :
a Q. Exeuse me. ¥ Campus. You would 5 Q. And in the David Holzer column, :
& Kave advanced $490,000, ana the column of “Tavid & $7,385,500 contributed by him. Correct?
7 Fingerhut te 13" contains = 7 MR. FOLKENH (Rs What is the
g A. ‘That's Dravid Holzer. 5 number? :
g G. David Holzer to Barry Pingerliut, $ A. No.

1G that includes neibing, Se does tbat mean that 16 CG. 7,385,400 is the David Holzer :

41 you made the conteibution of $650,011? ib total.

42 A, Yes 12 MR, FOLKENFLIK: Wo ee

13 oO. Anul Mr, Haleer made nothing? 1a Gg. ‘That's by you --

14 A. Correct. 14 A. Tame.

415 ©. And as we look below that at the 15 O. --to you, Okay, voli The

LG inventment Waters Edge — 16 David Holzer cohuen is only $101,000,

17 A. Village Walk lirst. L? A. Correci.

18 Q. ‘Village Walk, what is Village Walk? 18 MR. POLIKENFLIK: That's DH to BF.

19 A, ‘That's another real estate ig Q. The third column. the 1.302.508,

20 development dew in Iacksanvilte, 20 aver and above your contribution. where did the

21 Q. And below that there is Waters Kidpe al rest-of dul mouey come [rom ?

22 inidal investenents, 22 A. It wasn't made,

23 AL Minsehynine, 23 Q. The 19 million wag an intended

24 ©. Waters Edge with a date, Waters a4 inveatment that was not fied, is chat correct?

25 Edge with anther date, Whe do those numbers a5 A. That's what i Jeoks like.

 

 

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L G. And we have your finding of | 1 ‘That would be approximately a 1¢ to 1 ratin to
2 $7,385,500, and Mr. Holzet's funding af 2 your benefit.
a $111 000, correct? 3 A, Wes.
4 A. Theti's what if says. . 4 . Did this constitute s
5 &. ‘The next column is the net total - 5 disappointment fo you’?
& A. Py the way, you skipped one 6 A. Are vou kidding?
7 investinient. 7 Q. No, Ire afraid | have to ask that
8 QO. [did? Which onc? 8 seriously.
% A. Fing. & A. Yes.
16 &. What is Zing? AG O. After the commencement of the
li A, Zing is actually a company called ib Fingerhut-Halzer partnership, did there come a
iz Conlitins Warks, They are & carapany that's 12 fime when if became apparent lo you thar
13 monetized fed coupons, The kind you clip in is Mr. Holzer did not have the funds necessary lo
14 the weekends, 14 be a partner of equal contributions 10 you and
15 G. Now, this document dees tat bear & 15 Fingerhut-Holzer fartners?
16 date. Do you know what year this document would | 6 A. Yea.
1? have bees ernted? Ll? (, And did that conatiterte a did
168 A. was 2007 for sure. becouse vou Le ihat bother you?
ig vauld sce that he latter iavestments are made 1s A. Yas.
20 in Ubal perient, 20 QO. And did you aticmpl lo rectify that
21 @. Now. the Waters falge investments 24 in any way?
22 woe after 2007, 22 Ao Yes.
243 A. Na, They're during 2007. 23 &. How did you attempt to receify HE?
24 Q. During 2007. 34 A, Weil, ifs along story, bull
a5 A. Correet. And Tango also | sée. 25 basically attempted to rectify it by heginning
[Page 46] [Page 48]
i @. Now, proceeding tn the right there 1 an investigation of what was going on with
2 is acolumn identified as."nel total fiends a Mr. Hakeer.
3 advanced by Barry Fingerhut ie David Holzee." 3 © Now. when you say investigation.
4 At the bottam af that coluen the mamber is 4 whl de you mean by (hat?
3 F.2?A S08, 5 A.  T+dvate Investigation.
6 A. ¥es; & G. Did vou rire s privale
4 QQ. And did you consider that an 7 investigator?
# indeltedness by Mr. Holzer to vou? 8 A. Yes
g A. Ym oat certain how to answer that. g Q. Atel wher was that?
16 | would assaine yes, 160 A. Thatcher. | forged the olher guy.
ad GQ. The next column is "net ownership.” 11 MR, FOLKENFLIK: ‘Phatcher
12 The bottom figure iy 17,579,500, How should we 12 Associates.
13 interpret that column’? 13 MR, CONWAY: Why don't we go aff
14 A. Libink ils predly clear the way 14 the record for a second.
15 you should interpret i. ‘The ownership was that 1s (Discussion off the record, )
Lé Liranted the majarity, more than the majority, 16 Q. Sir, after seme ciscussians off ihe
1? just about every penny that was supposedly to be L7 recerd, yaur counsel has pointed out that there
14 supplied by Holzer. 18 isa certificate af cancellation which indicates
is QQ. Now, ihe -- 29 that a Tienited liability company known as
20 A. in additian te my own. 20 Fingerhut-Holzer Partners was incorporaicd on
a2 G. Sure. The HE awnership ai Jane 218i, 2004 in the State of Delaware, Would
22 comtributivns and ihe DH ewnership contributions | 22 you have any reason to disagree with thal?
23 fosult ina differential of about Rita], TF 23 AL Ne.
24 you look al the bation of your column, £7 a4 ©. And in the best of your knowledge,
a8 nullion, and Mr. Eloleer's colunm of $1,700,400, 25 Fingerhut-Holzer Partners LLC was incorparated
_ [Page 47] | [Page 49] |

 

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i in Delaware on ar abort Fune 2041 of 2A,
# A, (f that's whiae it says.
3 O. Were then: other businesses that
4 you and Mr. Holzer hegame involved in?
5 &, Other businesses?
6 MR, POLRENFLIK: Other than what?
7 A. You mean other than
& Q.  Grher than Fingerhut-Holzer
g Parmiers:
1G A. Oh, there may have heen
12 Fingerhut-Holzer Fund or Management ar whatever.
12 ‘These were a lead adines. But 1 was
13 gssenttally alt the same. ‘1 don't think most af
14 ther were wed,
15 The other nares were Fingerhut --
16 are-you familiar with Fingerhutellolaer Mquities,
17 Joe.?
18 A. Na.
13 G. Go you know if there was another
20 company that you and Mr, Holzcr operated which
21 operated under the natne af Fingerhul-Halzee
22 Faquities?
23 AL Na.
24 &. Da you knew alg baginces
as identified as Fingerhut-lalzer, Inc.’
[Page SO]
x A. No.
2 QQ. Are you familiar with a
3 Vingerhut-Holzer. Fund LP?
4 A, ‘that sounds leenilise.
& Q. What was Fingerlunt-[tedzer Mund |.PY
6 AL i's ltkely hat il was a dime that
7 wag initially dome ta be the fund chat would
a comprise Syncunium, which is a>
3 GQ. We'll ect te that. Because you've
io responded in tbat lushion, what is Synconiam?
EL A. What was it.
2 Q. What was it?
13 A. lt was a proposed lined
14 partrership that would invest within the fields
15 of disabilities.
a6 Q. And was that -«
1% A, New lechaclogies.
18 ©. Was that set up in or around 247
15 A. Na, it was leter than bat.
ay Q. Tl was sct up somewhere between
ai 204 and 200K
22 A. Yes, [ think right in the miele,
23 Q. Now, the principal operating entity
24 was FingerhuteHolzer Partners?
28 MR, FOLKENPLIK: You mean for the
[Page 51] !

npmwaAa mM A mR uw eR

RPO BE ORY AE RO fet et tet pet fet fe fete
nom GN eH OD @ wm oe lk eR

yy M ~boa tt & t NR

bt ofthe
im PD

13
14
15
16
i?
14
1G
20
2L
22
23
24
25

LLC?

.  Porthe LLC, yea.

A. Fingerbut-Holzer Partners LLC?

Yes.

A. ‘Yes.

GQ. Now, as one of the business avenues)
ity Pingerhut-Holzer Partners, did you then begin
taking in investments and managing them for :
other people?

A. Mot consciously, no.

Q. Are you aware of any parlies that
vame inte Fingerhut-Halzer as investors?

MR, FOLKENFLIK: As investment
advisces?

MR, CONWAY: Okay, welll use that
lerm.

0). Ag investment advisees,

MR. FOLK ENPLIK: Answer out loud.

A, Ne. Ma, no, 10.

Q. Are you familiar with Mr, and Mrs.
Rapitlo’?

A. bam now.

Q. And during the course ol Ibe
invesirnent lite of Fingerhut-Holzer Partners,
did Mr, and Mrs. Rapillo become clients of that

{Page 52]

 

rirtey?
MI, VOLKENFLIK: Mingerhut-latver
Partners LLC,
Q.  Fingerhul-Holzer Parloers 100,
A. Not thar t wauld define as

. “chen.” There was no foo charged.

OG. How would you define the
relationship between Ningerlud-Holver Partners
and Me. and Mrs. Rapille?

MR. FOLKENFLIK: The LLC.

G ‘Fhe BC,

A. Tabe honest, Pden't know. |
don't know what they were doing there. T know
that there was at invesiment in one of these
investments. Aside fen that, 1 didn't know
ikem,

G. Now, are you fanaa Ghat an
investment of S31),GO0 way made with
Fingerhut-Holger Partners and placed im an
investment vehicle called the Waverly [?

MR. FOLK ENDLIK: Objective.
Misstates facts net in evidence.. Then was
heveran invesimen chal was mle Ihepagh
Fingerhub Holzer Pariners 140) in Waverly. “Phere
was a direct investment in the Waverly,

[Page 53] :

 

 

[14] (Pages 50 to 53)

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sto gy Gr dm dk Bl fet

so 0 ST Gh OP um it ho

BO RP BO ON Re bebo be fet ob ofok ft BE pe
ne We Oe OD wm om ooh pe

not by me. Tsheuld say chat.

Mr. Hotecr?

apectiically about that. investment.

Waverly?

A. Thawe no idea,

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@. Was made through
Fingerhat-Holzer Partners?
A. No

seer iL.

Partners LLC,

individual investors?
AL No.

af the Rapilles for the first dine’?

A. Vingerbwt-Helzer Partners did nat 1 MR. FOLKENFLIK: As apposed to you,
eversce that. That was a direct investmerd that 2 Q. Sir, darly on in ihe investinent in
they made, EH was not under the aegis of a the year 2004 --
Fingerhut-Halzer Partners. There was no fee or 4 A. The investment?
anvthing taken, Or carried inlerest. Al least 5 G. The invesiment that was
& Fingerbut-Holzer Pareners.
Q. Cho you know iC that was arranged by 7 MR. FOLKENELIK: [1's nel —
a GQ Excuse me, correct, JI rephrase
A. E don't know what il was, 9 that.
Cerlainly it was not arranged by mic. Okay? Lo Turing ike periud ~ early in ihe
MR. POLK ENEEER: If by “sreanged” 12 operating of Fingertut-l inlzer Partners, did it
you tnean Mir. Holzer sent subscription 12 become apparent to you that Me. Holzer did not
agreement which your clients testified was 13 bave the assets hat he bad indivated ta you
filled oat wed returned to Poley & Lardner 14 prior to the commencement of FingerhutHalzer
fogcther with a check, it appears accarding to 15 Partners?
your client's desiimony that's what occurred. 16 A. Wa
And T don't recall your asking Mr. | lolver 19 @. When exactly did you learn for the
18 first lime dhat Mr. Fingerhut did not have —
0. Sir, could yeu tell us what you La MER, POLE ENPLIK: Mr, Uolver,
koow about the Rapiilo investoicnt in the aa G. Excuse me, Me. Holzer. |
21 epglogize.
A. What P know is what you just told a2 A. 2607.
me. Ht was a separate investment made by them. | 94 (. You did not realize that at any
Q. Was it made through Me. Holzer? 24 time prior?
25 A. We, Uf you real the dary you'll
{Page 54} [Page 54]
i see.
a GQ. Well, ] mad the diary. as of 2007.
3 Did Mr. Halvor make any contributions «+
Is there a record of funds coring 4 MR. FOLKENF LER: Counsel, oun f
in to Vingerhat-Holzer from the Rapillost & help you-a litte an this? You're using the
A, Not chat I'm aware of f've never 6 word “negete.” Assels means u tot of things,
7 hut it doesn't necessarily mean liquid cash
ME. FOLKENILIK: Couisel, you hive 8 MR. CONWAY: Lunderstand, We'll
a copy of the check so we know who the check 3 deal with that.
went to. And it didn’t go to Pinwertut-Helzer it @ New, sir, you've indicated that by
Ei 2007 your contributions to the Fingerbutllealzer
GO. Nons, are vou aware et any inne 12 asscis was 10 times that of Mr. Holzer,
prior to 2008 that Mr. Holzer was dealing with 12 A. Actually, tt wus mare thar: 1
a4 times.
a5 @. More than [bh times. How much
@. When did you learn of the identity 416 preater would it have been’?
a? A. Well, it's onthe sheel right
A. (think you culled the office afler ig there. 7 plus million versus whatever the
ibe Investment went sour or something, [in not ig heitabers that he has.
really gure, bul it wasi't -- il wag ecly afier 20 OW, 1 EO006,
ihe fact that J remember anything with Rapilio, 21 A. That's a gtretoh, 710,
MR. POLEENFLIK: The revard should | 22 Q, Allright, he may not have
reflect that when the witness used the ward 23 contributed [10,0007
“you" he was looking at Heidi Rantilo. 24 A. There's a whatchamacallit, a
MR. CONWAY: As apposed to me, 45 £50,000 note here. | deu'l know wliat Liat fs,

[Page 53] :

 

[15] (Pages 54 to 57}

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[16] (Pages 58 to 61)
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i G, So if le only eontribated 111,000, i Upstate New York properties and the purpose af :
a that effectively made Mr. Holzer 4 z the invesiment -- the purpose of each
2 non-eentributor te Fingechutel later Partners, 3 investment.
4 eorrect? A A. Well, at least 1 thought ih wees.
5 A. ‘Weil, that + 8 Mit. FOLK ENFLIR: The claimed
6 MR. FOLKENELIR: To the asscts. 6 purpasge is probably a better way lo pul ih.
3 G, ‘To ihe assets, 7 G. Nowy, you're talking IM G00023?
8 A. To the assets, yes. 8 MR, FOLKENFLIK: BY’.
9 Q. Now, ihat would have boon g A. This is what it looks like.
16 noticeable to you in 2004, 20015, 2006 wel 2007. iQ Why don't we lake 3.
il A. Not truc. Because the majority of hi MR. CONWAY: Sure.
12 the investments were made in 2007, And iz (Revess taken.)
13 actually, there was.a lot that he would stale 13 (Fingerhot Exhibit 4 for
14 that he already had invested tat he was going aa identification, Rates Na. K-1}
15 iw put in, which was sone of thal real veiale 15 B MR. CONWAY:
16 picec there. 16 G. Sir, could you identify that as --
L? Q. Allright, now, the jssue of ehe i? this is -- could you identity Exhibit 4?
18 real astate, did vou use a hefas for-that within 18 A. Looks tike a K-1 io me.
12 the fire? 15 Q. And was that K-! sent pursuant Wo
20 MR, FOLKENFLIK: Gy the real estate 20 ihe cover lelter tat is the lace page of
ay you mean the Upstate New York -- 21 Exbihit 4 by Fingorbut-Helzer Partners to the
22 ©, The Upstate New York real estate, 22 — Rapilla [amily indicating that this is your K-1
aa What was that intended to be? What did you call | 24 for 20057
24 it? Did you call it the Suffern investment, did 24 A, ‘That's what if SHY S-
a5 you call it the New York State investinene? What 25 Q. Atl right, and if you would flip
[Page 56] [Page 60]
1 woukd you call il? 1 the Kel. would you identity the address of the
2 A. ident know, Are you looking for 2 Waverly investment,
3 a here? 3 AL Yes, okey.
4 Q. Yes. 4 @. Would you indicate that for the
5 A. Lean’ know, 5 regord, plaase,
6 &. How did you refer to i1 wher yOu 6 A. t's the address 304 Park.
7 were with — 7 Andon the cover letter at the
B A. Well, they were different pleces or 8 fuce, what is the addresz af Fingerhul-lalese
g properly. 3 Pariners'?
%D G. What was che nature of the 10 A. Same one.
BL igvestment? 11 Q. All right, se could you say, si,
412 A. th wag real estale development. 12 that there was a business relalinnahip between
is Q. And haw was that develnpment to 12 —_‘Fingerhut-Molzer Partners and the Raptllo family
14 secur? Did you have to accumulate the property 14 that existed at least as regards the Waverly
L& first, did you have to make purchase of the 15 ineegtment?
Le property? Did the properly exist as 4 whole? 16 MIR. VOLKENTLIC: Objection as to
a A. (think it was a function of the 17 form. | don’t know what “business relationship"
18 plees that we owned. Ag an cxample, Haverstraw | 16 ig.
13 was a property that was purchased and ther -- 19 ©, Vil phrase it again, Was there
20 well, | thought it was being purchased and then ao business relationship as reflected in those
21 developed. ai deeuments bebweon Fingerhui-Holer Parleers anu
a2 MR. FOLKENFLIK: And counsel, it 2g ihe Rapiitle family?
24 might help to lonk at che document we've . 23 MIL. FOLKENELIX: Objection as to
24 produced bearing production number BF M0083, 24 fri, Counsel, are you aware of the
25 — which isa schedule of investments in the 25  pelationship hetween Fingerhut-Holzer Partners
|
[Page 99} | {Page 61}

 

Wertman

 

 

 

 

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eM tN Me Pe ee
rsd Whee © Ms mH

ipo am ti em te he he

MM PM MM RR RB Re Rp
oe NH oS 1 © am i ob Ww he

 

[17] (Pages 62 to 65)
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LLC and Fingerhut-Holzer the Waverly? 1 of an investment possibility for yourself and
MR, CONWAY: Yes, Datn. [nt felly 2 for Fingerhut-Holzer in property in Haverstraw?
farniliar veith it. 3 4, Property in Haverstraw? | don't
wR, TOLRENFLIE: Itwas the 4 knewar you'd have te lank om the shect thal shows
managing menrber, 5 the tiining of these properties.
ME. CONWAY: Sim fully familar 6 Mi. POLKENPLIK: Counsel, 1 de note
with i G that your client never purported to have
Mit. FOLK ENELIK: Hyon sat 10 ask 8 avested in property in Haverstraw.
precisely about that, your question will make $ MR. CONWAY: Yes, my lent did
RENSE. - 20 rol.
O. First, sir, da you identity the aa QO. Sir, dy you know if K-is were
cover lefiur as being from Fingerhut-Holzet 12 issued to the Rapillos in 2003, 306, 20077
Dagtwers!? a3 A. Td have te ask Brandon,
A. Yes. 14 Q, Did there come a ime when relative
Q. And that a K-1 was issued from is te the Waverly investment you had a phone call
Fingerhutel lolver Pariuers concerning an 16 wilh Heidi Rupilly concerning ahiilivnal needs
invesiment wilvin the Fingerhut-Holzer family of 17 for investmanis in order to sustain that
businesses. ia business opportunity?
AL Yap. 1a A. only remember a phone call, |
GQ. And were Mr. And Mrs. Rapille 20 dant rerember the reagan.
investors in thal invesiment? 2t Q. Now, why would you have called?
A, [suspect so, E dan’ see any fee a2 A. Ididi’t. T believe it was Heidi
or anything like that. This means nothing to 23 calling 1s.
me, 24 MR. POLEENFLIK: (think that was
©. Weil 25 the leslimuny earlier. As well as the jesliviony
[Page 62] [Page 64]
A. Woe didn't charge them for this. | 2 by vour clienL
mean, | don't kiow wheal it bs. 2 QO. Did vou have a conversation with
Q. Whether or not they were charged 3 the Ranillos in which you made a request af
anything vould be Mr. Holzer's uption, wanted Ut 4 additional funds necessary for the Waverly |
nat? 5 investnyent’?
MR, FOLKENELEK: Objection as to 6 A. think that was discussed on that
form, 7 call, And [ believe H was a capital call for
A, Edou'l knew. 8 all investors,
©. TH phrase another way, 5 G. And did you make any indication if
A. Tkweuld aot be ~- 1 mean, anybody 16 there was further contribution hy the Rapillas,
could invest this way, ar we could always do a id thal you would zere out their investments?
K-1 for them. But it has nothing to do with 12 A, No, Why would f do that? Tf there
partnership -- or a client position. 13 was no further investment, lhen we would wipe
Q. Well, we'll allaw the courts to id mut the initial Investment? fs that what you
determine what H awans, 15 sak?
Rk. FOLKENFLIE: The documents in 16 o. Yes.
question determine what it means. 17 A. Na.
MR. CONWAY: Yes, exactly. 18 Now, what was --
MR. FOLKENFLIE: Aid they make it is A. That's pretty tough.
clear that the Rapiling ave not clicnts of the 20 O. What was the investment-in gpstate
managing member of the LLC -- othe LE. The Bt properties ta be? What was the intended
Rapillos an investora inthe LE. The managing 22 investment?
member has certain abligalions ta send aul 23 A. Didn't I just answer that?
documents on behalf ofthe LP. 24 Q. Forgive me, could ] ask you apaln.
0. Now, sir, when did yuu become aware 25 A. HRowas land development in

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|

 

 

 

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4 different spots upstate. Well, 1 mean, in
2 whatever the counly serosa lhe river.
3 (}. What was io be cleveloped? A mall,
4 a swimming pool, a hetcl?
5 A. Ethietk 4 depended on the spot.
6 Q. Were the plats af land. cantiguons?
7 A. No. Why dem't you take a nok at
8 that sheet,
a ©. Sure, that's fine.
10 MR, POLKENFLIK: Did you find it?
il Mi. CONWAY: [had it here a secand
42 ago umidst everything clse | had.
13 MR, TOLEENFLIK: De you want me to
14 make a copy and you'll mark ic? As 1 say, it's
15 number 23 in thé production numbers.
16 QO. Having directed me to it, Thad i
7 and now F don’t have it. So fl emuld ask you
16 to hake an addilional copy, I'd appreciate it.
168 (Fingerhut Exhibit 5 for
29 identification, Hates No. BV 235
ai MR. FOLKENFLIK: The witness docs
22 net have in front of bins Exhibit 5.
23 ME. CONWAY: Well, I'd Hike he and
24 T lo be on the same page.
25 ME, FOLKENFLIK: Why don't you lake
[Page 66]
i a louk at dhe exhibit and then hand it to hie.
2 GQ. Sir, would vou consider yoursell 4
3 skilled investor!
4 A. That's a tricky question. 1 woald
5 suppise sa, Certpirily in equities.
6 QO, Now, adecument has been presented
7 by your counsel identified as -- it's Bates
B stamped BP OO0023, What doce ihis purport to
g be, sir’?
10 A. This is a series of Investments int
Lt properties upstate, Should | have known
12 ahrut +
13 MR, FOLK ENFLAR: Wait until he asks
id 8 question.
15 OG. Wait lor me.
16 Now. sir, these indicate a series
iL? af'-- docg this indicate a scrics of Land
is purebrases in Haversiraw, New York, Beacon, New
18 York and Newhurgh, New York?
20 A. Yes. Monricclin too, it looks
21 stk.
22 AUR. FOLK ENELIR: And Wyack.
23 G. Who was supposed to be purchasing
24 these?
25 A. Who was supposed ta he purchasing
(Page 67]

 

 

 

 

9 0 ~) oh Ui & Lo RP

NMNNMN PPP RP BP ee ee
GMs Ow Mm ink a Ro

24,

a
im

Oh wd chun me ut he et

RPM AME AH PP Pe Pe ee
Bre WM eM oO OAH in & ee Oo

 

these,

Q. Yes. Who was the qaischaser for
value? :

A, We were palticipating in a purchase
that Holzer was-participating wilh another
aroup. ‘This was buying a piece of his share.

Q. Now, what did Mr. Holzer say to you
about this particular investment group?

A, Esall in the diary, if you would
look at it.

OQ. We'll get lo the diary. Are you
familiar with the name Daniel Katz?

S.  Eknow the name. 1 don't know who
il fs.

Q. Are you familiar with the -

A. Case?

G. Katz, K-A-T-4.

Are you familiar with the same

Jeftkey Schwartz?

A, ft sounds like a celative. No, |
dow'tknow,

(Were these two parties identified
by Mr. Holzer as his lellow investors in the
Haverstraw investment?

4. You know, | think so. bet again.

 

{Page 68]

 

you'd have io look al the noies, [t's in there,
whatever the names are. :

QO. We'll get to the notes.

A.  Urkay.

Q. And did you adyance tu nds foe
Mv. Holzer to make purchase of his partion of an
investment in real estate properlies upstate?

AL ¥os.

Q. And Jor how long did you conlinue
doin this?

A. Tf-von look on this charl, i woes
fecnrs "2 te 703, ‘

GQ. And i

A,  Txcuge mie, 06. :

O. And did you make a series of
invesimenis in this proves? :

AL Yer.

G.. Naw, bow were those funds
transferred by yau?

A. To Holeer,

Mi. POLKENPLEK: You mean did he

weite a check Gr wire Ue finds?

@. Yor

AL Yes.

0. How was it transforred? By check

 

 

 

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i ar wire? i {1/19/07 ts an investigation by whom?
2 A. Lihtnk prisnarily wire. 2 A. Pden't know what the document is. ‘
3 Q. To what accnune? 3 You have to ghey re. ;
4 4. ‘To Huleer's aceuunl 4 This is the Thateher Asanciaies - :
5 ©. To llalzer individually? 5 ME. POLKENELIEK: Why don't you mark
6 A, Yes. 6 a copy af the dacument.
F G. Ani in deing sa. did you have any T MR- CONWAY: We have an ontire
& record of that ~ recand af your teansiee to & document here, we'll make thal 6.
3 Mr. Holzer? g A. ‘That includes the diary.
410 A. Ves, 16 {Fingerhut Exhibit & for
1i Q. What was the record’? ai hlenifieation, Fetes Ne. BF 25 thireugh 46)
12 A. ‘Wire transfers. 12 ME. FOLKENFLIK: Jd like to note |
13 Q, Was that the anly record? 13 for Ibe record that Exhibit 6, first of all, (he
14 AC Yes. 14 copy that's marked ts copy which inclades
15 G. And for how long did you po en 15 acetions that are apparently inadvertently
16 making payments ov this invesinent? 16 redaciud because there were stickers placed on
47? A. Ig right here on de chart. 1? them,
148 Nepending on ihe inveslment made, in some cases 18 Mik. CONWAY: ‘That's my copy.
19 itwent on fora year for Maversianw, T mean, ig MR. FOLKENFLIK: Well, i's 9
26 yeu can break it down here. Bot basically from 20 copy +
21 2002 to 2006, depending on the prapertics, 21 THE WITNESS: What is the sticker?
22 ©. Aad did you at any Tine ask to see 22 Mk. FOLKENFLIK: These med —
a3 documents of title memorializing the purchase? 23 TEL WITNESS: T yniferstand. But
aa &, No. Bull did see plans, al least 24 what's it for?
25 initial investment plang in Haverstraw and | 45 MR. FOLKENFLIK: Just ke mark the
[Page 70] (Page 72]
i helleve in ivionticello. i sheet. Se 1 think we need la mark a clean capy
2 O. And what was tw be developed? 2 af this document. Do yeu have a clean copy?
3 A. ‘The land was going to be developed, 3 MR, CONWAY: [didn't notice that
4 both in shopping arcas, shoppieig malls. 4 when { ve-produced it. I'm sure I did
5 @. ‘The documents that you say, the 5 everything, Do we have a clean copy?
& plans, who produced then? 6 MR. FOLKENFIIE: [can get a clean
% A. David, 7 copy, How muck longer do you anticipate?
8 Q. By producing then you mean he 8 MR. CONWAY: Certainly past lunch.
9 showed them to you? 3 ME, TOLKENFLIK: You're going ta
1a A. Showed therm ta me. io break for lunch’?
di QO. Who was the producer of them’? AL MR, CONWAY): I don’t nved te. :
12 A, I don'tknow, An architect. 12 MR. KOLICENELIK: How much fongee? |
za Q. Do you still have copics of those? 13 MR. CONWAY: Right now I woukl :
14 A. Ne. 14 gsess probaldy HEL. Best guess,
13 ©. Do yeu know what happened to what | 15 MR. FOLKENFLIK: Do you want to
16 itis that David showed you? 16 break or bunch? :
i? A. No. They're obviously fraudutent. 1% THE WITNRSS: Sure. :
18 0 Okay? 1a MR. FOLKENFLIK: Pit make
13 Q. When did you come to realize 1% arrangements for that, and why don't we luke a
20 that -- Tl withdraw that. 20 few minites and [ll get @ document that we can
2 A. 2007, 22 ase ag an exhihit.
22 OQ. len withdrawing the question. 22 (Recess taken}
aa Sir, in the decument which we will 23 (Fingerhut Exhibit 7 for
a4 identify ~ | suppose we should identify ft a4 identification, Bales No. RU 25 thraugh 46}
25 right now. The documents dated TA draft 2& BY ME. CONWAY:
[Page 71) [Page 73) |
6197 “(pages 70 to 73)
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W Dw -2 om we me ta By be

ee a ee
In mk Ww MH Oo Dm RP A om tm we eM He

|

wa fe «lt gh Ui om oF Ao HM

BS ORF PO fF OB A RE er pet fet RA PR RE Re Be pe
ne WN eH OD O&A mm & Wh ee

 

 

DOON23.

examination, air.

A. Fes,

Fingerhut-Holzer.

| Yes,

 

through BE 3E.

AL Yes,

started on 00036,

Associules.
lec.

COMLNGE OTL,

@. Sir, wanted you inke 6 look at i wilh inserts that are marked “diary.”
what's heen marked as 1A draft | VLSfO7, OF / 3g AL | Yes,
4 @), Andthose diary notes are yours.
MR. FOLEENEPLIK: Yes, before you 4 A, Correct.
question the witness, it goes through BF DONt46, 5 GQ. Dictated by yon or typed hy yeu?
and lhis ig nal one document: il was. composite é A. Carrect.
af several dacuments, And confinue ath yout 7 Q. They are of your origin.
a A, Correct.
Q. Sie. would you tell us -- have you 4 4. And the inserts that were created
sech this document before? 10 as a result of Ibe dilliculies al ihe firey?
11 AL Yer.
@. And whal is this? 12 @. And are the contents of these diary
AL There's two pieces, One is a diary 13 nofes rue, as-besl you know?
that I wrete, which is the second onc. The 14 A. As beat | know.
first is [ believe a. compilation (rom Thatcher, 15 (Amd did you crente these Lor the
f. Thatcher Associates. 16 purpese of the investigation in the isiness?
4A,  Tixcuse me, Thatcher Associates 1? A. You, but it was alea for my own
regarding the whole sicuatian with 18 keeping.
1g @. And was this intended to he made
@. Is this a document that you caused 20 part of the business record of Fingcrhut-Holzcr
to have prepared having approuched Thateher and | 24 Partners?
asking for an investigation inta Mr. | lalzer? 22 A, ‘That was one of the puepnses.
23 ©. And have these diary notes been :
Q. And this would tre — 24 kent by Fingerhul-Holzer through the present and i
A. At least the first part. Page Eto 25 yeni =~
iPegqe 74] [Paga 76]
i A. There is no Fingerhut-Holzer
@. And this serurred ~ 2 any nore,
MR, POLKENFLAIK: Just for the a ©. To the end of the existence of
record, | to means the pages marked 14h 25 4 Fingerhat-llolwer these were held.
5 A, ¥es.
And this is datad (/1S/07, So it 6 @. Now, sir, in that an page 00030
would be the latter part of 2007. 7 there are a serics af investments made by you in
a ihe Haversiraw properly, correct?
@. Aud adding thercutter is a scrics 9 A. es. [think it's the same as
of diary -- is a document called “a timeline ol 10 his, right?
events” en page (00032. ii ME. FOLRENPEIK: [fsa different
A. | |" sosry, § believe that's 12 sthedule, but --
actually alse part aftheie work. What l-wrate 13 A. ‘The same rembers.
14 Q. Samething. And on cach of the
ME, FOLEENPLIK: Can [just point 15 inserts reflected here itis intended to
oul one thing to the witness? You notice Ht ié mivmorialize that you issued funds Irom your
uses the first person, “— purchased one half of aq persanal wealth to David Holzer far the purchase
Taavid’s interest." Paragraph 1. So i may be i8 of these properties.
something you peenared. Kather than ‘Thatcher ia A. ‘Tha’s correct,
20 GQ. And was there any Lype of business
THE WITNESS: Idenithnow, mayhe? © 22 record other than the transfer memorializing an
22 arrangement between yvourscl famed Mr, Holger for :
MR. FOLEENELIK: tn any event, 23 the future sale af these properties?
BA A, Ne.
©. And sir, this cantinnes thereafter 25 & When these properties were

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[20] (Pages 74 to 77}

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is transferred -+ excuse me, when the funds wene 1 don't remember, I's in the diary.
2 transferred and properties were allegedly 2 © Yes, it's in thealiary, Do you
3 purchased, did you become a participating owner 3 have any recollection of the name of the
A in the dacument of tifle’? 4 prospective purchaser?
5 A. Wa. 5 A.D dient.
a MRE. FOLKENFLIK: Counsel, 5 & Are the contents of the Thatcher
4 objection. "There was no document. 7 document current?
8 ME. CONWAY: Well. they wore B AL ‘Phe contents af che Thatehor
9 indended 40 be fur purchases of properly. 9 document. Ag far as] know, yes.
9 Q. Correct? 10 ME. CONWAY: Counsel, for
Ad A. They were intended te be his it evidentiary purposes, thece's no point in my
iz investonent in purchases af praperty. 12 sending al! of this. Could we slipulate hat
13 gj}. Did be tell you he had partners in 13 the contents of this docuinent are hased upon
14 this? 14 information givon io ‘Phatcher by Mr. Fingerhut
15 AL ¥es, iS ag are (hye epntenty af his diaries?
16 &}.  OHd he indicaté te you what 16 A. Ne, as rot true.
17 percentage of purines he was? Ll? MR. FOLKENFLIK: No,
18 A. Thelieve he said a third, 1a A. Ue ahead,
if Q. So that cach of these contributions 1a MR LOLKENFLEIK: We couldn't
20 of capital would have been followed by two other | 20 stipulate that the Thaicher investigation wes an
21 cantribntions im equal measure by ike parties he al investigation, Same information might have carte
22 identificd ss Jeffrey Daniel Katz and Jeffrey 22 from Mr. Vingerbet ~
23 Schwartz? 23 A. Correct.
24 ME. FOLKUNILIK: Objection as lo a4 MR, FOLEENFLIE: -- some
25 form. Its not clear at all, hut you can 25 information might have cane fram elsowhere.
[Page 76] [Page 80]
i eslablish if you care io the order of events. i Mr. Pingerhut's diaries arc bis understanding of
2 For all we know based on your questioning thus 2 what cectutred when a invelved directly him.
3 far, the purchase could have bocn made years 3 That would be first persan understanding. but it
4 earlier and this could have been funding 4 alse invalyed heatsay be oblained fran other
&  . Mr. Holzer’s participation ar some ther event. 5 neaple, including the ‘Thatcher people and
é G. In your discussions with 6 alatements by David Holeer ihet we know are not
7 Mr. Holzer, what was i¢ did you believe he was t truc, but in all events were licarsay.
8 doing with these funds! 8 What we van say is ital ihe
a A. PT think it depended on the 3 Thatcher draft is a draft prepared by Thatcher
16 properties, Dut i was whal [ve been sxying, an as a resull of their investigation, which
ai iL was for purpase and develapment of these il included conversations with Mr. Fingerhut. And
i2 properties. a2 hen Mr. Fingerbut's diarics are Mr. Fingerhut's
a3 Q And was there supposed to he a 13 recollection goatemporameously with the date on
14 raster buyer af the end of this program? i4 the diary of what eccurred and whal information
15 A. There's ne such thing as a master Ls he had geceived at thaldimne, which includad
16 buyer. Was there a buyer of part of the 16 both third party hearsay information acd
17 propertics mayhe at same time, yes. 1? ‘information he was personally aware of.
Le G. Was there intended ta be a buyer af 1a Mit. CONWAY: Would you stipulate te
18 these properties? 19 the admissibifity of the Thatcher document?
20 A.  Edurft think il was done exautly 26 A. Vdstipulate ta ies admissibility
21 that way. ‘There was -- § was told at one poind ak as a document created by Thatcher draft, created
42 that there was a buyer, 22 by Thatcher & Associates which was ittendad io
23 @. Did he indicate ta you who the a3 reflect the result of their iivestigation,
a4 buyer was? 24 MR. CONWAY: And vou avould
25 A. | believe he might have, Tut & as certainly stigulme to the admissibility of the

 

 

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18
is
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Ze
2a
a4
25

 

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Gary notes as being Mr. Fingerbut's own
receflections af evenls for those particular
times’? And as be indicated, ag he drafted,

MR. FOLK ENPLIK: L would stipulate
in the adswissibility of the diary entries ag
diary entries which reflected Me. Iingerhut's
undersiardding contemporancously with the date on
each diary, but the (acd (hal be vas either
personally aware of in sone cases and had
widerstaod from ather sourocs In other cases.

OQ. Sir, why would yen have extended
maoncy to Mr. Holzer instead of extending money
40 Fisigerhul-Folzer Partners?

A. Fingerhut falzer Partners?

G@ Yes.

A. lt was oy understuneling that il
wasr't going to be dene that way. Louk, Fear
tell you right now this was all a-big mistake
that this hanpened, thal] ditt ié all
incorrectly. lt be the first to say that. It
didn't go through Fingerhut-Holzer Parincrs.
‘There was no issue about doing thal. This was
soncthing that preceded Fingerhut-[falzer
Partners. T¢ started in 2002.

ME, POLEENFLIE: And just sothe

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record’s clear, i think the question intended,.
anid T hetieve the answer intended to refer to be
fust redeering te the paytents of finds as
reflected on BE BOOGIE.

A. ¥es, Uthink that's what you're
talking olor.

Yes.

MR. FOLKENFLIK: And there arc
other dnsnslers of Curls on OO003 | which are
indicated not to be-involving these. properties.
The payment of money to Mr. blolzer of 31,062,000
that are identified ay “Floleer personal.”

MR. CONWAY: Ore iaioa b?

MR, POLKENFLIK: 31. Which appears
Lex bus --

ME. CONWAY: The 2405 aral lhe ARS?

MR. FOLKENELIK: Yes.

G. Now, the initial transfer of finds
by you ciminenced am Murch 27th, 2002 with the
trausver of $62,500. And that was trauslerved
to Mr, Holzer, entreet?

A. Correct.

Q@. Now, you two lad it set nig
Fingerhia-Holeer Partners al thal lime, bad you?

A. No.

 

 

 

NM MON MOM RH BP BB be be be
om Woh ef @ i -O ooh GF om be NR Oo

Me Bo RR OBO ORR OB bo RY Bt OR be be pe pt pe be /
ew Me ee Oa ne be Oe Op om am i em ww he

engaged at another firm at the Hine.

®. And Me, Fingerhut was ahgaged --
S48. POLE ENT TK: Mr. Holzer.

Q.  lapologize.

A, fits all right.

0. Preolusely. Me. Holzer was still

A. Yes.

G, So the original discussions b
converning the purchase of Haverstraw predate :
FingerhubHolzer Partners.

A. ‘That's correct.

QO. And when you were discussing this.
did it accur te you to ask whe the investor was
who would buy this after the properties were
accumulated?

A. Na.

G. Did it orcur to yous to create an
arringerent between.=-

A. fy the way, | should just say that
Fe never heard of anybody investing that way,
People can say thal they do, but that is not a
condition on purchasing this, T mvcea if
somebody comes along, great, That tsn't the
reason the investments made.

MR. FOLKENFLIK: Just to clarify

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the record, "that" meaning that there's «
purchaser identified in advance.
THE WITNESS: Right.

9, Yes. You purchase property hoping
io transfer ff 10 someone later or use
yourself,

A. Could be.

Q. Now, what was ft char you were
purchasing with cach of these? :

MR. FOLKENPLIK: Objection. Asked |
and answered.

G@. De you know whal you were = were
you purchasing bare land, wert you purchasing
farmland? Were you purchasing dilapidated
structures, ole! houses?

4. Its on this sheet, Eve alronly
told you ahout five dimes what I've been
purchasing on each picee of property, ‘This is
the other sheet, whatever it is. No, nag this
ane here. Exhibit number 4.

G Yes. but this decument doesn't -

MR. FOLKENELIK: ‘This doesn reler
to these.

GO. This document doesn'l indicate what
iL was you were hiding, lt just indicates thai

 

 

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[22] (Pages 82 to 85)

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4 you bought something. i there were subscquent pinces.
2 MR. POLEENFLIE: Wilh all respect. 2 QQ. Wis there a reno that you diel nt
3 dir, what curibly difference does it ake if 3 create documentary intent for the use of the
4 they had a sack of straw with ihe Taj Mahal on 4 funds that you transferred to Mr. Holzer? '
a the piece of land he purchased in Haverstraw te 5 MR, FOLKENFLIK: You meat
8 your client's casa, which has zero to-do.wilh 6 documentary intent meaning that he wente
7 Haversicaw? 4 something on a pices of paper?
B Miz. CONWAY: My client's case has: B Q. Wrote something to say this is what
a io de with the relationship between g we're going to de with the money.
La Mr. Fingerhut and Mr. Holzer, 10 A.  Would-you repeat that, plense?
ii ME. FOLKENELIK: No il docan'L: Tt a4 G. Youasked meio say why lice’ your
12 doesn't have te do with the fact of whether they | 22 create a documentary history. ‘What did vou mean
14 wert OUL ta eat-and whit they ordered. Et has 43 by that?
14 to do with some aspect of the relationship that aa A. fn the relaticnstiigs that I've had
is you may think gives yousome sight. So inquire / 18 in Geo Capital, my other partners, we heive
26 about that aspect of the relationship. 416 _ invested like this in uach other's deuly for!
Lt Q. Now, sir, at any time inthe a7 gucss new AF plus years. “No dacumentation. A
48 transfer of $12 qilllion, did you create a 18 vory heavy reliance on trust with cach ather.
is cocument beGveen yourself und My. Holzer 44 Sony, inthe ease of my parttiers in
20 concerning the nature of that Hatisfer? 20 Geo Capital and in Weekly, it's never been an
ai A, No. 21 issue, And it's beenon both sides. I've done
22 Q. Atany time « 22 ihe suene wilh them saying I'm investing in X,
23 Ai Ak me why 1 didi. 23 wand you like ta come ins, and they aay yes oF
24 Q. We'll get there, We'll get there. 24 nw. That was it, And them asking mo.
25 A. Okay, All righ. 25 @. During the perioal thal youd were
[Page 86} [Page 88]
i QO.  Atany time did you view any of L investing with Mr, Haiver, with Mr. llaiaer
2 these properties? z essentially contributing nothing + /
3 A. Yes. 3 A, Walt, wait, | didn't know that. |
4 @. And when you viewed them. what did 4 didn’t kaow that he -was contributing nothing.
a you sce? 5 © When dic you learn for the first
& A. 1 sai land, 6 time \
t Q. What type of land? 7 A 2007, .
8 A. Lard thal was going tobe 8 Q. bat before? :
3 purchased. 3 A. Na. You can’t tell trom tat, All
in QO. And what was on thai land? 2G that is, is monics invested, a picee of hint. # :
a4 A. Cirass, BL didis't know thal he wasn't pulting his owr money |
12 Q. Just grass. 120 in i
13 A. Yes. Well, there was a pier in 13 MR. FOLKENFLIK: The record should
14 aries, 14 reflect that the word “that was referring ta
15 &. Ariel was there intended ty be a as ihe ducument on BPA) and -- BF 30.
L& jotal fond necessary for the purchase ofthese. 16 Q. HE 25.
1% properties’? 47 MR. FOLKENFLIK: BF 23. a0. It's
18 A. [ don't. understand. 1a page BE 3b in Uxbibit 7,
13 MR, FOLEBNIFLIK: Was there wdollar | 19 Q. During the time that you were
20 amount that was cstablished that had to be 20  —- warking with Mr. (foley, did Mr, alzer bring
21 obtained’? ai any funds in-exweas of BE11,G00 into the
22 O. Yes. Mr. Holzcr was a ane-third 22 Fingerhut-lalzer organization?
23 participator, correas? aa MR. FOLKENFLIK: LLC,
a4 A. Well, that's not correct but that's 24 GO PL.
25 what [ thought, Ne. clearly wasn't because 25 A. Whal dees that chert show?
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[23] (Pages 86 to 89)

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i MR. FOLKENELIK: By the chart he's i know whal his persunal neuds were, Did | pay
a relerting lo a work product f created front the 2 imeeles
3 affidavit subnidted by the disteivt ultemey io 3 GQ. Did you lend him manies?
4 the court in connection with the Iolzer erieninal 4 A. Taid [pay monies le supparl ihe
5 conviction and restilution order.. And that 5 rené and the averhead, yes, Tut there were
6 affidavit & paris in whatever these two years were that he
7 MR. CONWAY: Is thatthe one that 7 iil.
8 was identified rere? 8 Q. Did you give-any personal funds to
5 aR. POLIEENELIK: No. That 2 Me, Holzer dircetly foe his own-persanal
10 alTidevit which you obtained from tie district 19 expenses?
1a attorney's atfies and was produced by you to me ii AL Ttmay have ended up that way. Gut
2 shows a scrics of funds heing contributed to 12 that was not the idea. :
i3 Viegethet-Holzer Parinors LLC in small anvounts. | 13 ME. FOLEENELIK: Maybe you wart ta [
i4 apparently for operating expense of 14 bring the witness’ attention and clarify what :
—~~--+—15__~_ approximately $200 (00. LS page df on Exhibit 7 refers: te.
16 THE WITNESS: Was that 2005 and "6? 16 TH WITNESS: Es that the Areen
i? MR. FOLKENELIK: Iewas 2005 and 17 Murray thing?
a6 ‘6. 18 MR. FOLKENFLIK; Yes.
ia QQ. And during that time. during + i) A. Fim net really sure that is. That
20 MR-POLKUENFLIK: By lhe way. and 20 might be something that he-had --
al tha’s not reflected-on these dacuments, ak G. Excuse ne -
22 including in particular Exhibil number 3 because 22 MR. FOLKENDLIK: Let tbe whines
23 that was operating expenses He opposed ta a3 finish.
24 investments. a4 G. There eisn'ta question, We were
25 THE WITNESS: Correet. as going there. You indicated at AV )0Q031 that
[Page 90] [Page $2] 4
1 G. Now, vou'ne nod indicating Uhat 1 there were two additional transfers to i
2 these documents were prepared by you, were you! 2. Mr. Noteer which were identilied as personal, |
4a MR. FOLEENFITR: Ku, na. 3 February 4th, 2003, $202 000; March 8. 2004, :
4 THE WITNESS: “That's not it. 4 $260,000. Bur what reason did you extend a
5 ME. FOLRENFLIK: Fm just talking. & million dollars for persorial exponace of \
6 about thege was an aflidavil supplied ta me. & Mr. Holzer? ,
7 The affidavie said there were -= the tallawing 7 A. That was te cover him oo an
8 payments by Mz. Fingerliut to Me. Holzer and it 8  investinent that we made thal he couldnt cover, |
9 reflected approximulely the $12 milhon that 8 Q. Naw. if Mr. --
10 appears onthe Uxhibit 7. And there were monies Lo A, Atleusl | thought so.
14 paid by Mr. Holzer to. Mr. Fingerhut and to iz MR. POLKENELEK: | think there's a :
12 Hingerhul-Holer Partners, Tf you want to ask 12 reference in the diary pages to this ay well.
13 about thase — 13 Q. Did you ever see any Funds - :
14 Mi. CONWAY: ‘They're here. | get 14 MR FOLKENELIK: Excuseme go |.
15 om, 18 ahead, E
16 Q. During the lime thaé you were 16 @. Did you over see any funds in i
17 together -- that you were funetioning as iT excess of FE] LGO0 brought by Mr. Holzer iota |)
1a Fingerbut-Holzer Pariners, did you have t is Fingerhut-Holzer Partners?
1 support Mr, Fingerhut? rg A, ‘There was u series — do you have
ad A. tam Mr, Fingerhut. 20 those sheets? The sheet we justtalked about.
22 G. Jesus. During the time that you 214 ‘The thing thal Max got from you,
22 were working with Mr, Holzer in Fingerhut-Holeer | #2 MR. FOLKENFLIK: The affidavit from :
23 Partners, did you have to support Me, Holzer for 23 the district attorney's oflive, 1 specities
24 his personal needs? 24 paynicnts that were made in hoth dircetions.
25 A. ‘That's a taugh question, Eden's 25 Q. Forgive me, ] don’t recall that.

 

 

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[24] (Pages 90 to 93)
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L A. A scrica of investments = well, 1 @. The aecounts nuny be gone. Fre sau
2 he'll show yarti, 2 have acvess ter the murtibers?
3 G. Ape you familiar with the affidavit 3 4A. 1 ehink so.
4 ofthe distr ulterney of New York? Have you 4 © Vedask vou, we'll leave a bhink in
a rend it yourself? 5 the record, when you execute the deposition,
& &. Tm nol sure. 6 would you fill those in?
7 ME. FOLKENPLIK: That's what [ sent 4 A. Th) haves them, PH give ther to
& you, B nu, sure,
9 A. Yes, 5 INFORMATION REQUESTED TO BE SUPPT IPD:
10 ME. POLEKENIVLIK: ‘The one that you 16 Pingeehut-Tdlver Bunk Accounl Nuaber
1a produced in this casc? 1 0 And in-light ef the statements by
12 MR. CONWAY: Yes, 12 the district atlomes, T would ask you tix — do
13 Q. New, sie, I'm going to ask this twa 13 you have access ta the acemunts dhat you
14 ways. The district-attorney at page -- in the 14 yourself operated far your own personal benef
is affidevil of investigator Shannon Rowe at pase 15 on or abort December §th af 20049
pe 6 0000178 indicates that on December 15th, 2005,.) 16 A. Personal acorns?
it shorély ufier -- on ihe day of the yceond L? O. Yes.
18 investment of the Rapiles,a wire of $600,000 18 &,  Youmena my on --
igs to J folzer was sent and Holzer trinsterred 19 BAR. FOLKENELIK: Your own bank
20 $200,000 ti vaur personal acopurton that same 20 accounts.
41 day. ad GO. You mdicated -
22 Are you familiar wleb that event e2 A. Yes. Yes, ves,
23 A. ITmean, fF could probably look it 23 (. = that you are not ecjecting a3
24 up, but fim oot familiar with the other part. a4 undrue the statement by the district allarney
ao G. Did Mr. Fingerbut transfer 25, that on December | 4th vou recedved $200,000 tans
[Page 94] [Page 96]
1 $200, D0! « i Mir, Linlner,
2 MR. POLEBRILIK: He is 2 A. Tdon't accept itar reject it, 7
3 Mr. Fingerhut. 3 den't know. Ve have te check.
4 Q. Did Me. Holzer transfer $206,006 to 4 &. Sir, could Lask vou to inchide mn
5 your personal account an or ahout December 13th & the transcript wher it's executed the banks and
& ot 2005? 6 account pumbers For your personal bank secolils i
7 A. Tf it's in this stasement by the 7 at or about December Hid of 20M. é
€ DA, thea £ would say ves. f ovean, | can't tell 8 MR. FOLKENFLIK: PI iake that
9 you offhanel. 9 under advisement. Ethink an easier way to deal
12 OG. Now, sir, da you have the acecent Lo with this would be that we will discuss und
41 cumbers for che various arcaunts that were EL consider slipulating te the correctness ofthe
2 issued by -- thal were held by Fingerhut-Holzcr 12 district attorney's assertion if we investigate
13 Partners 1.6007 i3 it amd find if te vou true,
14 A. Bank acenunt numbers? 14 A. ‘Fhat's fine. b can do that, But
is Q. Bank account numbers, yes. a5 giving you ibe beovk accuurll is craey.
16 A, Ide ig Q. Sir, with whont did you do your
19 &. And few muny dillerost buck 1? personal buaking in 2003?
18 accounts did Fingerhut Partners have? 1a A. JP Margan.
19 Fingertvat-Folzer Parloers, ig QO. And you would have had investment
20 A. Td have to fook itup. Probably 20 secounts as well as operating accounts and
2i four, 21 personal aecoumls ibere?
a2 ©. And you still have access to those 22 A. Yes.
23 account nutnbers. 23 G. And do they continue lo be your
24 A.  Thay're all ganc. I've shut them 24 pecscmal bank?
25 all down, 25 A. Yes,

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i
1 And are the sant personal and i with hig. own Funds, daacarding.ta them
2 operating accounts still netive? 2 WK. CONWAY: | have. seen those
3 A. Ud have to chock. | don't know. 3 files. .
4 G. Nery, alsp int (he district 4 ME. FOLKENFLIE: Me Holeer wath
5. —_-gttorney’s report, he indicated at page 000179 2 his own funds bought SMM) shares of
6 ihat.on ihe aceasion of the transfor of $800,00H 6 sccnritics on that day, We can stipulate that
7 from the Rapillas on the date of March 230d, 7 ghat's what ihey gaid publicly, That's fine.
a 2606, Mr. Holzer made purchase of $500,000 of a B with us.
g stock called ¥ Campus, and lhet lhat $500,000 a MR, CONWAY; Eight.
10 investment was later transferred te you. Dn you 10 MR, FOLEENTLIK; Now, what happened
Ta know (hat t6 be correct, sir? zh to’ Mt. Liolzes's interest.in V Campus, such as it :
12 A. That's aut current ~ 12 was, you can ask Mr. Fingerhul to explain, We !
13 MB. FOLKERFLIK: Let's take a siep 13 gave you décumenis-reflecting that transaction i
14 abadime. Why don't you ask about the initial 14 hetweon Mr, Holzer and Mr. Fingerhut. :
LH purchase and then ask aboul.what happened lo ts MR. CONWAY: What you gave rd last :
16 Mr, Holzer’s interest in V Campus. 16 Friday? We'll get to that. ‘That's still down :
1? MR. CONWAY: Well, we're going te L? the road: !
1a fe into V Campus, but at Ihe merment TL just 18 MR. FOLETENTLIK: Let's get lo sitet U
19 ask that. 19 af those things that may be celevant te your :
20 Q. De you dispute in any way. that the 26 theorics-as opposed to Haverstraw. |
ai statement af Lhe distriad adiorney that of the 21 &. Sir, did there come-a lime when :
22 $200,000 transferred. by the Rapilion 22 Me. I alzer tronglered lo you $500,C400 worth of
23 Mr. Holzer on March 23rd, 2006, that $500,000 of a3 Vv Campus stack? |
24 ¥ Caimipus was purchised by Mi. Holzer and-ther 24 ME, POLKENFLIK: Objection ato
26 subsequently traristerred to you’? 25 farm. Did thene enpié w tine when there was 4
[Page 98] [Page 100]
4 MR. FOLKRENFLIE: Objection, Let me 1 tranater conecmning — when there was a
2 take «« 2 ieanguction concerning V Campus?
4 Mt: CONWAY: Any way you want fo 3 Q. ‘You want to try it that way. Sir.
4 phrase i, 4 did there come # Lire subsequent to the date of
5 MK. FOLK ENELIR: Look, First of § March 23rd, 2006 where thers was a transaction
& all, we don’t knew whether it-was or was net the & belween yoursell and Mr, Holzer --
7 —- Rapillos- money that Mr, Holacr used, [1 may 7 A. Na,
8 ‘have heen, it may met have heen, [1 was, 6 Q.  -- al ¥V Campus slovk?
9 $500,000 ont of lis. aecount to ¥ Campus. a A. Na,
10 ME. CONWAY: Out of Mr. Holzer’s it i. Did you at amy time -- did:
11 account & ¥ Campus, ti Mr, Holzer at any dime transfer $500,000 worth
12 MIC FOLKENILIK: And $800,000 went | 22 of ¥ Campus stock to.you?
13 into his account ftom the Rapillos. We don't 43 A.  ‘THat was —T don't know, That was
14 know whether there were millions of dollarsin ia the ~- no, this was the later -- you know shal?
15 ihat accaunt=< co a5 I'm goery. UU take that back, He did. He altel
16 MR, CONWAY Brom. Mr, Holzer, wa” 16 that. That stock is worthless. Bot} would
eT now there was nothing there, 17 just lefl_ you that's what happened.
18 MR. POLKENFLIK: We don't know, We | 78 Q. Okay, be gave you
49 have assumptions and that may be correct. is 4, He didn't give me a thing, believe
80 ME, CONWAY: However, an the day he 26 nee,
21 received §800,000. ai Q. He gave you stack (hat he hed
22 MR. KOLKENKLIK: Let's take ita 22 purchased for $5004H10.
23 step alalime. These was a public filing, ¥ a3 MR, FOLKENFLIK; Counsel, shere wa
24 Campus was a public company. “They publicly 24 a transaction, & contingent assignment. The
a5 stated in their public filing that Mr. Holzer, 25 etnilingencies- oveurred and: cerlain securities
iPage 93] iPage 104}

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1 would Baye been transferred in accardanec: with 1 A. Of what?
2 the contiigendy dssigament whet thage 2 ®.  Proolg of purchase of the
3 contingencies occured. 3 properties that wene jn question.
4 THE WITNESS: Cornet. 4 A. No.
5 MR. FOLKENELIK: We gave vou the 5 QQ. Atany time during the nvultiyear
6 contingent assignment. Why dewn't yout ask about 6 peried when Mr. Holzer wes supposedly making |.
7 it, because it doesn't refer to the 300,600 % these purchasce and you were extending large
a shares specifically, Hralers to sldek B sums to him, did you ever discuss with him the
S ownership. g patties that were involved in: the transactions’?
La MR. CONWAY: Lagree: 20 Lawyers, Gosing conipanies, any’ thing like that?
Lt MR, FOUL. KUNELIK: So you're creatiig ii A, Yes. I mica, what was discussed
12 a contusing record hy -- iz were these (wo guys, the-ather buyers.
13 MR. CONWAY No, fut intentionally, 1a @. Did vou ask where the dovumenlation
14 MR. FOLKENELIK: 1 didn't gay the 16 was?
45 wor “intentionally.” is A, Ive already. told, YOR I haven't,
16 . MR, CONWAY; Tin following the sume | +¢ We can poover this a hoindred times. I will
17 timeline that the district attorney did, 17 tell you [ have not done it, Tn oot happy thal
1a MR. FOLKERELIK: Bui the distriet 18 | didn't do it.. It wasa higerror, Okay? But :
19 attorney didv't refer to the contingent 19 —- ywurkcep asking me the same question. T haven't |
20 assignment or to the-timeline. 20 dene It,
au MEL CONWAY: So let us elarify 24 Q. Now, you consider. this a.
25 that. 2a $12 million error’?
23 MR. FOLKENFLIR: So clarity it, 23 A. Agicast. Does that make yau lee!
24 And since you have the document, why don't you a4 better?
25 use ft. 25 0. You.
[Page 102] {Page 104]
4 MR. CONWAY: We'll get there, Max, 1 A. Gieod: Mov glad.
2 We'll get there: We'll get there. 2 Q. Let's take a look at the Thateher
3 MR. ROLE ENPLIK: | deuht it. 3 document. é
4 Q. At ibe time the Mr, Holzer 4 MR. POLKRENFLIEK: Cun we ga olfthe |
5 transferred the $200,000 ta you that you've 5 record for a inament? :
6 already referred to — & MR. CONWAY: You cerlaindy tay,
a A. You mean paid mic 200,400. 7 (Discussion off the record.)
& QO. Okay, now, was this as part ofa a @. During the time that vou and
3 transaction that had additional elements? 2 Mr, Holzer also were partnets -
Le A. Dhave no idea exeup! thal he owed MR. FOLKENFLIK: Objertion as to
1a mea huge aniount of money and there was a dine ii.
12 wher he paid ov something. Q. When you and: Mr-Holzer were
13 Q, “You weld noi dispute ihe sate of wlivipaling in Kingerhat-Holcer Partners =
14 the transfer-as being December 13th, 2005. MR. FOLK ENFRIK: LLC.
LS “MR. FOLKE INFLIK: Counsel. [tall Q.  -- LLC. did Me: Holzer show an
16 you we'll see if we can in dip, up the record and we inability to pay his personal expenses?
LF will stipulate My Supposiliva is thal, MR. FOLKENFLIK: His personal
18 date is correct because the affidavit was 18 expenses,
19 supposedly prenared alter review ofthe » banking 14 Q. Personal expenses, yes;
26 records. But we will ver rity {that and ‘Stipalate 20 ME. POLKENPLER: Other than the
21 ta it, 21 expenses thal may have becr covered. by ihe
22 G. Now, sir, while you were extending ‘22 HE O62 OW.
23 the pertions of the $12 million over this 23 MR. CONWAY: Right.
a4 threceyear period, did you ask Mr. Holzer at any 24 A. Deane a favor, repear that, nlcdsc.
25 time for any prods of purchase? 25 @.  Dhiring the period that vou were
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(27) (Pages 102 to 105)
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1 Tunclioning as Pingerhut-Holzer Parmers, did i the $4.5 million was intended for what purpose?
2 Mr, Holzer show you an inability 10 cover his 2 A. Investments in the series of
a personal obligntions? 3 investments we have been lalking ahout.
4 MR POLKENTLIEK: Other than the 4 © Were any of thase investments in
3 £1062 G0, 5 ihe [laverstraw real estate properties?
6 A. Ident believe so, 6 A. Poenet sure. H's all a lunction
7 MR. CONWAY: That would be part of 7 aftiming. Whenever it was done. There's a
a it. 8 whole series of investments made here,
a A. dust chat, 3 Q, Weil, it's identified in the report
16 QO. And what were the circumstances Lo as being » 2006 investment,
12 around your exiending a million daflars of your il A. Okay, sa if there ate investments
12 personal fimds to Mr. Holzer for his persenal 12 trade In 2006 in Paversinew. i could be Hhely
13 needs? 13 that it's there. No, in fact, ifs Beacon and
14 A. Didn't [ just tell you this about 14 Montivells.
18 five minutes aga’! 45 Q. Nosy, are yoo familiar with the term
16 MR. FOLKENFLIK: Yes. ka “Belleaod"y
LT G  Gkay, i? A. Delhwood. DBallweod is the
i8 Now, there were parties identified 28 investitent thing ot the resk estate hing that
1g in this document, a gentlemen by ihe name of i9 David talked about?
20 Adam Gurney, an Arah investor. 20 Q. Yes. Thul was the putative
ai AL Awhat? What wos the last nme? 21 investor scheduled to purchase nese _ bropettics
22 MR. FOLKENPLIK: An Arah investar, | 22 MR. FOLRENFLIK: Nu. 11 was the
2a A sheik, 24 putative -« he was the Investec. It was the
24 A, Sheikh Moharnmmed. 24 partiership in which the money was being
25 QQ. What was your hoped lor jnvelyement 25 lpvested, And Deliwand was acquiring the
[Page 106] [Page iGB]
i ol Sheikh Mohammed with Finecrhut-ltolzer i property in Haverstraw and Beacon and others.
2 Partners? a Q. Did you ever see any participation
3 4A. That was-the Syneonium limited 3 by Mr, Holzer in Bellwood?
4 partnership. 4 A. J dew't onderstand.
5 Q. And what was that about? 3 G. Did he ever show you any
& A, ‘That was the partnership investing 6 dooumentation that would indicate that he had
7 in the arce af disabilities. dewes tobe a 7 purchased an interest in Bellwood and wag
8 limited! parinership, a venture partnership & participating in the purchase of these
a essentially, Adam Curney - 1 don't knee what 3 propertios?
10 kind ofa friend he was with David but ] met him: 10 A. No,
il through David. | met hins in treland and he had dd. @. Did you ever ask le see any such
12 recommended -- well, at least | thought he had 12 proce?
18 rcoommended a visit ia the sheik io Dubai, 43 AL No.
14 @. Did vou ever mect this sheik? 14 @. (Go vouknow what the tntended
15 AL ee, 15 purchase price of all of the lavestments upstate
16 Q. What was the shaik going to invest 16 were?
1? int? ly A, The intended purchase price?
LB A. Syneeaium par inceship. i8 “Fhe intended purchase price.
ig Q. Now, did there come a time in 2006 19 ME. FOLKRENFLEK: The wiiness
20 when you had to borrow $4.5 million from 20 teatified that over thie new properties were
21 JPivtorgan Chase for a series of investinenty in 21 identified and addiei¢nal purchases were made.
22 Vingerhul-Holzer Partners? 22 ‘There wasn'ta solitary inlended purchase,
23 A. DHd [have to borrow fy No. But 24 There wasn't a solitary fitended purchase price.
a4 i dick. 24 Q. Weil, the tern “$96 milfian”
25 Q. Did you choose lo borrew ie? And ‘BS appears in the documentation in the timelizie of
_ _ Page 407) fPage 109} |.
[28] (Pages | 106 to 109)
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4 evetils, mucaber 1. That stan of 846 olen came
2 froma where?
a A. feasts the bell outefme. | don't
4 know thal number. Whi dors that say?
5 QO. Hsays—
6 Mik. FOLKENFLIE: What paragraph are
7 you on?
8 ©. Parapraph 1. "I purchased half of
g David's interest anheknownst to others. Phe
16 mafor reason for the establishment of
ai Fingerhutel lalzer was te take advantage ofthe
42 new muonies from the sale of the property, at the
13 time apiproxituitely £06 million versus the $30
i4 million ost.” ‘That's written in the first
15 person,
14 A. Bbghi
L? (| Now, during the course of the
18 inveaiment --
19 MR. FOLK ENFLIK: This says il was
20 approximated that the sale af properties that
a1 were purchused for 30 million osuld take
22 place --
24 A. He hada third and J bad a halfof
24 ihal. Suit works out.
25 Q. Well, vou were a hidden investor in
[Page 116)
1 David's one-third, weren't yeni?
2 A. A hidden investar?
3 MR, FOLEENILAK: Objection as ta
4 form. Hidden fren whom?
5 Gh Your interest in Paviel's
& conLribution was tol disclosed to anyone, as
7 beat you knew.
a Aa. Thave no idea.
g Q. Did there cone a time wher you

LO bourht halfof David's one-third?

12 A, That] bought hall of David's

12 une-thira.

13 Q. Yes.

14 A. idan't know.

15 QO. You indicate in BF 0032, the sixth
16 line down, "Y purchased one-half of David's
LF interest unbeknownst lo others."

16 A. CHkay, then i did. What am ] ganed
is aay’?

20 @. Why would yon wish to be an unknown
21 investor in David's one-hall-~ in David's

22 ancethind?

23 &, eee, [dow know. We've gene

24 over this. This was aimistake. § didn't wish
25 fo Jo anything like thal, Okay?

 

 

 

 

{Page Lil}

4 GQ. Well, why would you need to not be
2 revealed ta the ather investars?
4 MR. POLKENPS LIK: Objection asta
4 fori.
5 A. Towasn’t an issue for me.
6 G. Well, you're writing there, "1
7 purchased one-half of David's interest
a unheknownst to others." Why would you have te |
S hide Une --
1d MR, POLKENPLIK: Objection,
il A, liwas not ap te me.
12 QO.  Whal was.nvi up lo vou?
13 A. 1 wagn't saying vou hawe ta hide
14 i. Tt was his issuc. li wasn't mine.
i3 Q. Did vou create a ducument ibal
1é established that you had half of this
i? investrnent?
La 4, No. N-O.
19 MI. FOLKENDLIE: ‘That's about the
20: seventh time you asked that question,
al A. Why do sau keep going over ihis?
22 Listen, these were nat good investments. ‘his
23 is —] was going to say the F werd, but this is
24 tea,
25 MR. FOLKENDLIR: That's the f word,
[Page 112]
i A. What.can Tsay? But you'd like,
Zz 14] tell your again, this was a mistake. All
3 right?
4 . DidDavid give you any reason why
5 the transaction for the sale of these properties
6 was nit completed’?
3 A. Why don’t you look in the diary.
a ifs alt in there, ‘There were a whole series of
5 explanations why, and they were not truthful. |
20 deun't know Tf you peally need to go over-all
BL thease. They're right in there. :
iz MR. FOLKENFLIK: Aad ther ibere was |
i3 a point at which David claimed the transaction
i4 had been cornpleted.
is ME. CONWAY: Esaw. Psawit.
16 MR. FOLKENFLIK: Okay. And what
ay differance does this make to your clients!
28 chum?
18 Q. (id there-came a time wher yen
20 bewan investing in a stock called ¥ Campus?
21 A. Yup.
22 G@. How big a position did vou tke in
23 V Cantons?
24 A. Well, to smtke it very clear, ¥
25

Campus we had originally fivanced as a private

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[30] (Pages 114 to 117)

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1 company oulat Weekly, Okay? And we sald it 1 te you who the purchaser would be whe would
2 when it went public, Thete f repurchased it back 2 ulter £99 enilliy lor the property?
3 in, I don't know, A041 or something like that 3 A. Wo, I don't remember that date i
4 fox my ovdti secounl. 4 either, 2004. Bul that's not my diary [ don't :
5 OV Carpus had eve public before 5 believe.
6 20017 6 @. No, this is the Thatcher Associates
7 A, 1999 Lbelieve, 7 document. Do you disagree that the number of
8 Q. ‘To your hest recalleetian -- g 99 million came up in the year 2004?
5 MR. FOLKENFLIK: Let him finish the 9 A. PE don't rementher i.
1a atory, [might be helplul, 10 GO. Approximately wihae Ure did you
12 A. ‘That's it. ‘Phe initial investment ii come &o below that you were dealing wih
12 thet we mude in Weekly we sold aut when itwent 12 Mr, Holzer ag a fraud?
18 public. E was a hoard member, | lefl the board i3 A. Fall of 2007. Look in the diary
14 alicr we. seld the shancs. it was a buge hit, ia figlées,
25 too. But ie way ihe time thet anything worked, 15 Q. Psec, I sce. What caused you ls
16 1999. Then [ bought it back as a public 16 reach that conclusten in 2007?
i? edrpany, i? A. A qumber of things, but again, if
18 Q@. Se you divesied yourself of an 18 you read that --
a9 owner's Interest 19 ©. Reading it doesn't put it on the
20 A. Bat that was not me. That was 20 revo.
21 Weekby: al MR. FOLEENELIR: Tdst list your
22 Q. And did yau extract some henelit 22 beat recolleetion as you'r sitting here.
23 from gat as @ pardicipator in Weekly? 23 A. The best recollection was when he
24 AL Yes, a4 told me that here was a sale and that in fact.
2H Q. And when 28 he produced a deposit for $34 million in an
[Page 114] [Page 116]
i A: Lhad a carried interest. We had i account and showed me -~ and actually, the
2 carried interests, 2 person whe was running, still is, York Tango
3 G. When did-you begin purchasing it an 3 hecause she was waiting far funds. And then
4 the markers 4 deposited in the FH LLC account, and of course
5 A. Idon’t remember exsetly. it was 5 it houneed,
8 either: EMH oe 24H 8, 6 G FHELLC. The Fingerhut-Holzer
7 Q. And in Fingerbut-Holzer Partacrs 7 account,
a you intended 16 comlidué purchasing 1? 6 A. Whatever.
g MR. FOLKENELIK: Objection. g @. tle put that ie the Mingerlut-l talzer
10 Assumes lacis not in evidence, 16 accounl
Li A. ‘The investment made hy ih A. Yeah. And itbowiced, JPMorgan
12 Fingerbut-Hoizer in ¥ Campus was not in the -- 12 shut down all the accounts the next day.
13 it was pot Common equity, | believe it waa a 13 Q@. Now, did that functionally stap
14 private placement, Ft was.a preferred stock | 14 business from going forward at Fingerhut-Holzer
15 believe. 15 Parlpers?
16 MR. CONWAY: I'm going to need five 16 A. Well, F-weutd say ves. Although
a minutes. 1? the funds inside Fingerhet-Holver were basically
is {Recess taker.) 18 paying wages and rent,
19 BY MR, CYYNWAY: 19 Q@ Whal de you mean --
20 GQ. In reading the Thatcher document, 29 A. When you say did it shut down
21 its indicated that in 2004 Mr. Holver informed 2i Pingertul-Holzer, the bank stopped the abilay
22 you that lhe Haverstraw property was going in be 22 ia pay salaries. ‘That would have shut it dawn.
24 sold for $99 million, and thal their share of 23 Q. When JPMorgan closed the wedunis,
24 lhe: procecds would be approximately $33 million. | 24 did it clase down all of the accomtts attached
25 Se in 2004 did Me, Holzer indicate ao tt Fingerhul-Holzer? .
[Page 1151 [Page LL?} |.

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1 A. Yeu 1 A, Well, we had coianiitted te i.

2 @. Did that mene that you were not 2 GQ. When you indicsic -—-

3 able to accept fds or issue fimds cit of the 3 A. And] had done my haifand

4 Pingerhut-llolaer accounts? obviously David had not dene bis,

5 A. Yes. Thera weren't a lot of finds 1 Well--

6 in any case, but thal didn'l mater, He-hou A. Your have toknaw her. She's tough.

7 the cheek. There were $10,(N10 in-the acen She's very tough. She's terrific. Twish I haa

a and he wrote.a check for 30 million, It doe 20 more like her. She came over at she wanted

8 wark. the other halfofthe funds.
10 @. Now, on what secounl did he writ Q. Just forthe tecord, who is she?
ad the $33 millian check? A, Her nates is Andrea Miller, She's
12 A, What does thalimean, “on what stilt running the company.
13 Beco? Q. Now, vou had already extended your
14 Q. What aceotnt was issiing ihe 14 half of the invescment?
18 $33 million? 15 AL Yes.
16 A, Iwas t thik his own personal 16 QQ Did you extend it Lhrougl :
a? account. 17 Fingertut-(folzer Pariners'! :
18 Q. | His perseninl account. 18 A. No. Itwas me. bended up having :
1g A. Lthink so, yes. [don't remember 18 iu basically cover what he did't de. Again, :
200 exact = 1 don't remember what account i was 20 — for-mysell,
al supposedly written on. 21 ‘Was David zoing to issuc the funds :
22 G. Did vou ever see the check! 23 from Fingerbul-Holeer? :
a3 A. No. Just the deposit. No, wait a 23 A, Well, [ suspect that: that. was the
2a minute no, no, 0. Lonly saw the deposit, I ad idea if ln fact anybody accepted a chock that
25 have copies of other checks that he wrote that 25 — was-wrilen for 33 million on a $10,000 balance. |

[Page 118] © [Page 120] |

1 bounced, too. 1 So if would have gone inte Iingerhut-Helzer.

2 QD. Previusly? 2 ihen-it wouldn't have, so what's the ditlerence.

3 A. No. After, 3 Q. Yeu owould fave founel ont that the

4 OQ. And is there ¢ reason: thal 4 cheek was fraudulent within 24 hoats, correct’?

5 Mr, Holzer -- is there a reasnit that-vou're 5 A, }elid,

6 aware of that Mr, Holzer would have created a 6 What did you then det

7 Itudalent document like this at that timc? 7 A, That's when | hired ‘Thatcher.

8 A, ft's hand to undereand haw he a G. ‘The next day?

8 — eduld have done itand think be could have g A. Mni-hoim. Weil, actually, that's
10 gallon away with it, bor it happened that he 10 probably not truce. [avent to-e- what's his
LL knew thal the person.fiom Tange was. coming over | 21 ratte’?
12 and she was looking fr the finds that he was 12 MR. POLKENDLIK: Howard Wilson. |
13° supposed to be contributing. And | suspect that i3 A. Howard Wilson. )
ia what he did seas, he wrote this-- he phonied up 14 MR. FOLKENDLIR: Proskauer,
15 this depusit as a-way af pulting her aff saying 1S OQ. I sew-that. Is Proskauer a law
16  woukdtake aday ar so te clear, Whatever 16 frm with whieh you had dealt previously?
“7 the lie! that meant orf a wired have no. ides, 1? A. Proskaucris the law fiemt that
ia @. Now, why would ibe, money be guing 18 dealt with PEGS.
is to Tange? io G. What's that?
20 A, We committed to invest in Tanga, 20 A. ‘The Federation af & mployment
21 Q. Wher you indicated a woman way 21 Guidance Service, It's the lar gest social
22 coting over from ‘langn -- a2 service agency in New York C ity LP you exelude
23 A, She's the CEO, 23 ihe hospitals. 7 was chateman of it.
2d QO. The CNG wanted a cheek tor firlher 24 Q. FEGS?
25 investment in Tange. 25 A. Yes. Lapent a lotof time with

. [Page 419) {Page 121]

 

 

 

 

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1 OS sd ok ot ote Ge AX

SO NM Be AF Bo RN be pelo feb bP RE Re pep pe pe
fem WM Oe Da mM i Ss NR Oo

 

 

Proskauer, i ‘Thatcher, :
‘GQ.  Andthe gentleman -- 2 @  Bo-vou feeall Mee Thateher's first
A, Not Mowanl Het a couple other guys. 32 name’! . . :
Bul they recommended Haward. 4 MR. FOLKENPBLIK: Toby.
@ Right, Mr. Wilson was one of Ureit & Q And how long did you deal with
oriminal lawyers? a Mr. Thatcher before the doeument thal we've
A. Yea. 7 identified here as ~-
@. And when you. - & AL The assignment?
MR. POLEENIEIK: Among other 8 QO. Yes. ‘
things. 1a MR. FOLKENFLIK; ‘The-nasignment or |
A. ¥es. 11 the Thatcher draft?
Q. So -you had initial congvem thet 12 4%. The Thedtcher drali. :
ihere was some criminal liability chat could 13 A. Meu near this one here? :
extend b the lirov and 16 yourself personally? i4 MR. FOLRENFLIK: Usbibit 7. Which. |
A. Woulds't you think so? 15 is dated 111. :
@. | agree. 16 A. How long did I deal with iter? i
A. Okay. 1? MR. FOLKENFLIK: The witness A
@. Now, of course not asking what is teslilied he-wind to Thulcber the day alter the. '
Mr. Wilsiu’s advice to vow was, what did yoru 19 check bounced.
then do? 20  @, De we know the dale the check F
A.  feetained ‘lhatchar, | needed to 22 boiineed’? :
see if there —- Lwanted la-sce evidence of what 22 A. No, but Leould tind thet oul. It b
was happening and ifthere was something to be | 23 was October = Fm notsure. [owar'Q7. ft i
defended against. 24 should be in the notes that I have. :
G. How did Phaccher come to vou? 25 Q@ fm sure it's thers. Lee's find !
iPage 122] [Page 224] |
A. Through Wilson. 1 the date. :
. Wilson recommended Thateler? 2 MR. FOLKENFLIK: It appears to be. I
A, Yes, 3 that the cheek tounced on ihe. 4th of lune. Gn :
(. Now, bad you -had conversations with 4 the Sth or 6th of lune. Sec it on BF 33. And :
Mr, liglzer before you went lo Proskauer relative 5 the report isdated 11/1. :
iu the entire cxtent of your relationship? é Q. On whose advice was if lo begin the :
A. You mean i Wilson’? 7 daily diaries? :
Q. No. Bid you have conversatians a A. I don’t think it. was anvanc's :
wih Holzer, When thée-cheek boaneed -- 9 advice. Twas me writing i, But Ethink once ;
A. No. Hetanse.it bounced the next 10 I started, and | think | showed it to Faby, | :
dity, tre wasn't in, 210 think they said conlinue. :
Q. Id you see hit before you went to i2 @ ‘They indicated write the diary? :
Thalcher? a3 A. Lihink they.told me thal i waset't :
A, [Did | see fits before 1 went to 14 a hadidea. Nev, they alse did their own :
Thatcher? I don't know. | don't think so. 15 independently of mine.
Q. Now, Thaicher is not an atlarney. 16 QO. So there is other doeuwmentation i
A. He might be, bur they're nat a law it that may exist --
firm, 18 A, You're looking at it. |
Q. They don’t practicr.ag a kaw firm. 19 Q. By that] moan is:thens other. :
A. le does private investigations, ao dacumertation heyond what we've identified here, |
QQ. Who did you deal with there? 21 is there’ a final report, is there a further :
AL “Thatcher, 22 investigation? Is there aside investigation, i
@. Mr. Thatcher himecl{? 24 anvthing of thal odtunc?
A. Min-htem, Anebhis right band pay, a4 AL No, I mean, this basically
TH think of it ina minute, Butmainly 28 :

[Page 123]

 

cneapsulules everything. Was iherd a-tinal

 

 

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3

 

 

 

 

 

 

 

    
 

4 document that he gave me? i Q. There were a series of documicnts
2 O. Yeu. 2 that were mucked on our bresk, Can -yau identify:
3 &. Une sure there was. 3 Exhibit sumber 8.
4 MR. CONWAY: Ty coutisel, the 4 A. I don't know whothis persorris..
5 dacument that you extended is called. a ‘lA-dpatt. 5 MR. FOLKENFLIK: Can you identily
6 MR, POLKENPLIK: That's corre, 6 this waiver of native al organization meeting,
q ME CONWAY: Do we know if there's 7 Fingerhut-Holzer, Waverly LLC?
8 a fined issuance? 8 A, i don't-remember this, But is
g MR. FOLKENEFLIK: Edor'l have one. a there adate on here?
‘Ld &. Now, this particular document whieh LG &. Becember 2th, ‘OS.
Li we've identified, when did-you see it for the 12 A. Whalis this? T don't know, This
12 first-theie’? . 12 is pact ofthe creation af the document? |
13 A, ‘This document? 13 ‘don't know wit this is.
14 O. This deewment, 14 Q. No, iL would not have been,
18 MROPOLEENVLIK: By the dacumert he 18 A. I meanof the organization.
16 jus! mvany the first papes - did wou. see it at Lé MR. FOLKENFLIK: Counsel, this
1? or about the dale iLis dated, I1/ES077 1? appears to-he a docuinent shat comes fram the
18 A. Yes. Butd saw it many times 18 office of the Scerctary of State of Delaware.
io helone that, is No. ifs ~ lelme see, New York. Itappears
20 Q ‘They shoved you holo? 20 to be anvolfielal document establishing the
24 A. Yes, but] abs had-a lobed 2i organization Fingcrhut-l tatzer, the Waverly ]
22 conversations, They alse came to the office. aa LLC, :
a3 they tank apart his hard drive, They did « lot 23 MR, CONWAY: Rather teits go theoneh
24 of work. 24 the witness, do you want to sthulate to chat?
25 O. Now, all of this predates your as MR. FOLKENFLIK: We'll look online
[Page 124] [Paga 128]
4 going to the district atlorney. 2 and i it's an olficial document, we'll
2 MR. FOLKENEFEIK: What does “all of a stipulate to it,
3 this" mean’? 3 MR; CONWAY: [ine-siue it's correct,
4 @. The effore by Thatcher Agsaciates 4 @. Did Fingerhut-Holzer have an ;
5 predate your going to the district atearncy, 5 investnvent tat was knowl as Vingerhut-llotver, |
a A. Fevnot sure that | waited untit 6 the Waverly | LLC?
F final repurt beloxe Lwent. But clcarly 7 A. L don't remember,
a Thatcher precated the district atwrney, no 8 @. You don't cecall that? :
2 doubl. Pencan, | had’a fecling that they were 9 MR, FOLKENFEIK Counsel, Pbelieve |
ie right. 10 that's the entiny te whielt your client wired
Li Q. Now, when they caine in’ wheir Li iheir $306,000,
i2 Thatcher cenie in tbey took apart-from Helzer's 12 MRACONWAY: Agpeed.
13 boolputer? iS Q. Ani you don't have any rocollvetion
14 A. Yes. BA, tet IK?
15 G, Did they MR. FOLKENPLIK:. The witness
16 A. Well, ihe hard derive, lready testified. aboul ihe Waverly.
Li? Did they take passessiens af it? As oA couple times.
18 Ay They did and then they breught ip MIR. FOLKENPLIK: the questionels
a8. hack. ¢ precise namic and identity af the
20 @. Did they take posacssion of his ganization, since there were so many with
21 phone? 21 confusingly similir harmics,
48 A, i don't know. | don't want to ade 22 GQ. Did. you have multiple Waverly
23 any titillation here, 23 investments?
24 (Fingerhel Exhibit 8 for 24 A. [id 19 Did Lake thei mysehY
25 identification, Bates Na, RI’ $4 thraugh $7) a5 G@. Did Fingerhat-Holzcr have multipic
(Page 127] {Page 129} |

 

 

 

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1 Waverly investments? 1 amongst those agreements, we've procuced NH.
2 A. Jbelleve so. [mi nol sure un 2 A. This was-only -
3 Waverly. A couple of them we did. 3 MR, POLKLENFLIE: And | believe we
4 MR, POLRENFLIK: HW you look at 4 did. 1 think this was one of several documents
5 Exhibit number 3, the witness just to save lime 5 we produced i you, and ibere's another ane
6 can identify «+ é thal's the operating agreement for
7 A, We, that was Waters Edge. 4 Fingerhut-llolzer Partners 14.0 that hears an
g MR. MOLEENELIK: You can ideniily a varlier dat FE believe.
3 the iaweslments thar may have had seme s MR. CONWAY: E den'theliove that
16 connection to ihe same developer ay the Waverly. | 20 we beve thet, What we have is lhe
1i Why dan't vou do that. 1L Fingerhut-Halzer Fund limited partnorship
12 A. Well, Waverly, Waters Edge, Village La agreement ad TOL.
230 Walk and Augustine Island are all lhe sume 13 A. Well, all | could say is.this is
44 developer. All in Jacksonville. 14 the second document [ve seete thal relers to
a5 (Fingerhut Exhibit 9 for a] Fingcerhut-Holzer Partners LLC being formed in
46 identification, Bates No, BF 38 through 89) 16 2004, Beonuse there’s anolher document already :
17 Q. Now, take a look at Exhibit 9. 17 that we looked at.
ia What is Exhibit number 97 ue Q@. Yes, we've seen il,
48 A. You just pave it to me, 1s MR, FOLIRBNWFLER: IT dauble-check.
a0 QO. Yes, what is it? 26 A. Leuk al the first paragraph, you'll
21 MR, FOLKENFLIK: It's the operating 21 BER,
22 agreement of Fingerhut-Holzer Partners LLC. ae MR, FOLKENFLIK: 1'l double-check.
23 Q. And is this the aperating dacument 23 And ifwe have an earlier version of the
34 of Fingetlut-Holzer Parincrs, as best you know? 24 operating agreement; however. | believe the
25 A. lasseme so, 25 operating agreement -- other than <- fet mo soc
[Page 130] [Page 132]
i . Sir. weuld you take alonk at the 1 this, Other than whatever aclpusienents were
2 date ety that. 2 required ta be made heeause of the sale af a
3 A. Getober 25th, 2007. 3 capital contsiiution by Ardeew Fingerhut, that
4 GQ. Nese, this document was created 4 the nature of the terms.of the agrecracnt arc
5 alter you detormined that Mr. tlalzer was acting 5 probably quite similar,
é dishonestly within the company. Correct? For 6 @. There came a time after Jane 2007
7 wheal purpasr would yeu create an operating 7 wher you met and sal with Mr Holver, Onthat  §
a agreement aller Mere is 9 fracture of the finn & occasion did you make inquiry of him concerning |:
a such as you bave described? 3 the naiure of bis actions in Pingertul-Holver
io A. “This is really ool anything to do 16 and the check for S33 million? Did vou ask him
Ll with lim. This is me selling a memberships id wheal wi going ant
12 interest to sty som. I you lock under 12 A. A sheck Tor what's
13 "recitals." ‘This was not the first formation of 13 @. $33 million, The deposit slip fir
14 this thing, This operating agreement gocs back. 14 $33 million,
18 Q. flow far 15 A. Oh, okay.
16 A. Effective June 21, 2004. LG Q. Del you meet with him and did you
i? @. 0 yeu have a copy of ad operating i? discuss it?
i upgreemenl dated June 28, 20049 iB A. Yes. A few lines,
ES A. Noeton ine, - 13 Q. What did Mr. Holzer indicate to
a0 Q. De you still have onc? 20 yee
a1 A. Vor assuming | de, , 21 A. What did he indieate to me?
22 MR. CONWAY: Tid agk that that he 22 &. Yes,
23 produecd, | 23 A, Fle said twas real.
24 MR. FOLKENFLIK: We procduecd what 24 Q. ile said what was real?
28 we were able is locate, And Hf tbat isn't ; 25 A. The 33 million.
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wed a & & wh

BoM A 8 RR eR ee BA BE pk ps get fet
hb OM FE OO Oo Am me we Moe

OF wl ch dH om tT RE RE

Bo ORK fed fet fh ee fe pe pe
HOW Om & GA

aa
23
24
25

 

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Kvery kind of bullshit excuse you could shrink
of Were any of them ercdible? They weren't.
MR. POLKENFLIK:; Counsel, if you
lopk at the Thatcher repert, it says that the
deal kevps getting delayed in the summer.
MR, CONWAY: Fundersiand, | saw

 

MR. POLEENFLIE: And to October of
; nto tpcenttctntarnn es

200, parsgragrh naimber 7, where Holzer finally
admits that the Gcilwood investment dacs not :
exist. and ihal he has only approximately $40,000.

, A. That was] believe a function of

MK. POLEKENFEIK: Yea,
G. And how did that core to be?
A, Le came itty the office, he and
another guy went in and talked to him. ‘They
were wired, David admitted it. He confessed ta

(From June until Getaber he was
still continuing be perpetratc the fraud?

A, Ves. And he would continue ithe

@ De you know the identities of ihe

 

 

{page 136] |

parties thal came and corltoeled him in Octaber?
MR. FOLKENELIK: Its in the noles.
A. ‘Lincoln Oriskexn Goad gay,
Linvoln's not there anymare. He started his own
firm. Hut Toby and Lincoln. By the way, J
never realized yeu could do that, you could have

@. Yes, inthe State of New York
A. never realized that. it was
ME. FOLK ENBLIK: Counsel, for the
record, you'll sue that as late as
Septensher Pith » excuse mie, ln wrong about
Fingerhut Mxbibit BL few

ideatilieation, Bates No. BF & through 13)
Sir, would you take 4 look at

Q. What is Exhibit 119
A. It's an assignment of his interests

).  Ulow did you seane fe negotiate thar?

@. And did he aliempl to explain away 1
ite absence? 2
A. Tey absenec ar it beunead? 3
G. [te notenistence, 4
A. He attempted ta. §
@. And what did he say about it? &
A. Idan’ remember offhand, but I 7 tt
have it in my notes. ‘That's why you have them, 8
Q. Thee ter notey. However, Inced a
it on the transcript. 10
A. Well, you'ns aoing to have to get Li
itoff of there because ] don't remember. 12 feft.
3. You want as tc read it again’? 13
4. Bo what vou want. i4 ‘Toby carhermyg him.
MR, TOLRENELIK: IE "by the notes® iB
you mean the TA draft or the diary? 16
MR. CONWAY: I presume he rocans the LT
diary nates. 18
MR. FOLK ENELIR: Well, there are no 14
notes lac enough. The latest diary note is 20 everything,
BFEQVOT, 21
A. Then it's inthePA. Tetfaine what ag
SoU want lo get. 23
QM. WhalT want to know is what did 24 were here today.
Mr. Holzer explain te you about his actions? 25
[Page 134]
MR. POLKENFLIK: Did he say 1
anything about why he wrote a $33 million check 2
that bounced? a
AL CH course, The deal broke or this 4
tr thet, He was embarrassed abnut net admitting 5
ta me that the deal dida't happen so he wanted 6
iodo it [i was absurd. 7 a wire,
Q. “Fhe deal didn't happen; however, &
were there propertics that he had purchased with a you're allowed,
the monies that tad bee extended? 16
&. Were there properties that he had it ama.
purchased, 12
GO Yes. 13
A. With the monics that had been 14
oxtendad. is (hal. Never mind,
Q. He had 20 properties there that 1&
he's supposed to have purchased, Did he 1?
Purchase then? 18
A. Obvionsly not, 19 Exhibit Ly.
@. Did you ask him what happened to 20 AL Okay,
the moncy? ai
A. Yes. 22
Q, Whar did he say? 23 fhe doesn't pay,
A. He eld me the deal broke, he told 24
me. you know, the check mal lost in ibe nail, 25

romana [Page 135]

A. Tvalled ary attorney. T told him

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that he hought with $500,008 chat you suggested
was your clicats’ money, which is incorreet,
leavirug aside the issue of whether Mr. Pingerlit
pursuant & the collateral assignment agrecment — |,
would be a bona fide purchaser for value without H
native of thie --
ME CONWAY: An issue to be
resolved at another time.
ME. FOLEKENPLIE: Leaving that
aside, that stock is worthtess.
A. Also L bought stuck mysell
ME. FORKENIFIIK: Yea, he bought
stack bimsclf.. That stock is -- the cocmpany is
not iv business, The debiers of the company
ME. CONWAY: Well, it was in
business in 2007,
MR, FOLEENELIK: Yes, Rat.not
alee,
MR. CONWAY: Andivhad a value on
Gctaber of 2007 --
ME. PORKENI LIC: Not euch,
A. [have a $2.3 million investment
here thav’s Worthless.
GQ. How many shaves of stock did you
oavn at the Gime?

[Page 140} |

 

 

i put it together. i
2 Q. And your atlorney is uamed wha? 2
3 A. KevitePrakke, [think he did a 3
4 really good job on this. 4
5 MR. FOLKENFLIK: It's a good job. 5
é &. ltisa good document, He's only 6
7 $330 an hour. 7
8 i. $330 an hour? 8
§ A. Atthe time. Anyway, he wrote 9
ig this. He forced -- he didn’t force, he gave it io
il to Holver, be signed it. Clearly none of this 12
12 happened, putting up the cash, so therefore | re
13 took back whet essentially | had already 13
14 invested in, in a sense for him. 14
1s Q. Was is stened by both parties. Do 45
16 you recagnize your signature? £6
L? A. Yup. kT
18 Q. Do you recognize avid [olzer's LB
19 signature’? £8
20 A. Wp, | sure do. 20
al Q. Now, the purpose of this dacument ai
22 was to establish what? What did you wantto | 22
23 accomplish with this? 23
24 A. | wanted to have a contingeney in 24
25 case the monies were net - that T had put up 25
[Baga 136]
L mores for him. He had ownershin in certain 1
a positions as a finelion of monies thai he owed 2
3 and was supposedly paying, And I hasleally had 3
4 that to take these properties lhl Lalready 4
§ bought for myself 5
6 GQ. Now, did Mr, -- this happened 6
7 before the conitantation with Mr, Thatcher? 2
& A. | don’t reeneraber the date on that. §
g Q. Frdday af October. 9
£0 MR. POLKENFLIE: And the mecting, id
La aceording to the -- Lk
12 A, i's about the same. 12
13 MR. POLELNELIK: U's about che 13
14 sume date. Ut just says Octaber.. Thatcher 1a
is doesn't have the cate tn Ovlober when he 15
16 confronted Holzer, 16
19 A. And its fact -- no. A's related 7
13 but i don’t think Toby was directly invelved in- 1g
19 giving that documentto [olzer. 18
20 Fingerbut Exhibit (2 for 20
21 identification, Yates No. BE 14 through 18} 21
22 . Now, there was also = 22
23 MR. PFOLRENFLIK: Counsel past to #3
a4 make your life casicr, the assignment, as 24
28 Me. Fingerhut said. af ihe ¥ Campus equitics 25
{Page 139)

A, don't knew, | hive no idea. |
awned a lot because | bought a big picec of this
preferred offering,

MR. POLRENFLIK: fs not clear
that the stock, alihough if was Wading, had
actual valuc in October 20% but it would be
irrelevant it any event.

A. Vhat's trac. This was not 4
public -

MR. FOLEKENEE IR: V Campus was
public,

A. This was a preferred ~ this was a
private offering, if you.will, This was not
public shaves,

MR. FOLKENFLIR: Your shares.

A. The ones purchased. | alsa owned a
lat of camumon, tne.

, So the value of VW Can pus at tie
time would have been greater than the $3 million
investrnent that had been tade already?

MR. FOLKENFLIK: Maybe less.

ME. CONWAY > Possibly, bre we ter
know.

A, [iret sure, Cdon’t thik a tet
more, HT that.

 

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1 & Well, if it was worth 4 stated i vou in twee ways; a promissedy note and the
a vale or mare, Ihen certainly the $500,000 that Zz contingent surrender.
3 was transferred would have beet its value ag of 3 A. Good luck.
4 the day of dhe translet to you. 4 QQ. And at the same time did you demand!
5 MR, FOLKENFLIK: Wa, 8 and receive a resignation hy Mer Holacr from
6 A, What does -- what does transfer lo 6 Fingerhat -
? Tre mean? There was no transfer to me. 7 A,  lewas a lide bicafier i chink,
a MB. POLKUENTLIK: What happened is § Bat it was abcut the same time.
9 lial —~ a MR. POLEENFLIE; It says
16 Mk. CONWAY: Duo vau want to go oll | io Ostoher 15th. ‘Whe promissery note is dated
12 the reosrd? il the 9th: The contingent assignment agreement is
12 MR. FOLERRETIK: Lets de il an ihe iz dlateal glee Jered,
13 resord, 13 ©. Was all of tis executed at the
14 A. Let me explain the whole ihing ta 14 Fingerhut-Holzer offices’?
18 yon, iS A, Tk inust have been because there's
1é Q. {it has to he in response to a 16 no other place | could srab him,
1? question, L? Q. Do you have a presen clive
18 MR. PORKENFEIC: Let bint explain, 18 ss reenifection of being present for this
19 Would you explain what happened. Go ahead. 13 execution?
2a QQ. First, this document thet you've 20 A. Qh. absaluiely. [tm wondering if
2.0 exdotined, the -- 21 it was the same — ne, iL wase'l Ihe same day ax
22 A. Contingeney? 22 Toby,
23 Q. The collateral contingent. That 29 ME. FOLKENBLIK: Mr. Holzer did
24 waa intended ly you to fake control und , 24 deliver, just to shortcut this, two.checks
a5 possession of the Interests of Mr. Holzer upto ag aggregating the amount of $7 million an ar abou
[Page 142] {Page 144]
1 the value that you had extended to him. i Noverber. 29th, 2007, both of which bounced,
2 MR, FOLKENFLIK: No. 2 MR. CONWAY: Navember 2th?
3 Q. Which was like 7 millian — 3 MR. FOLKENFLIK: Yes.
4 A. It was to take contral of those 4 A. When this was all broughe te fim,
5 interests in the event thatthe value had nat 5 he said, weil, you know, I've just been hired
6 been peid. Not up to the value, not ccntingent & for to he a trader, | guess he had tefl
7 ona particular value. Contingent on 7 Breen Murray. I don't remember how that
e non-repuyment of what he owed. a happened, Hut he had just been hired ty some
3 Q. There was also a pratmissery noir 5 big shot trader and hic was ectting a? or
10 dated October Sth, 2007 for the sum of id 48 niilion up-lrent bepus. And he was going @
ii HF,G03,800, ii pay me the $7 million to ameliorate. this issuc.
i2 {Fingerhut Exhibit §3 fox 12 @. That's what he told you.
13 identification, Butes Nu, BF 1S through 18} i3 A. Na, he sent me two checks, $7
i4 & Can yon idensty that as the 14 million, und guess whut, they bounced, low.
15 promiasory nate thul was ercated by you as a 14 Next thing, going to Sing Sing.
16 companion document - 16 Q. Did there come a time when -- now,
17 A. What a joke. Li completing these eansoctions, had you decided
18 Q. +» te the pric? 1¢ te approach the district attorney cancering
Lg MR, POLKENFLIE: This is 7/6. 1% this?
20 A. What about i? 20 A. Yes. [had te be sure (hat Taby
24 Q. That's iniended to be a supporting 21 eould find what cine neeiled tc present to the
22 document to the contingent assignment af ecuily 22 district ultoracy,
23 interests. 23 @. And did you approach the district
24 A. | believe sa. 24 allorney yourself or did Mr. Thatcher de it tor
25 @. That wauld essentially make him owe 28 you?
J [Page 143] | [Page 145]
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1 A. {mm sure Thatcher did it, | mean,
2 | may heve been wilh him, but F don't remember.
3 QQ. Well, do you have a presen active
4 recolléctivn of walking inte ibe district
5 allorney's affice and sitting with somebody?
& A. No. Dever dealt with a district
7 attorney. I deslt with an ADA,
8 G. Well. as-an assisiant district
a attorney, do you remember sitting with samecne
ia ait sorte: peed (at --
Li A. Yes, a couple times.
12 QQ. Whe did you sit with?
14 A. PE knew you were going to ask me and
14 T forgot her name,
15 QO. Is that Ms. Pane?
16 A. Yes, What's her Tirst nae’?
LT Q. Christine Payne.
is A. Yeoh, that’s #. She bef lor --
13 Q. She was pregnant.
26 A. Yeah. peal, She vas greal, She
24 did # great jah.
22 & = Pid you then deal with the
23 suivcossor assistant district attorney?
24 A. Yeah, but the mujority of the work
as was-done by Chris.
[Page 146]
i GL De von recall meetiag any
2 Successor?
3 A. Fin not sure E met her, [ talked
a te her.
5 @, Allright, did there come a tire
6 when you were asked te testify to ihe grand
9 jury?
8 A. ¥es,
9 G And .did vou de sv?
10 A. Fes. Chiris was Pthink atill the
12 ADDA os that,
12 Q. She handled the questioning of
13 yOu -<
14 A. Yes.
15 QO. -- a5 9 grind jury witness?
Lé AL Yes.
Ev . When wus the lest time vou saw
18 Mr. Holzer!
ig A. Vive not sure Wit was the dey chat
20 Taby and Lincaln came in te have him confess.
24 ‘There tay hans been one more day lic wax fn that
22 he gave me thease checks, No, vou knew what,
23 that's wot riaht. This was independent E
24 believe of Taby and Lincoln, This might have
25 been a week later he was.in. I had ff all
_ [Page 147]

 

 

MO sO Om be ha Re

Bho? AP A AP ON Roe PR Oe Oe
itm Whe OS w @ «Fo go im d& bk i ft &

wo @ si wm in & wn PR

& RD BD ROR Rp be Bp pet fet ek be pt
wt & WAP eo OM am om & Me

prepared ane. west going Lo det hie get out.
without daing this.
GQ. Mr. Prakke’T

MR. FOLKENPLIR: When the witness

said "this he was pointing te Lxhibit i,

A. Ym serry, the contingent and the
promissory tole.

&. That was created by your-ailomey?

AL Wes,

Go Mr. Prakke?

A. Vas.

G. When they wer: executed, they were
executed solely in the presence of Mr. Holzer
and not with anyone clase?

A. Tden't knew,

QO. Pdidn’t sce a witness there,

MER, POLEENPEIE: I didn't sec a
notary certificate.

A, ‘The eantingent thiig, there's just
ovo signatures F know, Holzer and myself

@ Albright, now vou were making
rolveenes te this in some regard?

MIL. POLK ENPEIK: So, he said there
were only two sigiatares.

A. ‘That waa the neat fine | saw

Halver. He signed that, the pote, and | believe
also maybe he was inane later dime because when
he did Nis resignation, ( don'l eemember if it
was the same date or nat. —§ don't think su, il
was laler. ut sol much later. Se.mayhe b saw
him onec or twice after he confessed.
@. Now, as regards the V Campus
stock <-
MR. FOLKENELIK: Coull we go alt
the recand fy a minues’?
MR. CONWAY: Sure.
(Discussion aff thé fecard.)
©. Bo-you know whe the founder of ¥
Camyais was?
A. Tmonot sure. | -keow the guy who
was rupning i lor many years,
Q. Who was that?
A. Ol course Loan’ remenebes his name
either Nat Kannan.
QQ. Nat Kannan?
A. Nat Kannin, K-AcN-NeA-W,
9. And you indicated you were an the
beard af V Cainpus’®
A. ‘That was about deur de five years
before that.

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4 MR, FOLEENFLIK: He testified he 1 those days, probably a3, 4 ovillion investment, :
2 wag on the board when if weal gublic, Z serif was probably 23 to 30 percent post Weebly :
a A. Right, trom about 1993 tu 98 of a ewned of Ualversily Onlin, :
4 ), 4 th How many shares did :
& . Was ¥ Campus allitiated wilh any 5 Pingerhul-Holver own al ite peak? i
6 particular university’? 6 A. They never ewened University Online.
7 A. Any porticuler university? 7 Q. When your records indiesic ¥
& G,  Lintversity, ves, a Carn pus. what is Ho relerring Lot
B A. Tdon’t think sn. 2 A. ¥ Campus. ‘That's after they
10 MR, POLKENFLIK: I think the ¥ 10 vhaniged tbe name. It wasn't the same vOMpany,
id stands for vittudl. 12 They bought a nuniher ol other companies,
LZ A. ly first name was University 14 Q. The company that went public is not
43 Online. Ef that’s what your'te thinking, 13 the sant company as V¥ Cumguis?
14 Q,. That was its formal name, 14 AL ‘The eampany thatavent public was :
Ra A. Yeah, iy a bith complicated 15 University Online, They bought at least bay :
16 hecause they bought a wamber al companies, ind 16 ciher companigs and shen chuned their riarne fo ¥ :
i? one of the campanics they hought-hecame bigger | 17 Campus. i
1a than Uiem, Bul they were initially called Lé 4}. Add right, when they beeume V ;
13 {Iniversity Cinline when we invested it il as a8 Caius. vebal was their stock value :
20 lo~ asa Weekly investment, When it went 20 A. Edon't know adfhand. Prohably not
a1 public i was sull called University Gatine. 2i 4 great deal different than when we sold i,
22 QQ. MMe have any call lelters that 22 @. And whal did you sell it fer?
23 you would know ai the stack =. | 23 A, Asi said, 1 think it was like 25,
24 A, UOLC Libink, I mean, it was 24 “30 nullion. Actually, itwas probably more, 1
25 averte-counter, They thes bought 4 series of 25 dow'l know. Tdon't remember. [i was a mistake
[Page 150] [Page 152) |
i cormpamivs, one was called Pro Soff, and there i te buy it then because clearly it went down a
2 was a second, And § [hink at the lime [hey 2 Vol. What ended up happening wilh the eutmpary
4 bought the sceond »» the first or the second 3 had nothing. to dis with the equity value. What
4 company, Uhey renamed the company to ¥ Campus 4 happened was that the company was realy,
5 because it was mane than jusl 4 Miversily 5 really, really poorly run, However, the Pra
§ Ontine, 6 Salt product was a terrific produce. Ets a
7 Q. And de you know what it was ? CHY --
B capitalized al wheit i went publie? 8 MR, POLEENFLIK: Susi talk shout
8 MR. FOLKENILIK: Uy “capitalized” g what happened & the equity in the company.
10 you mean the marker cap? 10 A. Okay. well, what happened was if
ii 0. Markel cap, it was mismanaged, Never gonersted enough cash and
12 A. Oh, lord, 1 don't, Cyworld say it 12 was always fra pesilion of eying lo get cash,
413 was probably, given where we wore as an investor 13 get new equities, ot cefara, et cetera. ‘Uhat
14 where we had probubly no more than 16 ndfion , 14 was ihe preferred piece that we show tp there,
15 pre of: the Bnvestinens, | wand say itawas “45 Q. And then --
16 probably somewhere in the 25, $30 millian range 1s A. Wait aminuts, Pre not finished,
17 when i went public, 1? That didn't work either, Phe company was ft
48 @. When yeu say 10 millon preferred, 48 nally sprry shape, Then fenl the ‘eorapany
is you had £6 million shares’? 19 awurey,
20 A. No, 10 million pre money in the ao QQ. How mel?
21 value. a4 A. Fdon't know. A millian dollaes,
22 @.  Hoow many shares = 22 maybe nore. | wasi’l the only one. ‘There was
23 4 This is all long prive to the 23 anotlicr group called Gatt Henar,
24 events at issue. | wauld have to ye buck apd a4 O. Gutt Bettor?
25 look at it. But given what we would do back in 25 AL Yes. GeG09eT, B-Be Te TQ Thev
— [Page 151] [Paga 183]

 

 

 

[39] {Pages 156 to 153)
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4 loaned Ue company money, | loaned the comipany 1 MR, CONWAY? Give me a fine minutes
2 money, “Phe company coulde'l pay il aff As you 2 wilh ny clierts,
3 can see, Nat had pretty pond ideas shout what 3 (Reoess taken}
4 the company should be, but iL was terribly 4 BY ME, CONWAY:
§ managed. ut it wasn't just chat, theres were 5 &. Ne nnn questions.
6 other. issues, too. 6 ME, FOLKENFLIK: EF have nothing.
4 Anyway, so what ended up happening 7 (TIME NOWED: 2:40 pam} ;
8 was that chene was what is known | BUCKS AS A a
& friendly foreclosure. I'm taking a couple S ‘
io years = it seuands Hike jt happened Tight wway LG :
is but this is years laren, And the friendly 11
12 foreclosure was all the equity was wiped out, 12
13 ‘This wasn'ta hankruptey, although the way the 13 :
id ditectors bandied it, it was terrible. i4 ;
15 Q. Weil, who way foreclosing? 18 ;
46 A. ‘The debiors were foreclosing, 16
24 There was nol enough equity te go around. Sa 1?
18 every share | ever owned is gone, 18
19 Q. When exactly did this accur' io
20 A. = 2008. 20 |
21 @. This would be aller the date of - 24 :
22 PUTSuAnE Io pour agivement with Loker — 22
23 A. I gotall the shares back and they 23
4 were worlhless, Thul's good. a4
25 Q. Where was the stock held at the 25
[Page 154] {Page 156]
1 lime of the transfer hack? 1 INSTRUCTIONS TO WITNESS
2 A, Where was the stock held -- 2
3 Q. What was Fingcrhut-Halzer holding? 3 lease rend your deposition over
4 Were they holding warrants, stock sheets? What 4 carefully and make any nevessary ovrrectivns,
3 were they holding? § You should state the reason in the apprapriate
6 A. The only thing they were holding & Space on the cerrata sheet for any correstions
7 was this preferred issuc. 3 that are made,
& Q. And in whet locm did it maniliest a After doing so, please sign the
8 itsclt? & elrata sheet and dale a,
10 MR, VOLKENFPLIK: You mean were 16 You are signing same. subjcct to the
LL there actual shares issued? Li changes you have noled on the errata sheet,
L2 MR. CONWAY: Yes, 12 which will be attached ta your deposition.
3 ME. FOLKENILIK: Physical shares? 13 fis imperative thai you retucn the
14 MR. CONWAY: Yes, 14 original errata sheet to the depasi ng attarney
18 A, P don't Know. Ih aot sure, Muy 15 with thirty (30) days of reveipt of the
16 have been bat they were not publicly traded 16 deposition transcript by you. If yout fail ter
i? shares. They were preferred shares. i? do so, the deposition transctiptmay be deemed
18 MR. FOLKENFLIK: They might have 18 to he accurate and may he used in court.
19 heen held aa a book etitry; iB
26 Q. They would be in an sceount 20
21 somewhere? 21
22 MR. FOLKENFLIK: Itnsight have been | 22
23 held as a book entry on the books of the 23
24 A. ¥ Campus reported it all sa there's 24
25 gate be + they're all in thelr decuments, 25
oo [Page 155} [Page 157] :
[40] (Pages 154 to 157}
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[41] (Pages 158 toe 161)

877-479-1484

|
i | have read the foregoing transcript of i CERTIFICATE
a thy deposition given on February 7, 2049, and it 2
3 is true, correct and complete, 10 Ue best / 3 STATE OF NEW YORK }
4 ufmy knowledge, recollection and belief, | 4 1 SS.
5 except for che corrections noted hereon a) COUNTY OF NEW YORK }
6 andor list of corrections, ifany, attached i 6
4 Of a separate sheet herewith, 7 1, SUZANNE PASTOR, a Shorthand
§ & Reporter and Notary l‘ublic within and for the
5 S Slate of New York, do hereby certify:
16 1o ‘That BARRY FENGERJUT. the witness
ii » il whose deposition is hoveinbefor: set forth, was
12 cnn cnt te i2 duly sworn by ee aud that suck deposition is a
13 BARRY FINGERHUT 43 true record of the testhioay given by the
14 14 wens,
is 15 | further certify teat Par. not
16 16 ielated to any of the parties to this action by
if Subseribed and sworn ta LY blood or marriage, and that Dane inne wily
18 belore me this 0 dny 18 interested in the oatovme of this matter.
ag of 20 19 IN WITNESS WHEREOFR, 1 have hereto
20 20 sud may hand this , 23,
z1 Zi
22 “ nes = 22 A ORAAIAE AE aban het DNAbmshabndeennannaRtt a ts eeceten eee
23 Notary Public 23 SUZANNE PASTOR
24 24
25 25
[Page 158] [Page 160]
i i INGE X
ERRATA SHEET WITNESS EKAMINATION BY PAGE
3 BARRY FINGERIILT, do bereby ceriaty thut.t 3 ; /
4 have read the foregoing wangeripy of ny testinnay, and 4 Mr Fingerhut Mr, Conway 4
5 Vurther certify that Uo: true and arcurste record 5g . /
& ef ing testimony (with the excegtian uf the corrections 5 EXHIBITS
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_” FOLKENFLIK & MSGERITY LLP

ATTORNEYS AT LAW
3500 BROADWAY
NEW YORK, NEW YORK 10036

: . TELEPHONE: 212-797-0400
“WRITER'S ELMAN: minke nfikgetmiwnet : FAX: 212-757-2010

 

April 2, 2014
VIA ECF

 

Honorable: Vernon S, Broderick
United States District Judec
United States Courthouse .
_ Southern District of New Yor. . BR
40 Foley Square, Room 415 a
New York, New York 10007-1312

Re: Rapillo v, Finerhns; Holzer et al, Docket 'No.t 09-CV-1042GBD) -  -
: ae —— at a aes ae - y i
Dear Judge Broderick: * - .

Irepresent Defendant BarryF ingerhat (“Fingerhut”) and the various corporate entities named
in the Amended Complaint in this action, (Fingerhut-Holze: artners LLC is hereinafter referred to
as “FSH LLC" and the other Corporate defeiidants are referred to as the “Remaining Entity
Defendants.") ‘lhe only other deferidaat, David Holzer (“Holzer”), was criminally convicted on a
plea of guilty for stealing $1.6 million from Plaintiffs and over $11 million from Fingerhut, as well. -
as nearly $2 million from others, Hulzer is appearing pro se, oe

   

_ Plaintiffs séek to recover $1.9 saiilion they lost in four “investments,” plus “treble damage:
and punitive damages, from Fingerhui, 7-H LLC, and the P.emaluing Entity Defendants, directly, and
not vicariously, for alleged vceach of fiduciary duty and fraud under the Investment Advisors Act
(the First and Second Causes of Aciion’, securities frrud based on Section 10b of the Securities
Exchange Act of 1934 and Rule 10b-5 (‘he Third Cause of Action), and common law counts of fraud
(the Fourth end Fifth Causes of Action), conversion (the Sixth Cause of Action), and breach of
fiduciary duty (Seventh, Righth, and Ninth Causes of Action). They are suing the Defendants as
principals, yet none of the Defendants had anything to do with Holzer's crimes, except as victims.

Tam writing this letter, therefore, to request a pre-motion conference pursuant to Rule 4.A of
Your. Hoor’s Individual ules & Preetices in Civil Cases with regard to a motion for summary
Judgment dismissing all claims agaivs; ny clients.

‘The underlying relevant faci7 are undisputed, Wizer_and Fingerhut were in business
together, investing their own money ta varlous businesses through F-H LLG. Holzer had lauded

Fingerhut's investment acumen fo Plz” wiffs, who were Holzer’s friends, Plaint{ffs wanted to invest _
oe

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POLKENFLIK k M°GERITY LLP
Honorable Vernon S: Broderick
April2,2014- 55
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with Holzer and Fingerhut, but Plaintiffs knew that F-H LLC was nol accepting retail eltents and
would not take.their.money. However Holzer had a plan io circumvent F-H LLC's refusal to take
investments rom Plaintiffs. Holzer told Plaintiffs about certain companies in which, allegedly ,
Fingerhut and Holzer were investing. Because the amount Plaintiffs were investing was “not *
substantial enough,”-for Plaintiffs tc invest directly, Holzer offered to “pool it” with Fingerhut’s ‘and

A

Holzer's investment, — nen

Plaintiffs. were in some sort of undisclosed investment partnership with Holzer, Holzer
ever told Plaintiffst i. Fingerhut wag aware of this “pzoling" scheme, and Plaintiffs admit that they

do not know that Fingerhut was aware of the scheme. Holzer and Fingergut deny that Fingerhut
any awareness of or involvement in Holzer’s frauds, Discovery has not produced a shred of evidence,

 

to the contraryy: | O2e

~

_ Plaintiffs made: four investments based on Holzer's advice. The first was a $300,000
investment in a Florida eal estate limited partnership called the The Waverly ILLC, (“Waverly 1"),
made pursuant to signed subscriptiin agreements, Waverly | failed due to a downturn in the Florida
teal estate market. , Plaintiffs have not identified any impropriety with respect to that investment,
The Manhattan District Attomey'y office found the Waverly T investment was legitimate, and
discovery has produced no evidence shat it was not. " t

Plaintiffs invested $1.6 million in three separate “investments” made by wire transfer to —
Holzer's personal bank account, he!d jointly with his wife, and then stolen by him (the “Stolen —
Investments”); .(a) ai alleged inves(ment called Waverly II ($ 200,000 ), (b) an alleged investment

pa ine public company called V-Camipus ($800,000), and (c) an alleged investment in a “dinner .

“ theater" in Boca Raton whose name the Plaintiff does not know, and apparently never knew ($
600,000). There is:no'documentation of any nature with respect (o. those three “investments,” “|

Holzer's thefts from Plainti-fy came to light after an investigation revealed Holzer’s thefts .
from Fingerhut.; As with Plaintiffs. “ingerhut had given Holzer moncy to invest which, was stolen.

Sewee ute

The results of the investigation were taken to the Office of the Manhattan District Attorney, and that
led to the revelation that Holzer had stolen millions of dollars from others, including Plaintiffs.

Noné of Plaintiffs’ claims can be sustained agairsst any Defendant other than Holzer.
Plaintiffs do not assert that the Remaining Entity Defendants had any involvement of any nature in
Holzer's crimes, or any ccnnection ut all, direct or indirect, with the Plaintiffs. Other than “group
pleading” allegations, ‘there is nothiig in the Amended Coniplaint about them, Those defendants
appear to have, been simply ‘thrown into the case without uny basis, other than some historica]
relationship between those Defenda’ts and either Fingerhut or Holzer a

Neither. F-H. LEC nor. Fingerhut are registered investment advisors, nor are they subject to
the Investment Advisors Act, since tley did not provide investment advice “for compensation.” 15

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FPOLKENPLIK & M°GERITY LLP
Honorable Vernon S. Broderick
April2,2014,
Page3

 

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if
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U.S.C. § 80b-2:(11);;Kassover v, UBS AG, 619 F. Supp. 2d 28, 32 (S.D.N.Y, 2008), the parties must
have “entered into.an investment advisory contrzct in order for the Advisers Act to apply”). Neither
F-HLLC nor Fingerhut made any misrepresentation to, or had any ecramunication with, Plaintiffs
concerning the: Stolen Investments, which by Itself precludes a dscte aim against, them under
Section 10b aid Rule 106-5, See, Janus Capital Group, Inc. v. First. Derivative Traders S61 US —
——» 131 S. Cee 2296, 2302 (2011); Mezzani v, Rear, Stearns & Co., 716 F.3d 18, 24-25 (2d Cir.
2013), It also ‘precludes a direct claim of fraud, See, Lama Holding Co. v. Smith Barney Inc., 88
N.Y.2d 413, 421 (1996); Deutsche Bank Nail, Trust Co. v Gordon, 24 A.D.3d 443, 443-444 (Ist
Dep't 2011). 5, we i

 

 

Neithed F ingerhut nor F-H LLC had a fiduciary relationship with Plaintiffs thereby
precluding the breach:of fiduciary duty claims, See, De Kwiatkowski v, Beor, Stearns & Co., 306
F.3d 1293, 1302: (24° Cir. 2002)(broker/customer relationship not sufficlént to create fiductary
relationship); Compania Sud-Americuna De Vapores, S.A. v. 1BJ Schroder Bank & Trust Co., 785 F.

Supp. 41}, 426 (S.D:N.Y: 1992)(ordinary business relationship not sufficient). Neither Fingerhut
nor F-H LLC liad or have any dominion or control ‘of the money given by Plaintiffs to Holzer,
thereby dooming the conversion claim, Dobroshi v BankofAm,, N.A., 65 AD3d 882, 885, (1st Dept
2009), Jv dismissed 14 N.Y.34.785 (2010); Eden Roc, LLP v Marrictt Intl, Jnc., 2035 N.Y. Mise,
LEXIS 4301, 22-24 (Sup. Ct, N.Y. Sept. 18, 2013). Holzer used scine of the monty he received
from Plaintiffs to invest iti V-Campus in his own name and to pay $200,000 on. an antecedent $}
million debt he owed to Fingerhut. Those fects do not support a valid conversion claim as to
Fingerhut or F-H LLC. Cf Sharp Int'l Corp. v. State St. Bank & Trus! Co, (Inre Sharp Int'l Corp.},
403 F.3d 43, 54-55 (2d Cir, 2005) (payment of antecedent debt even with knowledge money
obtained fraudulently not fraudulent conveyar.ce). er

 

 

 

  

F-H LLC is not liable for Holzer’s thefts on the (unpleaded) theory of respondeat superior.
Goldstein v, United States, 14 Fed. Appx. 115, 116 (2d Cir, N.Y. 2003) (no respondéat superior
liability for employee theft); Rymanawski v. Pan American World A irways, dne., 70 A.D,2d 738, 739
(N.Y. App. Div. 3d, Dép't 1979), aff'd, 49 N.Y.2d 834, 835 (1980\same), Asa member of the LLC,
Fingerhut is notliable for the wrongs of Holzer or the any liability of F-H LLC, “A limited liability
company (LLC) is a hybrid business entity that offers its members liniited liability as if they were
shareholders ofa corporation...". ‘Riley v. Tencara, LLC (In re Wolverine, Proctor & Schwartz,
LLC), 447 BR; 35 (Bankr. D. Mass, 2011), quoting, Ann K, Wooster, Annotation, Consiruction
and Application of. Limited Liability Company Acts -Issues Relating to Personal Liability of -
Individual Members and Managers of Limited Liability Company as to Third Parties, 47 ALR, Gth

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Conway, Esq. (via e-matl)

   

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Case 1:09-cv-10429-VSB Document 139 Filed 06/27/19 Page 120 of 174

WANHATTAN DA OFFICE Fax; 1212-338-9890 Apr 30 2009 01:34pm P002/006

PLEA AGREEMENT

1, This plea agreement is entexed into between the District Attomey of the County of New
York (heseinafver “the Disttict Attomey”) and David Holzer This memomadutn of Agreement
constitutes the entire agreement between Mr, Holzer and the District Attomey. There are ng
promises, agreements, or conditions, express of implied, other than those set forth in this
| Agteement and in the Stpulation ip Anticipation of Discontinuence in the case of Morgenthau v.
Holzez, ludex No. 400891 /2008, ‘(heveinatier “the Stipulation”) attached hereto and mMcorporated
herein. No modifieation of this agreement will be valid ar binding on either pacty unless put into

whiting and signed by both patties.

2, The parties will appear befote the Couxt where New York County Indictment No.
2280/2008 (‘the Indictment”) ix pending and request that the Const approve this Agteement. This
Agreement will become effective only upon the Court’s approval, Upon the Court’s approval, Mr,
Holzer will plead guilty as set forth i in Parsgraph 3 below. At the time of the plea, Mz. Holzer will
withdmw any pending motions, and will waive all defenses and all rights of eppeal.

3. Mr. Holzer agrees to plead guilty to counts One, Three, Four and Five of New York
County Indictment No. 2280/2008. Those counts charge him with three counts of the come of
Grand Larceny in the Fitst Deytec, Penal Law §155.42, a Class B Felony, and one count of the
came of Grand Lasceny in the Secund Degtee, Pesal Law $155.40, 2 . class C Felony, in fall
satisfaction of the indicrment, ‘The maximum permissible sentence for each count of Grand
Larceny in the First Degree is an indeterminate term of irapuisonment of 8.1/3 to 25 years, and an

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

JOHN RAPILLO and HEIDI RAPILLO,

Plaintiffs,

- against -
BARRY FINGERHUT,
DOUGLAS HOLZER,
FINGERHUT-HOLZER PARTNERS LLC,
FINGERHUT-HOLZER EQUITIES, INC.,
FINGERHUT-HOLZER, INC.,
FINGERHUT-HOLZER FUND, L.P.,
GEO CAPITAL PARTNERS, INC.,
FINGERHUT-HOLZER THE WAVERLY I, LLC,
FINGERHUT-HOLZER THE WAVERLY II, LLC,

Defendants.

 

EXAMINATION BEFORE TRIAL of a Defendant,
DAVID HOLZER, held pursuant to Notice in the
above-entitled matter on the 28th day of March,

2012, commencing at approximately, 10:15 a.m.;

 

held at Greene Correctional Facility, 165 Plank
Road, Coxsackie, New York, before Cynthia
Schultz, a Court Reporter and Notary Public in
and for the State of New York.

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APPEARANCES :

MARSHALL CONWAY & BRADLEY, P.C.

45 Broadway

New York, New York 10006

{ROBERT ¢. CONWAY, ESQ., of Counsel)
Attorneys for the Plaintiffs

JOHN RAPILLO and HEIDI RAPILLO.

FOLKENFLIK & MCGERITY

1500 Broadway

New York, New York 10036

(MAX FOLKENFLIK, ESQ., of Counsel)
Attorneys for the Defendant, DAVID HOLZER

 

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TO TESTIMONY

WITNESS

DAVID HOLZER

TO EXHIBITS

HAHIBIT

Plaintiff's

Plaintiff's

Plaintiff's

Plaintiff's

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March 23, 2006

 

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FEDERAL Ss TIPULATION S
IT IS HEREBY STIPULATED AND AGREED by and
between the attorneys for the respective parties
hereto that filing, sealing and certification be

and the same are hereby waived.

IT IS FURTHER STIPULATED AND AGREED that all
objections, except as to the form of the
question, shall be reserved to the time of the

trial.

 

IT IS FURTHER STIPULATED AND AGREED that the
within examination may be subscribed and sworn
to before any notary public with the same force
and affect as though subscribed and sworn before

the court.

 

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THIS IS THE ORAL DEPOSITION OF DAVID HOLZER,
called as/on behalf of the DEFENDANT herein,
produced pursuant to NOTICH on March 28, 2012,
before CINDY SCHULTZ, a Court Reporter and

Notary Public in and for the State of New York.

xk ke te & ke ek OF

DAVID HOLZER
called as the witness, hereinbefore
named, being first duly cautioned and sworn or

affirmed by CINDY SCHULTZ, the Court Reporter

 

and Notary Public herein, to tell the truth, the
whole truth, and nothing but the truth, was
examined and testified as follows:

EXAMINATION BY

MR. CONWAY:

Q Would you please state your name
for the record.
David Holzer,

Mr. Holzer, good morning.

FO

Morning.
o My name is Bob Conway, and I
represent John and Heidi Rapillo on thea matter

that we have before the Court.

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MR. CONWAY: Off the record.

(At which time, a discussion

 

was held off the record.)

BY MR. CONWAY:

 

 

Q Mr. Holzer, how old are you?

A Sixty-two.

Q And your date of birth?

A 11/14/49.

Q And your Social Security number?

A XXX-XX-XXXX.

Q And, Mr. Holzer, you and I have met

once before. Have we not?

A Corredt.

Q Here, I came up and spoke to you
privately?

A Correct.

Q Okay. Sir, where were you born?

A Manhattan.

Q And where did you ge to school?

A I went to Stuyvesant High School,

City College, and I went to - after that, I

 

took some coursas, about three years' worth of

courses at the New York Institute of Finance.

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Q Did you get a dagrae from City
College?

A Yes.
Q In what field?
A History major.
Q What year did you graduate City

Collega?

| A Finally, in 1974.
Q And did you than move directly to

the New York Institute of Finance?
A No.
Q Okay. What did you do upon
graduation from college?
A I was working part-time at a place
called Abraham Company.
THE WITNESS: Could I ask you
one question, off the record?

MR. CONWAY: Certainly.

(At which time, a discussion

 

was held off the record.)

MR. FOLKENFLIK: Can we

 

keep this on the record?

THE WITNESS: Yeah. Sure.

 

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No problem.

MR. FOLKENFLIK: The deponent
has been handed a copy of the
Amended Complaint.

THE WITNESS: Okay.

MR. FOLKENFLIK: Sure.

THE WITNESS: And it had
listed —-

MR. FOLKENFLIK: Could you

just start from the beginning?

 

THE WITNESS: Oh. Sorry.
Yes. I received, in the mail,
approximately three months ago - I

can't remember, two months ago - the
one-page Complaint amended, as per
this (indicating), and, on it, it
had my family's name on it.

BY MR. CONWAY:

Q Okay. That was the original
Complaint?
A Well, why did I get that three

months ago?
Q I'm not sure.
Did you change address or

something? Did somebody change an address?

 

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A We changed an address only as of

last Friday.

 

 

Q This is the original Complaint
(indicating).

A I have the original Complaint.

Q This is the Complaint that was
amended.

A Okay. This is the currant

Complaint and we all agree on this now?

I doen't care about this

{indicating).
Q Yes. That's it now.
A Okay. T'll read it. It's Barry

Fingerhut, David Holzer, Fingerhut-Holzer

 

Partners LLC, Fingerhut-Holzer Equities,
Fingerhut~-Holzger, Incorporated,
Fingerhut-Holzer, L.P., GecCapital Partnars,
Fingerhut-Holzer The Waverly I, LLC,
Fingerhut-Holzer Waverly II, LLc.

We're all in agreement those are

the peopla baing sued?

 

Q Yes,
A Vary good. Thank you.
Q Now, the Abraham firm, in what

capacity were you at the Abraham firm?

 

 

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Page 10

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A I was an over-the-counter order
clark,
Q And for how many years did you
perform this service for the Abraham Company?
A From ~-

I'm trying to think. I was in the
sarvice, six months after that. From 19 - May
of '69, I was a Junior in high school. Then,
till Saptember of '69, I was full-time at
Abraham Company from -

I had worked part-time there while
I owas going to school. Nineteen-seventy,
summertime - I don't remember what month,
actually - until 1974 when they were acquired

by another firm.

 

Q By whom were they acquired?
A Lehman Brothers.
Q And did you follow the

Abraham firm to Lehman Brothers?

A I did for a while. Yes.

Q All right. And for how long were
you with the Lehman Brothers?

A A year or so. Maybe lass, maybe
more.

Q And what did you do whan you were

 

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affiliated with Léhman Brothers?

A I started trading the
over~the-counter list.

Q Okay. And where did you go after

leaving Lehman. Brothers?

A Ninatean-saventy-five, I went to
Brean Murray Foster Securities. Brean Murray,
Inc.

Qg And what was the business of Green

{sic) Murray, Incorporatad?

A General business. It was a general
brokerage firm. Merchant banking, investment
banking, over-the-counter trading, Naw York
Stock Exchange trading, and asset management.

Q And what was your role for the firm
while you were there?

A At the time, I was head of
over-the-counter trading.

MR. FOLKENEFLIK: At what time

is this, did you say?

MR. CONWAY: Nineteen-saventy
-five,

MR. FOLKENFLIE: From tha
beginning.

MR. CONWAY: Right.

 

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BY MR. CONWAY:

 

 

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Q You were head of trading from 19757
A No. I was. the head of
over-the-counter trading.
9 Head of over-the-counter trading.
Okay.
Do you recall what your earnings
were at the tima? Best estimate.

A Mayba, 40,000 a year,

 

Q And for how many years did you

continue with Green Murray, Incorporated?

A Brean, B-r-ea-a-n Murray.

Q Brean, with a "B"9

A Brean.

Q Brean, with a B. Okay. I thought

you said Grean. Okay. Sorry.
And for how long were you with
Brean Murray?
A Twenty-eight years.
Q And what was your highast position

at Brean Murray?

A Partner in charge of all capital
markets.
Q And what was your highest rate of

Salary in that capacity?

 

 

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A rlo-

You know what? I take the fifth.
Q All right.

Are we talking, like, talking in

excass of a hundred?

 

A I don't see the relevance. I take
the fifth,

MR, FOLKENFLIK: Just to
advise the witness, the Fifth
Amendment isn't a privilege as toc
relevance. It's a privilege as to

possible incrimination.

think I'm possibly incriminating
myself?

MR. FOLKENFLIK: Well, you

 

need to have a basis for that.
THE WITNESS: And the basis
I have to explain the basis to you?

| MR. FOLKENFLIK: Not

it wouldn't matter.
A What's the question?
What were your highest earnings?

A. Approximately, 800,000 a year.

 

 

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THE WITNESS: Well, what if I

necessarily. But, for 20 years ago,

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Page 14
Page 14
Q All right. And were you married at

the time?

A Corract. I was.

Q To whom were you married?

A Leslie Holzer.

Q And when and where did you marry

Ms. Holzer?

A I married her September 6th, 1970;

 

Lincoln Park Jawish Canter, Yonkers, New York.

Q And do you havea any children?
A Three.

Q Their names and ages, pleasa,
A Jannifer Holzer, 36; Douglas

Holzer, 32; Joshua Holzer, 26.
Q You’ra talking faster than I can
write.

Jennifer's 36?

 

A Correct.

Q And the next?

A Douglas Holzer, 32; Joshua Holzer,
26,

Q All right. Those are their ages
now?

A Didn't you ask me now?

Yes.

 

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Page 15
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A Okay. I'm giving you now.
Q Good. Now, during the period of -
MR. FOLKENFLIK: Tf I may

suggest to the witness. Obviously,
there are reasons why you might want
to conelude this as quickly as
possible. So, less dueling over the
questions and simple yes or no

answers would accomplish that.

THE WITNESS: Okay. I'L1 try
my best.
BY MR. CONWAY:
Q We haven't any interest in

prosecution or any other thing like that.
A I understand what you're doing

here, and I'll try to anawer ag sudcinctly and

 

rapidly as possibla,

Q Goad.

MR. FOLKENFLIK: It's for
your own benefit.
BY MR. CONWAY:

Q Now, do you know who tha principals
of Braan Murray were?

A They changed a lot over the years.

I was a principal for all those years.

 

 

 

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Page 16
Page 16
Brean Murray, himself, was a
principal for all those years.
Jarome Barry was a principal for
all those years.
And then there was interchangeable
pieces over the whole period of time.
Q Were you an equity holder for any of

those years?

A Corract.

Q And how large an equity did you
hold?

A I'm the third largest equity
holder.

How large, what percentage?

A Oh, I don't know.
Q Best astimate.
A Probably, the highest percentage

was probably 27, 25 par cent. Somewhere
around there.
Q Now, when did you stop working for

Brean Murray?

A I doen't recall the actual date.
Two-thousand-and-two, three. I don't aven
recall.

Q During the pericd of your

 

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Paga 1?
involvement with Brean Murray, was your wife
employed outside the home?

A No.

Q Did she participate in the Brean
Murray business in any way?

A No.

Q Saleswoman, ox something?

A No,

Q Did your children ever join you in -

A No.

Q Now, do you know a Barry Fingerhut?

A Yes.

Q And when did you coma to know Barry
Fingerhut for the first time?

A I would say, probably, 1984, maybe.

Q And what was Mr. Fingerhut doing at
the time, professionally?

A He was one of the - one of two
partners of GeoCapital.

Q And who was the other partner?

A Irwin Lieber.

Q And do you know when Mr. Pingerhut
and Mr. Lieber had set up?

A I don't.

Q What was the business of GeoCapital?

 

 

 

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A Assat management.

Q Now, when you say "asset
management," what do you mean by that term,
specifically?

A I mean they garner assets from
different people and put it towards the equity
markets or private placements, or whatever
their charter was, I don't know what their

charter was.

Q They manage people's money?
A That's corract.
Q Now, in managing people's money, di

they have broker's licenses? Did they do
broker's work themselves or did they hire
outside agencies?

A They - I don't know the answer to
that.

Q And how did you come to meet
Mr. Fingerhut for the first time?

A I met Mr. Fingerhut for the first
time through, probably, one of the formal
partners at the firm.

MR. FOLKENFLIK: Meaning,
Brean Murray?

THE WITNESS: No. I'm trying

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to remember who it was, in

particular. Might have been Brian

Harrah (Phonetic Spelling) who was

 

head of sales.
MR. FOLKENFLIK: And - axcuse
me - at Brean Murray?
THE WITNESS: Yes.
BY MR. CONWAY:
9 Okay. And was your involvement
with Mc. Fingerhut professional or personal?
A Professional.
Q And were you involved in business
transactions together, at the cutset?
Did you meet him in a deal, or -
A I was not involved together with

Barry Fingerhut professionally, no.

 

Q Well, in 1984,

A No. Not my whole time working at
Brean Murray.

Q Okay. And did there come a time
whan you began business relations with
| Mr. Fingerhut, even if you were not together?

A Never while I was at Brean Murray,
as I recall.

Q What -

 

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Page 20
Page 20
A I'm gonna change that. I can't
recall,
Q You can't radall if you did any

business with Mr. Fingerhut?
A You're talking personally?
Personal businass.
To don't recall,
Okay.

If I was at Brean Murray then.

Oo FPF ©O FF BD

All right. Now, what was the nature
of Mr. Fingerhut's business at GeoCapital; what
did he do for them?

MR. FOLKENFLIE: Objection,
Asked and answered.
BY MR. CONWAY:

Q Was he Chief Executive? Was he a

 

salesman?
What did he do?
THE WITNESS: What did you
say just now?
MR. FOLKENFLIE: I said

objection, but he corrected it,

 

THE WITNESS: Yeah. Okay.
Say it now. Rephrase it.
MR, FOLKENFLIK: If you know

 

 

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Paga 21
Page 21
what his title or function was
within GeoCapital, other than
partner.
A I - let me go ~
Let me say this. I did not work at
GeoCapital, I did not know the inner workings
at GeoCapital, and I'm not gonna say what I
think happened there. Okay?
Q That's £ine.
A So, if you're - iff you're -
Tf the course of your questions are
gonna concern GeoCapital, I don't know.
Q Don't worry. We're fine.
A Okay.
Q Do you have any idea in what state
GeoCapital was incorporated?
A No.
Q Did they have an offica in New York?
A Yes,
9 Do you know where that office was?
A It was on - right off 3rd Avenue

and 49th Street. I don't recall, offhand,
Forty-ninth or 50th. I can't recall the exact
address.

Q And did you continue a professional

 

 

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Paga 22

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relationship with Mr. Fingerhut during the
period that you were at Brean Murray?

A Yes.

Q And what type of relationship was
that?

Was it a financial relationship?
Was it a personal relationship?

A It was a financial relationship
where Brean Murray Foster Securities - which
it was called at the time - sold research to
GeoCapital, who was consumed by partners and

portfolio managed sales.

 

How it was broken up at that time,

I deo not know, We sold them research, they
paid us back in commissions, .

9 To your knowledge, how large a firm
was GeoCapital?

A I have no idea.

Q And how was your investment returned
in commissions, if the information was used, if

purchases were made?

A De you want me to explain the whole
process -

Q Yes. Please. Yes. IT[£ you would.

A - of salling -

 

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Page 23
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Q Yeah.
A - rasearch to a £ixrm?
Q Yeah.
MR. FOLKENFLIE: Is it soft
dollars?

THE WITNESS: Neo. Not
necassarily. Soft dollars could ba

paid.

 

MR. FOLKENFLIK: Okay.

A Anyway, what typically happens is,
you go into a firm, such as GeoCapital, from
Brean Murray. You bring an institutional
sales person, a@ research analyst, maybe the
guy running the trading desk, which was mae.

You make a presentation to the
investments committee of GeoCapital saying,
"We like Apple because blah, blah, blah, blah,
blah." Okay?

Now, they say, "Okay. We like that
idea. We're gonna buy Apple," or, "We're not
gonna buy Apple, but you came here, took the
time, sold us this. We're gonna pay you
hack."

How do they pay us for that

service? That's a service. They'll call up

 

 

 

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thea next day. Somebody on the order desk, or
ene of the portfolio managers, and say, “Okay.
Buy me a hundred~thousand shares. of Apple.

You charge a commission, or, at tha
tame, it was a spread, ‘cause it's a
negotiated market. Take a little bit of that
spread.

Buy it at, let's say, a hundred,
and you sell it to GeoCapital at

one-~hundred-and-one-eighth.

Q All right. Is the one-eighth your
commission?
A Your commission, spread, whatever

you wanna call it. Credit. That's, very
basically, what happens.

Q And were you involved in these
research sales with Mr. Fingerhut himself?

A Sometimes, yes. Sometimes, no.

Q And did a personal relationship
develop between yourself and Mr. Fingerhut
during these years?

A Yas.

Q And when did that personal
relationship commence, to the best of your

knowledge?

 

 

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A Personal relationship commenced on

June 16th, 1992.

I don't know.
MR, FOLKENFLIKE: So that was
a facetious answer?

THE WITNESS: Yes.

BY MR. CONWAY:

Q Oh. So that was a facetious
answer. You don't know? Okay.

A You're asking a question that's
hard to answer. I can't tell you. You know
what I'm saying?

Q All right. Did there come a time
whan you began to social -

A I'm sorry.

Q That's okay.

When you began to socialize with
Mr. Fingerhut, outside of business?

A I don't recall,

Q And did there come a time when you
laft Brean Murray?

A Yes.

Q And what was the purpose of your
leaving Brean Murray?

A The over-the-counter market was,

 

 

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P
basically, finished. That's why I left.

Q And you leave Brean Murray when?

A After Brean died, alse. Firm

started to falter.

Q And what year was this?

A Around two-thousand-and-two. He
might not have died at the time when I left.
[It was -

I'm not sure. I don't remember. I
don't recall the exact date, but he was dying.
Q And did you leave for any other

businass pursuits?

A I want to trade my own account at
one of my friend's firms.

Q And what firm did you go to?

A Dahlman Weiss. Dahlman Simon
Weiss, maybe it was.

Q Can you spell it?

A I don't remember. D-a-1~-h-m-a-n
(sic)

Q Dahliman Weiss?

A Yeah.

And there was a third. Simon, or
Dahlman Weiss Rose.
Q Now, at that time, in 2002, you. took

 

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your client base with you?

A

No. No. I said I want to trade my

own account.

Q
A

Meaning what?

I had $20, I bought $20 worth of

atock and I sold it for $30.

Q

A

Funds ware
purchases?
A
Q
time, when

A

Q

million?
A

Q

trading your own account at Dahlman Weiss?

A

probably, up until the time I opened up

Fingerhut-Holzer, or whatever the date of that

Was.

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And did you have a financial stake?
Stake? No.
When you went there, what capital or

you using at Dahlman Weiss to maka

My own.

And what wara your assets at the
you began with Dahlman?

I don't know.

All right.

Are we talking in excess of a

I don't recall.

And for how long did you remain

I don't ramember exactly, but,

 

 

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Q Do you recall when that was? Was it

2002, 2003?

A Exact date, I don't. recall.
Q Okay. Best astimate.
A It's easy enough to £ind out. I

just don't know what date.
Was it 2004?

Q All right. Fingerhut-Holzer was
what?

A Fingerhut-Holzer was a partnership
set up as an LLC.

Q Now, how had Fingerhut-Holzer
Partners emerged?

What was the background for tha
ereation of that organization?

A Just two gentlemen getting together
and deciding they wanted to open up a hedge
fund.

Q Okay. And did you approach
Mr. Fingerhut or did Mr. Fingerhut approach
you?

A Kind of evolved. I'm not sure who
approached who, or it just evolved as such.
There was no actual, "Hey. You wanna be my

partner?"

 

 

 

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Page 29
It wasn't like that.
So, I don't know the avelution,
exactly. I don't recall.
Q Was Mr, Fingerhut still with
GeoCapital at the time?
A Yes.
Q And did he have any other business
interests of which you were aware?
A Yes.

Q And what were the other business

interests that you know of?

A I'm trying to remember the name.
Barry Rubenstein. I just don't remember the
name.

Q Who was Mr. Rubenstein?

A He was one of the partners in the
other firm that he was involved with. It
might come to me.

Q In GeoCapital?

A No.

Wasn't the question Did he have any

other interests?

Yes,
A Okay. And I said, yes.
Q Yes.

 

 

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A You said, "With whom? What was
Lt?!
I don't recall the name of the
fixem. I just remember one of his partners was

Barry Rubenstein. That's all I can help you
with.

Q All right. And who was
Mx. Rubenstein?

A His partner in that firm.

Q Now, was Mr. Rubenstein a financier,
was he a broker, was he ~

A He was a financial professional.

Q And did he and Mr. Fingerhut own
businesses together?

A Businesses? They owned stakes in
things. They owned equity in certain
businesses. They owned stocks. They owned
private placements together.

9° Did Mr. Fingerhut have a spacialty

in the market?

 

Was he a technologist guy?
Was. he a real astate guy?
Was he a commodities guy?
A He was a gene@ral analyst. He had a

genaral, good working knowledge of the whole

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equities market, as far as I'm concerned.
But was he a specialist? I

wouldn't consider him a specialist. He may

have started out as a specialist. I don't
know.

Q All right. He was, basically, an
analyst?

A Ha was a portfolio manager with

analytical abilities,

Q Do you recall if there was any

 

maetings between yourself and Me. Fingerhut fo
the discussing of an ongoing business

relationship between the two of you?

A There were meetings, sure.

Q Whera were those meetings held?

A E don't recall.

o Were they held at your offices, his

offices, over dinner, over lunch, some other
time?

A It could havea bean any of them. I
just don't recall, specifically, where they
were,

Q What was the nature of the
discussions between yourself and Mr. Fingerhut

as to ongoing business relationships?

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A, The nature of the discussion was
how to make people money, basically. What we
wanted to do to do that.
Q Okay. And was Fingerhut-Holzer
Partners the first organization that the two of
you put together?
4 Yes.
Q And what was the business of
Fingerhut-Holzer Partners?
A Specific business was to manage
assets in tha bast way possible in any field
we chose.
Q Now, did you havea any licenses in
the financial industry? Were you a licensed
broker?
A Parsonally?
Q Yes. (
A I prebably had eight or nine
different licensas.
Q Which would include what?
A A Series 24, Series 55, Serias 7,
Series 63, Series 8, Registered Options
Principal, member of the New York Stock
Exchange.
Qo Did you have a seat on the Stock
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Exchange?
A At one time. Yes,
Well, we always did. I held the
seat for two years.
Q Okay. Fingerhut-Holzer Partners
held a seat?
A No.
Qo Well, that's what we're here to find
out.
A Fingerhut-Holzer Partners had no
licenses. Fingerhut-Heolzer Partners did not

and was not a member of the New York Stock
Exchange.

You asked, specifically, if I held
certain licensas. That was over the course of
my professional career at Brean Murray, and
then Brean Murray Foster Securities, which it
became.

Q All vight. So you held a seat on

the stock market while at Brean Murray?

 

a Correct.
Q But it was not yours?
A Tt was partially mine. I was the

general partner.

Q When you left Brean Murray, did you

 

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L leave the seat behind or -

2 A The seat was sold, way prior to

3 that,

4 QO Sold.

5 When was the last time you had

6 seats in the market?

7 A Seats?

8 Q Seats, plural.

9 A The last seat was sold, and I'm. not
10 sure about the date. I'd say, probably, in
11 the late '90s we sold it. The first one was
12 sold in the early ‘90s. We bought them in the
13 early ‘70s. Thirty-six-thousand-dollars and
14 $43,000.

15 Q And, just as a curiosity, what were
L6 they sold for?

17 A Two-million and a million-six, or
18 something like that.
19
20 (At which time, a discussion
21 was held off tha record.)
22

23 BY MR. CONWAY:

24 Q Now, when you and

 

25 Mr. Holzer <

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A Loam Mr. Holzer.

Q Yes, sir. When you and
Mr. Fingerhut ~

A Yes.

Q -~ were sitting to discuss your
Euture together, what was it. that the two of
you intended to do as a professional
arrangement?

MR. FOLKENFLIK: Objection,
Asked and answered,

THE WITNESS: Iwas just
gonna - well, go ahead.

MR. FOLKENFLIK: Go ahead.
You can answer it again,

A To make people money.

Q And was Fingerhut-Holzer Partners
LLC a company organized in the State of New
York?

A You know, I don't recall if it was
set up in New York State or Delaware. I think
New York State,

Q Did you have an attorney?

A Yeas,

Q Whe was the attorney responsible for

setting up the LLC?

 

 

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A I don't remember the name anymore.
Q And did the two of you go and engage
thea ~
A Yes.
Q ~ the law firm to sat up the
corporation?
A Yes.
Q And is there any doubt in your mind
that Fingerhut-Holzer Partners LLC was a
business corporation?
A Any doubt?
Q Yas. Is there any doubt that it was

a Corporation?

A No doubt.

Q Okay. Did it cperate in New York?
A Yes.

Q Did it register itself as a

financial house, in any way?
A No. We were not required to.
Q Now, to the best of your knowledge,

was stock issued on Fingsrhut-Holzer Partners?

 

A Stock certificates?
Q Stock certificates.
MR. FOLKENFLIK: Objection.

Counselor, thera is a limited

 

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liability corporation, There are

memberships. All right?

BY MR. CONWAY:

Q Did you and Mr. Fingerhut
share ownership of Fingerhut-Holzer Partners?

A Yas.

Q All right. Was it an equal division
ef ownership?

A I'm trying to remember if there
were other people involved. I don't racall

right now. It was equal between me and him,

 

though.
Q All right. There may have bean
third-party participants whose names escapa you

at the moment?

A Yes.

g But you and Mr. Fingarhut were equal
partners?

A Correct,

Q And what was the division of

responsibility within the company; what did Mr,
Fingerhut do and what did you do?

A Well, it was a mixed bag. We each
did our own thing. He, basically, would hava

been the portfolio manager. I would have been

 

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the trader.

o So he was the -

A He would hava been long-term, If
would have been short-term,

Q Ha was rasponsible for picking the
equities and making determinations on
investment vehicles?

A Yes.

Q And you would have been - you were
the hands-on salesman, movar ~

MR. FOLKENFLIK: Objection to
the term "salesman." That's not

what the witness said. It's a

 

differant term.
THE WITNESS: That's correct.
BY MR. CONWAY:
Q Okay. I understand.
Your function would have been

exactly what?

A Trading.

Q Did you trade in your own name or
did you trade through a third-party?

A What do you mean, "through a

third-party"?

 

9 Did you de your own trading within

 

 

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tha company?
A Yes.
2° All right. Were you licensed and

permitted to trade your stocks within your

company?
A T'll explain something to you.
Q Please, yes. Do.
A I might be long-winded, but -
Q That's okay.
A ~ maybe it will short circuit soma

of the questions.
Anybody can trade their own money

anywhere, any time, any person. You could be

 

banned from the securities industry for life,
you could be stripped of every license you

aver had, but anybody can trade their own

account.
De you understand what I'm saying?
Q Yes,
A Okay. Now, what's the question?

MR, FOLKENFLIK: Just to cut

this short, did you trade through a

 

brokerage firm?
THE WITNESS: Through one?

Yes. You have to. We cannot

 

 

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execute our own trades.

A is that what you were asking?

Q Yes. ‘That's what I was asking.

A I misunderstood than.

Q Okay.

A Yes. We traded through a brokerage

 

~ I traded through a brokerage firm.

Q All right. And what was the
brokerage firm? Which one?

A Probably, Bahlman Rose, still.
Dahiman Rose.

Q Okay.

A And other accounts. I can't recall
who they were.

Q But there were other trading
organizations you used?

A Yeah. This place kind of dims your

mamory a Little bit.

Q Did Fingerhut-Holzer Partners have
assets?
A Assets? No. dust what was set up

in the LLC as we went along. There was no
assets in Fingerhut-Holzer Partners.
Q Okay. How did Fingerhut-Holzer -

MR. FOLKENFLIK: Can I

 

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interrupt you?

MR. CONWAY: Sure. Go ahead.

MR. FOLKENFLIE: What do you
mean by, “just what was set up in
the LLC?"

Contributions at the time

of

THE WITNESS: No. There was
no contributions at the time of
incorporation. Zaxro. As we went
along and we were able ~ and wa did
a certain deal and a separate LLC
was set up for each deal, it was
funded at that time.

MR. FOLKENFLIK: Okay. So
there were no funds which you traded

through Fingerhut-Holzer?

THE WITNESS: Zexo funds.
Zara,

MR, FOLKENFLIK: But it was -
for want of a better tarm - a

holding company for othar LLCs -
THE WITNESS: That's -
MR. FOLKENFLIK: - that were

set up to de specific transactions?

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THE. WITNESS: That's
absolutely correct.

MR, FOLKENFLIK: Okay.

And Fingerhut- Holzer, other than
indirectly through the separate LLCs
that ware sat up for specific
transactions, it didn't have a
portfolio that it traded out of?

THE WITNESS: That's correct.

MR. FOLKENFLIK: Only through
the other subsidiaries.

THE WITNESS: As each sub ~
as each sub was sat up, they were
funded for whatever the specific
investment vehicle was for that LLC.

BY MR. CONWAY:
Q Right. Was Mr. Fingerhut thea
gentleman who brought in most of tha investors?

MR. FOLKENFLIK: Wall,
objection. Assuméas facts not in
evidence.

MR. CONWAY: No. That's what
we're here to find out.

MR. FOLKENFLIK: Who invested

in the separate subsidiary LLC?

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THE WITNESS: Customers.
BY MR. CONWAY:
Q All vight. Was Mr. Fingerhut the
principal party bringing in the customers?
A No.
Q Did you bring in an equal volume of
customers?
A I don't recall.
Q Now, was Mr. Fingerhut responsible
for designing the investments for the customers?
A Designing the investments? What's
that mean, exactly?
MR, FOLKENFLIK: Just ask him

an open-ended question and he'll
explain it.
BY MR. CONWAY:

Q The thing is, what I wanna know,
more specifically, is, did Mr. Fingerhut make
the approach to the clients and say, "I'm
suggesting that you invest in this particular

vehicle"?

A No. Not all the time.

Q Okay. Did he do it on occasion?
A Sometimes.

Q All right. Did customers come to

 

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him and say, "This is what I would like to do.
Can you be my vehicle to do atom

A Not neceasarily.

Q Okay. Can you describe what it was
that he did, as bast you can.

A Barry was an idea guy. He came up
with an idea and then we put it into play.
That's what he did.

QO And what were some of his ideas for

Fingerhut-Holzer Partners?

A For Fingerhut-Holzer Partners?

Q Yes,

A Yaro. Howaver, for the
subsidiaries -

Q Yeah, Okay. Fine. For the

investors and subsidiaries, tall me what some
of his ideas were.

A Some of the ideas were real estate
investments in Florida. Private placements in
New York.

Q And what do you mean by "Private

placements in New York"?

A Money with privately held
companies.
Q What else?

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A Some public stock, publicly traded
stock.
Q What else?
A Thatis it.
Q Now, when investor money came in,

into what particular vehicle was it placed?

A LLCa.

Q Each investment -

A Set up LLCs at J.P. Morgan Chase.
What?

Q Each investments had an LLC. By

that, do you mean a company er an account?
A The - the LLC was domiciled at J.B.
Morgan Chase.

MR. FOLKENFLIK: The racord
should reflect that the witness
gestured toward the copy of the
Amended Complaint.

BY MR. CONWAY:
Q So, when money came in, it was
directed to J.P. Morgan Chase?
A Yas,
Q And limited liability corporations
were set up for these investments?

A Correct.

 

 

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Q All right. Were they seat up through
the same lawyer that you used?

A I doen't recall. We might have
changed lawyers because they were too
expensive, as I recall.

I just don't remember who wa

changed to after the initial firm was set up.

Q All right. Where did you have your

place of business?
A 399 Park Avenue.
Q And how many employees did

Fingerhut-Holzer Partners have?

A Including thea partners?

Q Yeah.

A I think, seven.

Q And who were the seven?

A Barry Fingerhut, David Holzer,

Andrew Fingerhut.
Q Is that Mr. Fingerhut's son?
A That's correct,
Brooke Fingarhut..
Is that his daughter?
A That's correct.
Douglas Holzer, and we had a

receptionist. I don't recall her name.

 

 

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And we had a ~ I don't remember his name...
CFO. I don't remember his name.
MR. FOLKENFLIK: Can I get
the question read back, please? The

original question.
(At which tima, the
requested portion of testimony was

read back by the stenographer.)

BY MR. CONWAY:

Q Now, how did Fingerhut-Holzer make

its money, Fingerhut-Holzer Partners make its

money?
A We didn't.
Q What does that mean?

Where was the income stream for

Fingerhut-Holzer?

A There was no income stream.

Q How were you and Mr. Fingerhut
profiting from Fingerhut-Holger Partners?

A Thera was no profit.

Q Well, how did you earn a living at
the time?

A We didn't earn a living.

Q Well, what was the purposa of

Fingerhut-Holzer Partners if not to make a

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profit?

A To earn a living.

Q All right. And you never made
any money with -

A No.

Q Naver aver?

A No.

Q Now, is this the year 2003?

A I don't recall the exact year. I
think it was 2003, or 2004, maybe. I just
don't recall. |

Q And what income sources did you have
in 20037

A Trading.

Q Trading in?

A My own account.

9 And what was the quantum value of

your trading account?

A I don't remember.

Q And what was Mr. Fingerhut's source
of income?

A I have no idea.

Q Now, in setting up Fingerhut-Holzer
Partners, there was an intention to earn money

there; correct?

 

 

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A That's correct.
Q And how were you going to earn -
what was the plan to earn money?
A By the investment process.
Q By participating in the investment.

process with your customers?

A” That's correct.
Q And that never took place?
A The investment process took place.

Nothing ever came to fruition. You have to
sell somathing to make money.
Q All right.
So, was Fingerhut Partners a failed
business investment?
A Was it a failed business

investment? Yes.

 

Q And it nevar made any monay at all?

A No.

Q Did you file taxes for 2003?

A Yes.

Q And did - \
A. Don't say two-thousand-and-three

when I'm not suve of the year. I don't recall
i£ it was two-thousand-and-three. It's public

xecord, I know that.

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D. Holzer - Marcel: 28, 2012

 

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So, I maan, it's vary easy to find
out when Fingerhut-Holzer Partners was
initiated.
Q Okay. Now, did you have business
interests separate from Pingerhut-Holzear

Partners at the time?

A No. Business interests?
Qo Business interests. Yas.
A No.
MR, FOLKENFLIK: Excluding

your personal trading.

A I had investments, yes.

Q That were your own?

A Yes.

9 Were they under the umbrella of

Fingerhut-Holzar?

A No,

Q Were they under any other corporate
antity?

A No.

Q All right. Were they entirely held

within your own name?

A In my name. Correct.
Q Was your wife a participant in any
of this?

 

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ITEM 1 &#150 SECURITY AND ISSUER
The class of equity securities to which this Statement or Schedule 13D {che
"Statement") relates is the Common Stock, $0.01 par value ("Common Stock"! of

with its principal

VCampus Corporation, & Delaware cerporation i°VCampus*".
executive offices located at 1850 Centennial Park Drive, Suite 200,

Reston, VA Z2Q151,

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ITEM 2 EL1S0 IDENTITY AND BACKGROUNG

 

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fa). MABE

{b}, BUSINESS ADDRESS 329 Park Avenue, 23nd Floor, New York, NY 18622

{c). ENPLOYMENT Investment Manager; Fingerhut Partners, LLC
{a}. During the last five years, Hr. Fingerhut has not keen convicted in

a criminal proceeding (excluding traffic or similer violations).

ie). During the last Five years, Mr. Fingerhut hes net been a party
to a civil proceeding of a judicial or administrative body of competent
jurisdiction which resulted in (i) a judgment, decree or final order
enjoining future violations of, or prohibiting or ywandating activities
subject to, federal or state securities laws or {ii} finding any violation
with respect to such laws.

(tf). Mr. Fingerhut is a citizen of the United States.

TPEN 3. SOURCE AND AMOUNT OF FUNDS OR OTHER CONSIDERATION

On May 18, 2004, $125,000 in principal amount of a convertible note held by

Mr. Fingerhut was automatically converted, upon shareholder approval, into
76,788 shares of the Common Stock of vVCampus. On March 23, 2006 Hr. Fingerhut
used $1,150,000 of his personal funds to purchase 1[,150 shares of Series B-i
Preferred Stock of VCampus and a warrant fer the purchase of 590,000 shares

of the camaion Stock of VCampus [the 4€1478-1 Warrant&#i48). In satistaction of”
VCampus&#146 cash dividend obligation to Hr. Fingerhut for the quarters ended
June 30, 2006, September 20, 2006, December 31, 2006; march 317 2007 "and... __
‘June 30, 2007, VCampus issued a total of 247 shares of Series B-1 Preferred
Stock, in the aggregate, to Hr. Fingerhut. In exchange for Mr. Fingerhut 's.
agreement te accept future dividends in additional shares of Series B-1
Preferred Stock instead of cash, on October 31, 2006 VCampus issued 4 warrant
to Mr. Fingerhut for the purchase of 500,000 shares of VCampus Common Stock
lin replacement of the B-1 Warrant) and a new warrant for the purchase of an
additional 225,000 shares of VCampus Common Stock. Additionally, on

October 31, 2006, VCampus filed an Amended Certificate of Designations fer the
Series B-] Preferred Stock which, among other things, made the Series B~1
Preferred Stock immediately convertible, at the option of the holder, into
vCampus Common Stock and changed the formula that determines the conversion
price. The current conversion price floor for the Series B-1 Preferred Stock
je $0.37 per share. Based upon the fact that the Series 8-1 Preferred Stock
became immediately convertible into VCampus Common Stock at $0.37 per share.
Mr. Fingerhut's beneficial ownership of VCampus Common Stock could be deemed
to- have increased by 3,356,756 shares effective on October 31, 2006.

on January 25, 2008, 307.5 shares of Series A-L Preferred Stock’ (convertible
into7S total of I7UZ5,000 Shares af common stock “at $0.30 per sharé} and -
1,397 shares of Series B-1 Preferred Stock {convertible inte a total of
3,795,676 shares of common stock at s0l37 per s 1} were transferred to

Mr. Fingerhut by a business associate as consideration for the cancellation”
,o£ debt owed to Mr. Fingerhut by the business associate in an amount equal
te the original purchase price of the shares acquired by the business .
associate. Mr. Fingerhut disclaims beneficial ownership of the shares

of common stock issuable to him upon conversion of the Series B-1 Preferred
Steck and upon exercise of the Series B-i Warrant to the extent that

 

 

Schedule 13D

CUSIP No. 92240C 30 B

such shares may not be deemed beneficially owned by him
conversion price ard exercise price not being fixed.

by virtue of the

ITEH 4. PURPOSE OF TRANSACTION

Mc. Fingerhut acquired his shares of VCampus for investment and not with the
purpose of changing or influencing the control of VCampus. Mr. Fingerhut does
not have any plan or proposal which relates Co or would result in any actions
enumerated in subitems (a) through (j} of Item 4 of Schedule 13D, except that
Hx. Fingerhut may dispose of some or all of the Common Steck or may acquire
additional shares of Common Stock from time to time, depending upon price and
market conditions, evaluation of alternative investments, and other Factors
and Mr. Fingerhut has from time to time in the past and is currently in
discussions with VCampus management and the other holders of VCampus
convertible debt and preferred stock regarding the terms under which

Hr. Fingerhut and other investors would.convert their debt and preferred
securities into common steck, No definitive terms have been agreed upon,

but such recapitalization, if consummated, could result in a change in.
control of the Company and/or the composition of the Board of Directara.

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